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                       Exhibit 11
                   TO UNITED STATES’ BILL OF COSTS
              Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16
                                                                    Page 1 Page
                                                                           ofi 2 2 of 248
                 Case 2:10-md-02179-CJB-SS Document 13295 Filed 0801.8/14



                                           I1I~ITED STATES ~I~TIZICT CflUi2T
                                           EASTERN DISTRICT QF LOUISIANA


            In re: ail Spi t by the Oil Rig "Deepwater                               MDL No. 2179
                   Horizon" in the Gulf of1Vlexico, on
                   April 20,2010                                                     SECTION: J

            This Document Relates To: Ali Cases                                      Honorable CARL J. BA~IER
            .......................................................~..~--:--_-~,,~   Magistrate Judge SHUSHAN




                          [Regarding Payment of R             wining          f_)ne and Phase Two Costs]               ~~

                     On July 19, 2014, the Plaintiffs' Steering Com 'ttee {"PSC"} brought to the Court`s.

            attention that there were "number of outstanding invoices fr                Worldwide (andlor nI7ata) fo~~

            deposition andlor trial expenses in connection with the Phase wo Trial, (including Depositia

            expenses, the preparation of Deposition Bundles, and apparent                   in-Trial expenses of same;

            kind)." The PSC requested guidance as to the apportionment of th remaining casts that were

            tentatively allocated to the PSC, which can be summarized as follows:

                                       Apri12013 Trial Cuts(Pl)           134,853.68

                                       May 2fl13 Trial Cuts(Pl)           140,541:86

                                       June 2013 Trial Cuts(PIj           93,769.1:4

                                       July 2013 Trial Cuts                109,$48,75

                                       August 2fl13 Trial Cuts             23?,489.43
        __
   ~:~` _       ~'                     September Trial Cuts                427,432.34                               ~'f
                                                                                                   ~''~I ~i~.n ~-   o-.~-
               ~                       October Trial Cuts                  389,264.25
  ~_
        -      c~                      November Trial Cuts                 146,363.28
 .:.~ =.
     L_
     '
     `.        ~
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                            ~'~ ~~ V~~




                                                                                                  Exemplification_001
 Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 3 of 248
                                 t 13295 Hied 08/18/14 Page 2 of 2
    ease 2:.10-md-02179-CJB-SS Documen



                                                                                                 the
Because the United. States also participated as a plaintiff in both Phase One and Phase Two,

United States shall pay the PSC the sum of $839,581.87 in order to satisfy all of its obligations
                                                                                                 for
related to deposition expenses,. the preparation. of deposition bundles, and in-Trial expenses
                                                                                                  ns
the Phase One and Phase Two Trials. Payment shall be made in acct3rdance with the instructio

pravded by the PSC.

       New Orleans, th' 18~` day ~~A~,¢~~~t ~~1=.




                                                 D




                                                                           Exemplification_002
        Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 4 of 248

                                                                                          INV Q I CE
Worldwide Caurt Reporters, Inc.                                                     invoice No.            invoice Date            fob No.
3000 Weslayan, Suite 235                                                                                                            4782.__--
-IousCon TX 77027                                                                      112994 ~^. 4 -       5/16/2013
Phone:(713)572-2004 Fax:{713)572-2009                                                 ]ob Date         ;                Case No.
                                                                                      4/22i20k3       ---2179          ~-~                  ~_~_--
                                                                                                           Case Name
                                                                                  In Re: Oil Spill by the Oif Rig "Deepwater Horizon"

     Kate Danahay                                                                             --              -                                -~
                                                                                                       v Payment Terms ._
     HERMAN HERMAN KATZ & COTLAR
     820 O'Keefe Avenue                                                           Due upon receipt
     New Orleans LA 70113                                                     f




Trlal Consulting from April 1 - 15, 2013
       April 2013 Trial Cuts
       `-'fnTYechnology Consult                                                                                       234,853.68      234,853,68
                                                                                              TOTAL DUE »>                         ~234,8S3.b8
                                                                                              (-) PaymentsJCredits:       lOQ,oao.oa
                                                                                              (+)Finance Cha~esJDebits:         a.ao
                                                                                              (=)New Balance:           $134,853.68




Tax ID: XX-XXXXXXX                                                                                                    Phone: 504-581-4892      Fax:

                                           Please r~elach fivtt~ni portion and return with pgrme~zt



 Kate Danahay                                                                     Invoice No.         112999
 HERMAN HERMAN KATZ & COTLAR                                                      Invoice 4ate        5/16/2013
 82Q O'Keefe Avenue                                                               Total aue           $ 134,853.58
 New Orleans lA 70113




                                                                                  lob No..            42782
remit To: Worldwide Court Reporters, Inc.                                         8U ID               1-NOU
          3000 Weslayan, Suite 235                                                Case No.            2174
          Houston TX 7'7027                                                                           Tn Re: Oil Spill by the Oil Rig "Deepwater
                                                                                  Case Name
                                                                                                      Horizon"

                                                                                                   Exemplification_003
 Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 5 of 248



 have attached a "Recap Table" delineating the April expenses.




                                                              APRIL 2013
                  DESCRiP710N                                                  TOTAL
Expenses: Airfare, Hotels, Meals, Rental Cars, Mist                                         $65,464.95
supplies

Worldwide Tech Staff(2) RA KB                                                              $601,168.75
   Creating Party email database ensuring proper distribution to New
Orleans Tech —verifying all video campressian ratios-update party
requests for bundtechanges-verifying hardware formatting-catalog all
parties redactions...(2453.75 hours)


Office Space —11`h Floor                                                                      3,856.55

            train — Mr. Fontana and Support Team                                             $2,200.00
Housing

Equipment Rental-Freight:                                                                   $31,870.80
 Large and small hard drives were formatted with the bundles that
went to ALL requesting parties. Oftentimes there were changes made
and new hard drives were formatted and re-sent. All of these hard                    '
drives were retained by ALL receiving parties                              -        ,(~

Sharefile Database Site Net         ess
        _ —_                                                                      ~~~ ~~
  All Courtroom equipment for all parties, the Court and participating
War Room parties


TOTAL                                                                                      $704,561.05
1/3 APPORTIONMENT                                                                          $234,853.68




                                                                               Exemplification_004
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 6 of 248




TrIAI ConBuftanr JR                                                                                          ~ Yl1~~
Cilent: MDL2179       ~Q~~Qi~                                                                              lt/"'
                                                                                                           U"


Trlal Namo: MDL 2179

Date:       4/15/2013

Date       Trial Consulting                                                                     HrS.
  4!712013 Add naw exhibits end uFdate database. Coordinate consultants and                       8.50
           contractors month-and.

  412/2013 Day 20 of trial. Phase 2 bu~dfa ptooesa questions end answers far parties.           11.25
           Work with Godwin Lewis on Goke documents that moy 6e fnlroduced this
           week. Create alipaheets ac neadad,

  4/3/2013 Day 21 of trial. }iE51 bundle questions. Work with PSC arsd DOJ on exhibks           12.54
           not linked in bundles. Add tha axhlbib to bundles and update spreadsheet.
           Work with BP on above ~nmrns.

  dl412013 Day 22 01 trial. Preparo for and participate 3n marshaling conference,               42.00
           Update bundles with PSC and DOJ changes. Cvpy to all hard drives and create
           updakad sproadshest. Respond to emails from paAies.

  4/5/2017 Communicate wkh partfea reparding phase 2 bundle processes. Answer                   13.00
           questlone and offer aupgea6ons for help. Recei~ra deaignationa hom all
           parties end begin processing deaignatlone.

  4/8/2073 Continue working on phase 2 Qro~ 1 desipnatlons and bundles,                          9.25

  4J7f2013 Cwitlnue working on phase 2 group t bundles. Complete bundles and send               10.25
           aN ~ndlea M aU parties.

  4!812013 Day 23 0`trial. Work with parties on exhlbNs from the NalltbuAon court               12.00
           bundles. Speak with pa►tles regarding queslion~ on bundles and procses
           o} phase 2.

  4!9!2093 Day 24 of trial. Continue working on Haillburton bundles and eKhibll list.            13.25
           Download PSC demonaVativsa. Work with parties on objection codes and Aow
           to send new exhibits and marked up axhlbits to inData. Continue working on
           Jeff Watfa bundEe.

 4J10/2013 Day 75 of trial. HE51 bundles. Create exhlbR lists for parties.                       10.SQ

 4/11/2013 Day 26 of tflal. Work with HEST on documents they expect to introduce with their      11.25
           bundles. Determina which documents are Coke daarments and deal with them
           accordingly.

 41i2120t3 Status Conference, Begin retrie~inr~ phase 2 group 2 deposlCan transcripts.            9,75
           Begin work)ng on bundles, Work with BP on the Iwndles they expect to proffer.
           Assfel HES! with Coke document questions and concerns_

 4/73.`2013 Continue working on phase 2 group 1 and Qroup 2 bundles.                             12.75

 4!14!2013 Continue working on phase 2 group 5 and group 2 Dundlea. Finalize bund{es and         1 "..75
           dJctribute bundles to aN parties.

 411 512013 Day 27 of VIa1. Exhib{t upbad for phase 2 bundles. Work with parties on concerns     12.75
            over process qt bu~dfes. Continue working on BP bundles and exhibit 11st for
            parties. Upload to Sharetle end cammunlcate with parties,


            For Professional 8ervlees Rendered •Total:                                          170.75




                                                                                               Exemplification_005
    Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 7 of 248



TrialConsulmnt CT
Client: NIDL 2179          f~✓r
                                    '~vl~




Trial Name: MDL 2178

paM:        d/t 5/2013

1)~tn       TnaE Ga+sultfny                                                                               Nrs,
   47112013 ReceiuBd new d6mnnstratives and added U~em to tlse TrIaiD4~octo~ dataL~.isd, backetl up         B.75
            case database, arsNed In NOLA, set up equipment Irt hotel ra m, reeved and added
            new demonakallvas, received new redacted a~ibit tram BP,downloaded axhiblts and
            added Ii to the TQ database, backed up ceae database e►~ mpled c~angea io backup
            hard drivge.

  4!212413 In oouRroom runnlnp p~sentstion, received updated demonstretivaa from vatioua parties,         13.60
           added new demonairativea to the TD dstabeae and updated cane daSebase, eadded
           shortcuts to new demonstraiivea, removsd'revlsed'Febel irom newdemonsVativee,
           participated in daily ~dtlbit canfarence call, walked wittt Will to show him procedures
           for adding exhibits to thumb drive that poea Do the wun,backed up case da4abase and
           updated heck up hard drives.

  4/3!2073 In oou~t runnir~ preaenteUon, received updates and reviewed ezh~Wta used fn court on           13.00
           Wnfuance call witlt parties, backed up case database arxi copied changes to backup
           t~a~d drives.

  4/4/2013 In cauR rt+nn(ng preaentatlon, received updates, added new npdaUss to TriafDiro~or              9.75
            daRatrase, hacked dup case database and tapl~! changes to backup harci drives, added
            ahartcuts to nsw demnnatratives far ease of use to court, backed up case database.

  4!5!2013 Received updates of demonsfralives from patties, renw++etl 911 fl!e name dale except             Bb0
           ectual'D" number from demanstrativee fn TdalQireetor, backed up case database.

  4I512Q13 Ret~lved updates from parties, added ell updates to Trial~IreGtor dateb9se, cor~Nnued to         7.00
           remove ail exu~ date irarn'D° exhibit/ In Tp, backed up case database.

  417/2013 Received new demonstrathres hom parties, added new demonstraWas to the hard drive               12.25
           and updated the case database, copied eN changes to bxkup herd dAves, tound
            discrepancy In callouts sent by HEST, worked with Godwin aHomeys to get Compleletl
            Nst o}caltouts, added neW caAouts to the herd drive and sent all changes to alf in4ata
            people.

  41812013 In court run~inp presentatkm, r~eived new demonatretives and soma new exhibits, added           74.75
           new exhltKts and deman8trativas to TD datak~ae, participated In nl~htly e~shibit conferea~ce
           calf, backed up Case datah88e.

  4I912a13 In court runr~lnp presentation, added r~ew demonstretives to TD d~tebaee end 6ecked up          13.5Q
           case database, copied changes !o backup hard d~3Yes, nightly confereno4 call.

 4/1aYZQ13 In court runnt~g preaentanon, added new damonstraUves and e~thiblts to TD database,             75.00
           Decked up case database end oopled changes to backup hard drives, nightly C~Ierenca
           call.

 4I11J2U13 In court running presentario~, added new demonstratives to rp dwtaaese, attended                12.25
           weekly mar6hellnp oanferena, GaCked up case database end copied alI changss to
           back up hard drives.

 4112l2Q13 Arrived al War morn, etterkded Friday work group confarent~e, received newdemanstrati~es        70.50
          !roan partlea, c»pled the new demo~atretives to hard drive and loaded them into
           TrlaiDireclor, tracked up case database, copied hard driuea, reviewed weekly thumb drive,
           delivered weekly thumb drYve to court.

 4/13/2813 Added r~ew damanstretivos rsceived by diems into TdalDiractor database, went through            17.25
           a~chlbits added and gave shortcuts to aceesa diem more easliy fn ceurt, backed up rase
           database, received depo de8fynaHone from Jordan, created case In TD arsd added ISS
           files, backed up case databases_

  4!14!2013 Recehred and added new demonstratives from client9 to fQ database, conflnued to work           ~ 5A0
            on depo designations and issue code hlghlighls, y~eneraled desienaGon r~erts, edibad
            reports, zipped eii fifes and emaflet!them to .lordaR to send to diants.

  411b/2013 In Court running present~tian, received demonstrative updates from parties, receiued            14.75
            daily court tnnacripts, added transcripts ar~d da~nonstratives to tT~e TD database,
            backed up case database and copied ct+anges to back up F.ard drives, participated to
            nightly exhibk conference.

             Far Proteas onsl Sarvicse Renderod -Total:                                                   iB3.75




                                                                                                                    Exemplification_006
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TAeI CansuNant CG
CAe1tl: MDL 2179



T~lel Pismo:       MOL 2179
Dde:               4/t5!2013

f~atr.             Trial CpnsWting                                                                         ~ Mrs.
          a~712o~3 Updaie marshaling exiilbUs Update arwas for peitbe to ensure ■csunq at da~a.               ~n.00
                   Add haw a~iblh from Ihs weekend.

         4/2x2013 Update mNshalirg ext~6ita end caloute, wait In war room, Up~6s drtves as                    12.00
                  roq~es6ed W Psrika.

         I13/Z013 Update Drfxee with new damonetro9+ras and e~~lts, Work wllh 7Q on video {roues              72,00

          4/dlZ013 Fkw~as and check ~1ae pomp to court for merslwling e~chiblb. Croate OrNes with             12.00
                   6undle~ W provlda to the taut ~d parElee,

          MEr2019 CroaEe drAros br Cart arxi parUea wrNh 6undba. F~apze drives wflt~ e~d~blte end             72,Oa
                  demoeVaii~ea for mweh~ling eorNerence

          4!El2013 Work In a►rr room. Update drives for paAlae with new e~hlbtts end demoed~adves.            13.60

          4/7C2A13 Wyk In wer mono. Update dAve~ fa pertles with new exJdtrtts srxl dematrafh~es,             10.00

          4I8r1D13 Update Arh►ae Tor Oartiea, Greats drive for manhalinp confe►enae, make changes fn          13.75
                   drive 6as0d on updstad ~presd cheats

          X1912013 P~vrrlde exportfor parties ~ TtlalDlredor Iseuea. Update drives io ensure eA partlee        42.00
                   haYE CURBYt 110I~8fCi


         4ItOt2013 Wor1c on updatktg end rl►anging bun~fies.Produoe Anal drive!o qo to cotat ftx               12.00
                   manhpYng r~nleronce.

         4H 12013 Work on rfaet~p bundle tlriva~, edlUnp sntl updWrrg tlrlVee t0 rolled Cumer►t chs~es.        ~2,OU
                  Propexe marshal~Q drtvas far court end peRka

         MiM2013 Work ~n war room, Provide support to parHea on 7dalDknetar isauee. Update drlvee              12A0
                 es roqu~tAd by Psrtlss

         M1b/2018 Orpel~za euthlbMn. demaiatretfvea and caQouts IorThu~eday~ mar~ha9ng confersi~.              12.D0
                  Update drlae~ for partles with new demonsUative~ and e~diib~.

                    For P       IonN S~rvlo~s R~nd~red -Tots:                                                 7t4fl.25




                                                                                                          Exemplification_007
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Tr~a~ Connultam. eh
Gient: MDL 2779




Trlal Name: MDL 2179

OeI~        91}613

gala      7r~nl l;o~sWi~np                                                                              IUs
 dif12Q13 Ruc~alved orrvulp ~uW upQ9foe of tlampnyvaLvos, nGertd to 1~iatpireelar ease aaiaheea.       —'
                                                                                                        9„5
          ertWed in KOLA, re~prnded to emeils, met with teairi, backed up case de[abaso
          io e~temal hard drive, prepared spreedeheal for tomorrows court day.

  412/2019 Sperd day is murl tred~ing exhibits and monilorinp equlpmen4 errYned Deck Io war             12 60
           roam end mmpHeO edilbils oMo spreadaheel,sent aproedsheet !o PSC erd BP,
           received PSC end BP's ryreodaheeU, tgmperatl alt aprea[lsheets to our Ifcl,
           highliAhlad diff9renCes, attended cnnteronce tali wlth PSC and BP, nceivgd
           dartronstrativea entl added W 7ti~i~kaclor caea, malnlainetl apreadeheat AateEese,
           backe6 uD'pr~eGehoet to e~emel drNe, bacMed up oese !o aklomsl tlrive.

  413f2013 Spent day In ~uA Vadcing eahlQ!!e and moniforl~tg equipment, a~dvetl Aagc to war             :2.50
           roam end Degen to comWis odilblt Ilal from the day aM ro eaa the ~nfeitn fo war
           room exlertfal drive: gave copy a a~hibk fYoa to court reporter end Ia HESI, sat out
           liar fa PSC and BP, recalved Ilal from PSC end 9P end compered, attended confsrenC9
           call wk~ p~rtfea for Ilai, made eoy chengee requecb4 received demonetreilvea and
           added la Trfa{Dlreeto~, eterletl lief fa. marehollnp cAnferenee, aopled week's aKhlDlis
           to a~Aenwl dr~va, bockad up repo and spreedehoal to exlemaf drive,

  414/Zfl13 grnveG st war rc~rm used gather aqulpment, Iranapo~teC equipmaru W caurt~ epent             13.50
            dny in mwvoom presentirtp and tracking eugpuc, copfad e~t3, H onto lhum4 erFve
            and pave to ccist rapcnar, attended marahol~na conforence, Aandad out 4untlle drlvas
            to the pertiea, argued back el war rxan and aent a4t adYbR IMI, began to tempera
            marsl~ai caMarenoo Ilet and to palhar atl exhibM fiba [o give to IAe wort, checked
            files la mays sue !he! cella~la end pagae were Bent to Irtpela, aeni emailc to
            pertlae Ihat we did trot receive cellauls (or. barked up teas to dateheee

  415!2073 ARived al eaurt tw hesrina, ten equipment antl provided a9ei9tanrs, arrlva4 bock al          1725
           war room ai caNinued [o add ell exhibits, ralioula erd papas to a drive to Oetiver b
           the cook, checked f8ec for ettorq reealved emails end new Camonslrelives end files,
           added to 7tlafDiractor case, bacicatl up LA herd dnw,backeu ~ r0 herd tlrive,
           receiaed !isle from BP and PSC,tampareE to our pet, backed up entire case and
           epreadehaet to aNamal database, mpled e~temal drive t to extamel tlrWe Z and 3.

   N6n073 Arci~ed at wa mcm, werx through emails from clients, wasted an0 eCde4                          9.W
          dertwnaheiives to Tnelpireclof case, copied case to edema!drives, spat checked
          dp4ahase(w acaracy, b~ckad up sp~aedsheets for case, che~kad marshal conf~ertce
          drive for wrtscl az~i6its and auv~acy.

   4t7J2~73 ArfiYed 8t War faom, added !mailed de7T;OftmVBtivoS to [ale, pgCked up Case t0                B.;A
            sxtarnaf ddvet, enawereC Tr1p161reolor quaellona to cllenls, vroP~ad aprea0sheet
            and drives far court, backed up entire teas to eKtefnal drives.

   4I0l201 J Artfved of cauri end spent the day lrecklnp ~zhihifc end eddin0 the !ilea to dove for       12.75
             muR reporler0, Bove drive d e#Ntrits to court reporter and to HEST, WeM over tleys
             oxhiCits with DOJ, earl apraedshee{ u{ days eKhlblle to PSC and BP, rece'rvsd HP
             end PSC apraadaheeW, compered epraeAsheala snd rnel cri Wnferorue cell, hacked
             up case la axlemal drive.

   41912073 Arrived a4 art{ end apart the day Necking exhibRe and ~dinp Iha files W drive far            12.50
            court reperters, pave drlvo ofexhibits to coon repottera end to HEST, went over days
            axh~i~s with D4J, sent spreadahaet of days eahi~{ts io PSC and SP, received BP
            and PSC epraedaheelrs, eompsred spveedeheets end rrst on cen(e~6nce call, backed
            up tees fn a~temel drive.

  41101ZOT3 Arrived at eeuA arM spent the day Vacking eachlbl~s end adding the !lies !a drive for        12 DO
            coixt reportara. gavo Qrn~e et O~ib~[B to court report9~a ~fid to HEST, WBM over deya
            ewMtr%s wl!h ~6J. sent spreaderael of days wdUbils b PSC and BP, receivetl BP
            e~W PSC spreadsheets, camparod spreadsheets and ms!an conference ca11, backed
            up we to es,e~rtel drive

  4fi 11?A13 Psrlvsd e!raua e~td spent the day trecJclnp eHhib9ta and adding She Files to drive fob      11 25
             tout reportvra, gave drive of exniDtts to coon repoKers and to HEST, want ov9r Gaya
             exlibit4 wAh OOJ, gent 1proad5haet of days ouhiblls to PSG end BP, added ell
             mhilHle kom marshaling conference Itl delve en4 delivered to the caurl.

  4112f2013 Recai~ed eme+la end added demonalratfvee and caga~ls to case, repllatl to emaite,             5.50
            ~eCeWad ipdaled speadsheeb from PSC and BP, compered to our spraedahael

  4l73t2013 ReseivaC updates fad teas arW added to TnalDireccor case, 6ecked up ceso la                   4 25
            exlemel drive.

  4/14/2013 Racehred demonaValives ind cellcuts from per!-iea, added toTrialDireclor, prepared            8,75
            the ~preadaReet for rtexl day in oourt, ci8ored herd tlrive antl flash drHAa for ceurl
            thle mminpweek, backeC upwsa toexlemel drive

  4Ji 5120^,~ Arrived ei taut, n~ aGent IAe Cay Vackng o~h~Glte and edtling the Blas to dnvo for          1225
              Ceti feperte~s, mnuo ~.'flae o!oMhibit9 to Cowl ~optiio's eltd to HE51, weal Duet deyc
              oxhiCVts w9ih DOJ,:enf yp~sadsnaet cl days eshblls to PSC and 8P,rpcolvwJ 8p
              and PSC sytany!roets, Cgmpare6 sMeadsh9el~ Ora mat on eatllerb~lGe too, baCYeO
              up case io external drive.


              For Proroaslond SeMcea Rendered - iom1~                                                    T57.7i




                                                                                                                  Exemplification_008
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 Trial Gan~utt~n~ BW
 C~terlr MOL 2179




 Trial None: M1~L 2176

 Dad:       4116!2013

 Date      Trial ConsulHrtg                                                           Hrs.
   4R~2013 Bundfe 2: Group 1 Round 1: Landry, Marclay. Saucier, Lockett, Rohlott        7.60

  ~ana~s eund~.2: c~o►~ ~ t~,nd 1; unary,r~a~y,s.~,der, ~.«~.a, Ronan                  ~.oa

            F~ Protas~o~ s~rvica ri~na.r.a -row.                                      ~a.6a




                                                                                   Exemplification_009
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 11 of 248




 7rW Consutta~ WM
 Cffi~lt MDL 2179




 Trig! Name; lV~1.2179

 D~Se:      4t15l2Q13

 pate       Trfal Cansult~nR    ~                                                             Hts.
   4J7l201S YVai I'oom dutbs                                                                   12.00

   41312013 Data upd~6etchsck                                                                 12.00

   4r4f2013 UPd~tlnD Nt~hrll~p Conf~r~nce LlsWdve by chsdc hx acwracy                         47.OQ

   ~►5r1013 Finelalnp MereheAlnp Co~ennce ihWsiva far completer~ess and accur~y                12.00

   ~16RQ13 Date update and sor9ng                                                              10,00

   ~t8120t3 WerRoam~Ue~                                                                        12.40

   41412013 P~a~d~ wu room. run err~rnd~, update incoming caibab/demonslratfv~                 12.00

  4J10P2013 War room: update Incat~lrra ealbufa/damon~tr~gyea                                  12.00

  +N11i201S Updatir~ Nlarahallinp Cor~s+enoe 4kstl0rtve to chedcforsa:urary. P~parinp and      1204
            eapy§~p bundba

  411Zl2018 Finsllz3np ManshnNing CoMerenca UsUDrNe for comple6eneae end arcura~y              12.0

  M13l2013 Qata up~te and aor~np                                                               10.00

  411fi12013 Wei room: update Inaorrdng albuisidemor►stratives                                 12.04


             For Pro[asalt►nti 8avlt~s RfnWrila •7atu:                                        10.00




                                                                                            Exemplification_010
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 Nerne Jn
 C~~9~~: Mt7L 2179




 Trial Name:     MDL 2179

 pats:           4!15!2013



                 JohnsonD,Johnaon_S, Kanney, Lfu, MacDonald, Marti+'sez, McKey, Mecha, NeF
                 Nea!R, OAenweld, Odom, Prica. Supulvado, Sutton, Taylor, Thompson, Walsh,
                 Watson, Woffe, Young: media format creatioNexhl~It redaotlons,

         412!2013 T8 Bundles; Bement,Clawson, Cremond, Emmsraon, Hart, Haynie, Holloway,              4.50
                  Jo~i~nean D, JWp~eon 5, Kenney, Liu, MecOonald, hAaNnez, McKay, Mecfie, Neal E,
                  Nsel R, Odenunatd, Odom, Price, Supulvado. 5uhon. Taylor, TTwmpeon, Walsh,
                  Walam, Wolfe, Young; media format creatioNexhibit reQactiw~.s.

         4l3J2d1J TO Bundea: Bement, Clawson, Cramond, Emmeraon, Hart, Haynie, Holiowey,              a]5
                  Jonn~on D, Johaaon S, Kenney, Lfu. Macponald, MaRinez, MoKay, Meche, Nbal_E,
                  Neal_R. Odenwald, Odom, ?rlte, SupuNada, Sutton, Taylor, Thompao~, Walsh,
                  Watson, Woffo, Young; media format rleaUonlexhlbR rodaatlona.

         glq12o13 TO Bundles: Bentan4 Clawson, Cramond, Emmareon, Harf, Meynle, Holbway,              5.25
                 .bhnson_Q, Johnson_S, Kenney, Llu, McCUonaid, Martinez, McKay, Mleche, Neal E,
                  Neaf_fi. Qdernvetd, OdCm. Price. SupulVada, Sutton, Tayiar, Tltompsan, We~~,
                  Watson, INdte, Young; madla format CroatloNexhtblt redadlons.
                                                                                                      7.25
         4(61201 7D HundFea' Bement, Clswean, Cramend, Emmerson, Hart, Haynie, HolEoway,
                 John6on_D, Johnaon_S, Kenney, flu, MacDonald, MaR~nez, McKay, AAeche, NealE,
                 Neal_R, Odenwald, Odam, Price, Supulvado, Sutton, Taylor,'fhompion, Walsh,
                 Waffion, worse, Young; media formal creafioNexhibit redact+ons-aC. HESI Bund~es~
                 Andersai, C►iemall, Clark, Coronado, Dubda, Emmanuel, Fleace, Glac4alr, Grsy,
                 Kronenberger, Sanders,fabler, Wtnter, Oulde,lambert, McMahen, O'Bryan, Shaw,
                 Walz, WNefow, Wong {CouR-QC)
                                                                                                       5.50
         a1512o~3 HE51 Bundka: Anderson, Chemall, Clark, Coronado, Dubola, Emmanuel, Places,
                  OieGalr, Grey, Wonenbgrear, Sender,fabler, Winter, Guide, Lambert, McMahan,
                  O'Bryan, Shaw, Walt, Winslow, WGnq. merits rormat creatfonfe~fbtt radactiona.
                                                                                                       3.50
         4A1201~ HESI Bundles:lvWerson, ChEmall, Clafk, Coronado, Qubols, Emmanuel, Fleece,
                 Gtscl~r, Gray, Kronenherger, Santlers, Taller, Winter, Gukie, Lambert, McMahan,
                 O'Bryan, Shaw, Wafz, Wlnelow, Wong (Court-QC)
                                                                                                       d,50
          4!8!2013 HESI Bundles: Anderoon, Chemall, Clerk, Coronado, Uubols, Emmanuel, Fleece,
                   GVaGaU, Gray, Kronenberger, Sanders,fabler, Winter, Gu{de, Lambert, McMahan,
                   O'Bryan, Sfiaw, Wa1z, Winslow, Wonp (Court-QC)
                                                                                                       4.25
          4!9!2013 HESI Bungles: Anderson, ChemaH, Clark, Coroneso, Dubois, Emmanuel, Please,
                   Gfsdalr, Orey, Kronenberyer, Sanders,fabler, Winter, Guide, Lambert, McMahan,
                   O'Bryan, Sflaw, Walz, Wlns~ow, Wong {GourUMedla-QC)
                                                                                                       4.75
         4l101201~ HES1 Bundles: Mdaraon, Chemall, Cta.~s, Coronado, Dudol9, Emmertuel, Pisses,
                   Glsclair, Gray, Kronenberper, Sanders,fabler, Winter, Guide, Lambert, Mcfvfehan,
                   O'Bryeo, Shaw, Walz, Ydlnslcw, Wong (Merits-aC)
                                                                                                       4.ba
         4h1l2019 HE81 Bundles; Anderson, Chemall, Clark, Coronado, Dubois, Emmanuel, Fleece,
                  Gfsclalr. Gray, Kronenberger, 9andera, Tabtsr, Winter, Guide, LamGert, McMahan,
                  O'Brya~, Shaw, Wa~z, Wl~slow, Wong (Narita-4C)
                                                                                                        6.50
         a»u2o~s eP sund~s; aJera9er, ,fahnaon_W, Kataounes, Mlls~p, Morgan, PreaGdge, VVheeter.
                 Trans redact search; merits format creaUonlexh'Uuit redactlona.
                                                                                                        a 25
         4113/2613 BP 8undba: Bjerage~, Jahnso~,_,W. Katsounaa, MII9ap, Morg&n, Prestidge, Wheeler
                   Trans redact search; merits format creaGonleKhlbft redaoUons.
                                                                                                        4.60
         411 612013 BP 9undles: BJerager. Johnson W,Katsounas, Mlsep, Morgan, Prastidpe, Wheeler
                    Trans redact aearoh; media format creallonlexMblt redaeliona.(Ceurt-QC)

                                                                                                        68.15
                     TWaI




                                                                                                              Exemplification_011
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  Names P9
  Ctfent MDL 2179




  Trlal Name;     MDI.217S

  Date:           4/1512613

  Oate             Trial ConsuldnA Task Qesorkpiion                                                  Nrs.
          4!112013 70 Bu~dter. Bement, Clawson, Gramond. Emmeraon. I!art, Hayna, Holloway,             8.C4
                   Johnson D,Johnson_5, Keeney, Uu, h+lacpanald, Martinez, McKay, Meche, Neal_E,
                   Nea( R, Odenwald, Odan, Price, Supuivado, Sutton, Taylor, Thompson, Walsh,
                   Watson, Wol(e, Youc~g; media format creaGanlexhiCit redactions. QC

          4!212013 TO Bundles: Bement, Clawson, Cramond, Emmargon, Hart, Haynie, Holloway,            4.00
                   Johnson_D, Johnson S, Kenney, Llu, MacDonald, Msrdnez, McKay, Meche, Nea!_E,
                   Neal R, Odenwald, Odom, Price, Supulvado, Sutton, Taylor, Thompson, Walsh,
                   WaWon, WoIFe, Young; media fomtetrXeatlonlexhihit redactlon~. QC

          41312D13 TO Bundlaa: Bement, Clawson, Gremond, Emmerson, Hart, Haynie, Holloway,             4.00
                   Johnson„P, Johnson S, Kenney, Liu, MaoDonald, MaAlnez, McKay, Meche, Neal_E,
                   Neal_R, Qdenwald, Qdom, Prlce, Suputvado, Sutton, Taylor, Thompson, Welsh,
                   Watson, Wolfe, Young; medip format croationfexhlb~t rodectlons. OC

          4/A12013 TO Bundles: Bement, Clawean, Cramond, Emmerson, HaR, lieynle, Holloway,             7.04
                   Johnsen D, J~hnsan S, Kenney, Llu, MacDonald, Ma~tlaez, McKay, Meche, Nea1_E,
                   Neal R, Odenwald, Otlam, Price, Supuavado, Sutton, Taylor, Thompson, Walsh,
                   Watson, Wolfe. Yong; rredip format creatlonlexhib$ redactions. QC

          4/512013 TO Buntfle6: Bement, Clawson, Cramond, Emmersan, Hart, HAynle, Holloway,            E.dO
                   Johnson_D, Johnson_S, Kenney, Liu, MacDonald, Martinez, MdCay, Meche, Neal E,
                   Nea!_R, Odenwald, Odom, Price, Suputvado, Sutton, Taylor, Thompson, Walsh,
                   Watson, Woffe, Young; media format rreatioNexhibit redactions^dC. HEST Bundles:
                   Anderson, Chemall, Clark, Coronado, Dubois, Emmanuel, Fleece, Giacfalr, Gray,
                   Kronenberger, Sendefs, Tabler. Winter, Guide, Lambert, McMahan, O'Bryan, Shaw,
                   WaIz,lNinnfow, Wong (Court-QC)

          418!2013 H@Si Bundles; Anderson, Chemaif, Gla~k, Coronado, Dubois, Emmanuel, Fleece,         7.30
                   Gladalr, Gray, Kronenbergar, Sandero, Tabler, Winter, Guide, Lambert. McMahan,
                   O'Dryan, Shaw, Welz, Winsbw, Wony (Court-QC)

          419/2013 HESI Bundles: Anderson, Chemali, Clerk, Coronado, Dubois, Emmanuel, Fleece,         7,50
                   Gtaclslr, Gray, KronenEarger, Sanders, Tabfer, Winter, 4ulde, Lambe, AAcMahan,
                   O'Bryan, Shaw, Walz, Winslow, Wong (CourtlMedia-QC)

         4/15l2Q13 BP Bundles: Bjerager, Johnsan_W, Ketsounes, Milsap, Morgan, Preeiidga, Wheeler,     7.60
                   Trans redack search; media format creation/exh~it redactions.(CauR-QC)



                    ptsl                                                                              63.00




                                                                                                Exemplification_012
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 Name: PF
 Glenl: MDL 2178




 7Aelt~ltw:      MDlZ17&

 Date:           411EI2U13


                 Tq eunG~es: Eement„ Clawaan, G~rt1orK1, EmmeRan, Hart, Haynie, Fiolkflway.
                 Johnaogp,.loFrraon S,Kenney, Uu,Nl~eDorwid, Martinez, McKay, Mad~s, Nn~E,
                 Nee~R,Odernrald, Odom, per,SupWvado,Button,Taylor, Thompson, Welsh,
                 NfaUon. Wolfe. Yaaq; m~dla format cnsdo      llbit ~edfeYona. QC


         X1212013 T4 Bw►d4as: 8emanl, Gawsan~ Crnmand~ Emmerson,Flert, ti~YrM~, HoRawaY~                4.sb
                 ,iohnson~, Johuon 3, Weru~ey, LW, MacDonrld, MerU~x, McKay, Madre, Nea~E,
                  ~++~R Od~rald, Odom, Price, 8tp~dwdc. Sulton~ Taylor T#~amPsan~ Walsh,
                  Wataon~ Wo~e~ Yan9~ media fom~at a'ea8onleid~~ red~dions, QC


         419t20i3 TO Bundke: Bement, Chwson, Cr~mond. Emmerson, Nart, Hayr~s, HoMaway,                  6.00
                  Johrwon_A, Johnson_&, Kamey, Uu, MfeDonaEd,f~lastlnez, McKay, Medte, Nes~E.
                  Neal_R Odenwald. Odors,Prl~a, SupuMado,Sutton. Taylor, 7F~ompaon, Waiah,
                  4Yrtaan. Wdh.Young; madie forma Crostlo~le~d~hit rod8ctlons. QC


         4!4!2018 TO B~rrdles: Bement,C~wson, Cramond, Emmereon, Hit, Heynla, HaBowpy,                  B.OR
                  Jofnsan_Q, Jot~naonS,Kenney, Liu, MacDonald, Martlna:. McKBy. Med1a, Neal_E,
                  Neal,Oderrirald, Odom, Prla~. SupulvRdo, Sutton,Taylor, Thompson,lM1+~leh,
                  Watson. WoHe~ YanO; meCla formal eteaUoNexl~it r~acUo~.~C


         4/8flQ13 70 B~fdiea: Beitlerd, gawson, Cramand, Emmarwon, HaA, F{eynle, Hogoway,               8.00
                  Johrtwn Q. JohnsorL9, F(enneSr, tau, M.~Donald, Martlnez. Mc7(sY~ Med~~ NeaLE,
                  Neal,~t, Odenwald,Odwa,Prtae, Supuh+ado, Sutton, Taylor. Ttwmpaon, We4sh,
                  Watson, WoMe,Ycxnp; media format creatl~Ve~chlbft rodadions-QC. F~318undks;
                  Andersen.Chsma~, dark. Coronado. Dubois. Emmemsf~ Fleece, Glsdalr. Gray,
                  Kronen4eryer, Sandors~ Tabler, Winter, Oulde. Lambsrl, hicMahan~ O'6ryan, Shwv~
                  Waiz, VNrxlow, Wong (Court-0C1


         4/812015 t~Sl Bundle: Ander~m, Chemall. dark. Coronado, Dubola, Emmenuef, Fleaee.              9.50
                  Oleddr, Grny, Kro~nenbarper, Senders, Tabler, VYlrri~r, Gu&le, L~mbori, #AcMahen,
                  d'9ryen, Shaw, Walz, Winslow, Wong(CaisilMedla-UC)


         419!2013 HESI Bundles: At~darsort, C.hemoH, perk. Coronado, DUbole, Emmenual. Fleece,           8.50
                 (31ad~lr, Cita~r. Kronenber4s~, Sanders,fabler, YVMer, Gsdda, Lambea. McMahen,
                  O'Brysn, Shan. Wait, Wlnalow.lNa~p (M~dla-QC?

     411112013 BP Bun~es: BJemyer, Johnson W,Ketsoursas, Mllsap, Mapes,Prestfdga, Wheeler.               8.00
                  rr.ne n+aea ~~~n;m~a~ ta,,,,n ~atwn+.~a,wn r~eec~t«,s.

     ~/12R013 BP Bun~as: BJersper, Johnson_W, Nataounar, Miaap, Morpen, PreeL~dpe, WhesVer               7.~6
              Trans rodaot aeareh: media fwrnat croatlort/s~d~bEt redaettons.


     4195t~013 9A 6u►~ee: Bjeragar, Johnson W,FSsfsaun86, MNeap, Ma4An. Pteetldge, Wheeler               B.OD
               Trani redaet eeerc3r media format crsedoNmd Tiiblt rsdad~Ona.




                   Total                                                                                T~.26




                                                                                                      Exemplification_013
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 I~me: CG
 dlers~ MDL 2179




 Trial #fame:    Mt?L 2170

 Dabs:           4!'15/2013

 Date            Trial Consulting Task Description                                                     Hrs_
        ~/1t2Q13 T~Bunt~: BartMrlt, Clawson, Cramond,Emme~on,Nart, Haynie, Holtovrey,                    8.50
                 Johnsor~p, Johnaan_9, Kenney, Uu, MacDonald, M~rth►ez, McKey, Merha, t3eel_E,
                 Nea~F~ Odenwakf, Odom,Pr~oe, Supulvedo, 8ut~n~ Taylor,'RiomPson,Waleh,
                 Wabon,Wdte, Young; media format craatloNexh~it red~ctlone. QG

        4t2/2~13 TO Sundlee, Bemerit~ Clauraon~ Cramond~ Emmerscn~ Hart, Hayr~~ Holloway                 8.50
                 Johneon_D, Johnean 8,Kenney,LW, Mao~orteld, Martinez, McfCey, Meche, Neol_E,
                 ►Veel_R~ Qdenweld~ Q~fom~ Prfce~ &upufirado~ 3ulto~~ Taykx, Thompson, Walsh,
                 Weteon,Woffa~ Your~p; media tomcat croet~oNexhfbit redsctlone. QC

        4/3/2013 TO Bundles: 6errt+enk Gawaon,Gn~r►ond, Emmeroon, Hut, Haynb, HoAoway,                   a,50
                 Johnson,p,Johnson 8,Kenney, Ltu, MacDonald, Martinez, McKsy. AAeche, Neal_E,
                 NaeS„~2, Odarnnald, Odom, Pries, Supulvacfo, Sultan. Taylor, 7hompeon, Waleh,
                 Waba~,Wotfu, Younp; media tbrmat creeikNe~d~IWt red~t{ona. QC

         MAt2013 Tp Bundles: Bement, Clawson,eramond, Emmetaon,F1art, Haynie, Ho~owey,                   8.00
                 Johnscn~,Jahr~o~3, Kenney, Liu, MacDonald, Martlriez, McKay, Meche, NaeiE,
                 NeaLR, Odenwald, Odom,Prlca, Supulvedo, SutWn, Taylor, Thor~raan, Walsh,
                 Watson,lMatfi~, Young; media format c~aalloNexhlbtt redactlana. QC

         M512013 TC~ Bundles; Bement, G4a~aon, Cramond, Emmereon,Fhrt, Haynie, Hallarvay,                4.00
                 Johnson D,Jahneon_S, Kenney, Liu, M~cDonsid, MaRinaz, McKay, Med~e, Heal,
                 Nosl.R~ Odenwald, Odom Pdca, Supuhrado, Sutton, Taylor, Thor►~on, Walsh,
                 Wrbon,Wolfe, Young; media format aestloNexhfbKredactions-DC. HESI 6unG4es:
                 Anderson, Ghemafl, GIsAc, Corormdo, Dubol~, Emmanuel, Fiesta, G~clalr, Gray,
                 KronenberDar, Sarxfers, 7ahle~, wlnmr, Oulde, lambert, McMBhen, Q'Btyen. Shaw,
                 Watz, Wlndlow, Word(Court-QC}

         4l~2Qt3 TO Bundles, Bement, Clawson, Crarrand, Ernmerson, #cart, Haynie, Holloway,               1.2b
                 Johmon Q,Johnson_3, Kenney, L'w, Ma~Dona[d, Martinez. AAd(~y. Meche, NeaLE,
                 Neaui,Odernrald, Odom, Price, 5upulvada, Sutton, Taylor, Thompson, Welsh,
                 Wabon,Wolfs, Yaurrg; media format creatioNexhibit redactions-QG. HESI B~aidiee:
                 Artder~. Chemefl, Clark, Coronado. Dubois, Emmanuel, Fleece,{ilaClelr, Gray,
                 Kronenbenyer, Senders,Tablet, V1Mter, Guide, Lambert,(McMahan,din,Shaw,
                  waiz, car stow, wow tcourt-0c~
         419l20t3 1~SI Bundles: Antlerean, Chamall, Clark, Coranedo, Dubole, Emmanuat, Fleece,            5.25
                  Gkclair, Only, Kronenberper, Sartd~re, Tablet, Winter, Guide, Lembett McMahan,
                  Q'Bryen, Shewt, Walz, V~trafaw, Wong (Court/lNedla-QC)

        M10/2043 t~Sl Bundles: Mderson, Chem+~ii, Cgtrk, Coronado, Dubois, Emmanuel, Fleece,              3.00
                 Gisdslr,t3ray, Kronenberg~r, Sandmrs, Tablet, VVlnbsr, Guide, Lambert,l~IleMahan,
                 O'&yan, Shew~ Walz. Wlr~low, WonC (Media-4~)

     4J~'I/ZO~I3 HEST BUfldI66: PV1A9f10h, Chemafl, Ck~~k, Coronado, Dubois, Emmanuel,Fleece,             4.QD
                  Glaclpir, Grey, KrQnenbergor, Sandon,Tablet, Winter, Guide, Lambert, MdU4ahan,
                  O'Bryan, Shaw. Walt, Winslow, Wortp (IUedfa~C}

        ~4l13l2013 BP Bundles: BJe►apsr, Johnsen, Kateounas, MIleap, Morgan, Prestldge, Wheeler           0.76
                  (Court-QC)

 —                Total       —_— ~-~~                      _      ~—~              -       -        ~`~61.7x3




                                                                                                  Exemplification_014
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  N~ms: M.►
  Cileni: MDt 2179




  TdmNanle:       M~21T9

  Dsbe:           4l152~13


                                                                                                       7.00
                  John~on„D, JohroonS,Kenney, Uu,IJIocOoneld, N~rihmz, AAd(gr, Mache, Ne
                  Nsa~R, OdenwaFd, Odom, Prlc~,Supulvado, Sutton, Taylor,Thompson, Wsleh,
                  Watson, WoHe,Younp; media format a+eatloNe~lbk nd~cdons. Medig-QC

          412/2013 70 Bundles: 9ameM,ClaMrean, Cremot~d, Emmsrsan, li~tt, Hwynb, HoAoway,              8.00
                   Johnson,Joh~on S, Kenney. Uu, Macflonekl, liAartlnez, MdCey, AAec~he, Neal,
                   ~LI~~ Odenwald, Odorn, Fria,8upulvado. Sutton,Taiylor, Thampaon, Walsh,
                   W~bon~ Wails,7ounp; malls forma aestlord~xhibB ndactbne. Media-QC

          4!312013 TO Bundee: Bement, Clawson, Cramond, Emrnerson, Hart, Naynle, Molbway,              8.25
                   Johnson D,Johnaon_S,Konnry, Liu, AAuDonald. Mardn~z, MdC~y, Mach, Neal_E,
                   N~~R,Od~nwaid, Odom,Prim, Supuhr~da, Sutton, Trylor, Thompson,Waish,
                   Watson, Wallo, Young; molls format eros8onlexhl6~ rodacdone. Msdir-QC

          +U4J2013 74 9undles: Bement, Clawson, Cramond~ Emrteraart. Hart. Haynie Flolioway,           8.25
                   dohrtaon_D, Johnson S, Kenney, Uu, M~cDonettl, MaAi~t, McKry, Mocha, Neri_E,
                   Nea~R, Odenwald, Odom, Price, Supufvedn, button, Taylor, Thompson, W~Ish,
                   Watson, Wolfe. Young; media format aeotbrVe~ddbtt rodaWone. AAedia~G

          AJ5/2013 TO Bundles: 8emarrt, Clawwn,Cremond, Emmer~att, Hart, Hayn~, Holbway,               4.00
                   JohmorLb,Joriruon_S. Kenosy, Liu, MacDonald, Me~tlnaL, McKay,Meche, Nea~E,
                   NsaLR, Odenwald, Odom. Price. SupuNado,Suticn,Tpylur,'flfompson, Walfh,
                   Wataan, Wolfe, Young; rtwdla tam~t cro~loNa~d~lbR redacdon~, Msd}a-QC

          4!9/2013 HESI Bundler Anderson, ChomaA, Clerk, Corartado, Dubob, Emrrirnuel, FNece,          8.76
                  (3lsddr, Gray, Kronar~berger, Sanders,7~bler, Wtnbar, Ciulde, t.mb~rt, McMahan,
                   O'Bryan,6haw,Walx, Wlnsbw,Worg(CaudMVediMtiC)

      4t1W2013 HE51 Bundles: Anderson, Chamail, Clark, Coronado, D~w{s, Emmanuel, Fleece,              3.50
               blsclak, Gray, Kronenherger, Sandera,'iablor, UVln6u, G~da, Lambert, Mci~Aaha~,
               O'Bryan. Shaw,Wa~z, Winslow, Won4(~~~)



                   ToIAI                  ~                                                         ~ /8.76




                                                                                                Exemplification_015
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 Noma: AM
 Ctietlt MbL 2179




 T11a1 Natn~,    MDL 2176

 Data:           4/i~i2013



                 Johnsor~D, Joh~eor~S, Kenney, LIU~ N~cDona~, Mertlne¢, McKsy, Meche, Ne
                 Nrsi_R, Odemkakl, Odom,Prtce,SupuMedo,6uttan, Taylor,Thanpson,Welsh,
                 Watson, Wo100,Yaunp; media torrn~t uanRloN4~dlibN rsd~dlons. QC

      4/2/1043 iiD 8uadlee: 5ament, Cisweon.Gromond,Emmersors,Hirt, H~ynle, Fidfowry,                  7.73
               JOFIMD11~7, Johrason_8, Kanney. Uu, MacDonald, Martlns~. McKsy,FAQ,Nnl E,
               t+bt1_R. Odenwaid~ Odan.P~Ioe~ 3upuNada,6utton~ Tayior, Thompson, Wafeh,
               Wet~on, WoCe, YaunQ; made fomsat creY        bl! ied~c~lona.QC

      M312013 TO 6undba: Bement, C4~wson,~romond,Emmasson, Hart, Haynb, HoYoway,                       4.30
              Jahn~on~,JohnsonS, Keaney, Llu, Mar~onald,IlMrtlnex, McKay,iuleche, Nes~E,
              Wea~R, Odenwald, Odom, Price, Supuhrado, Buticn, Tsybr,Tleompson, Walsh.
              Wagon,Woks,YamD; modb tomnal creetfoNeSthbit redectlonr. QC

      4lst20S3 'f'O 9undks:8emsnt, Cl~nvia~, Cramond.Emmor~an, Hirt, Haynie, Hagc~r,                   7.75
               Jahnso~~,,tohnaon_S, Kenney, t1u, MacDonald, M~i1~ez, McKay, AAeche,l~al.E,
                Nea{_R,OdernMald, Odom, Pr}~a, SupuNado, Sutton, Taylor,ThOmpaal, Walsh,
               tNat~on. Wolfe, Younp~ media format «eadonl~xhibit rodectlor~s.QC

      4/bt2013 TO 8undtes; Bement, Chwaon,Gr~mond,Emmetson, Hirt, Heynb,Hokloway,                      7.75
               Jahneo~,0.Johnao~$,1CetRn~y, Liu, AAacDoneld, M~rtlnez, McKay, Mech~, N~ai~,
               Neal,R,Odenwald, Odom, Price, Supuhrado, Bolton,Trylor,Thompson, Wabh,
               WaE~cn, Wolfe, Young; malls 1orm~t crewtfonlexMblt rodactlons-0C. HES1 Bundlsa:
               Mde~aon,Chemall,Clrrk, Caronedo, Dubois,Emmanuel,Fbece,Gladafr, Grey,
               Kro+ronbapar,Sanders,7oblar, Willer, Ou~de, Lambert, M4~Aah~n,O'9rysn,Shaw,
               Walz,Wlniiow,Wong (Court-0C)

         4!l~12013 HE51 gundbe:Rndereon,ChemaN,Clark,Coronado, Dubafr, Emmanuel,Flvem,                 5.78
                   Glsdalr, Gny, Kronenberger,84nden,Tebler, Wln4er, Gutde, Lambert, McMahan,
                   O'Bryan, BhRw, Wad,Wlnalaw,Wong {Court-0C)

         41BlZ019 HEST 6undl~r. Ar+derson, Chama~, park,Coronado, Dubois, Emmanuel,Ffsece,             4.UQ
                  dlaet~lr, Gny,Kronenberger,8anden,Tatabr, Wlrner, Guide,l.ambeA, Mdulahan,
                  O`Bryan, Shaw, Wale, Winatow~ Wong(CourtJMadla-QC)

     4/i0/2418 MES)Bundtea: Ander;an,Chamsll, Glaric, Coronado, Dubol~, Emmanuel,Fteaoo,               7,25
               Oladalr, f3roy, WOnenberQer,8en[le~a,7a6br, Winter, t~ulde, ltmbe~,McMahan,
               O'Bryan, Shaw. Walz, Wh~alow, Wong (Media-QC}

     4111/2013 HE31 Bundles: Anderson,Chemall, Clark, Coronado, Du6of~, Emmanuel, Fleece,              4.~
               C~isclair, C3r~y, ICrar~enDelge~, $enders,T~bler,lMntar,Qutds, Lambert, AACMahan,
               O'8ry~tn, Shsw,Wad,YVinolow, Wong (MedlaACy

     4!12/2013 BP Bundles: Bj~r,Johnson W,Kataotmaa, A~tllsap, Moig~a, Are~Hdg~, Wheeler               7.7~
               Trena ~dac!saa~h; malls toar~t croe~oNaxhlbR redsetloRa.

     411512413 6P Bundles: B~erspar, Johnso~W,Katsounar, i~tlleap, Morpea,Pre~tldge,Whpebr,            8.00
               Tnna redact seuch; media fwmat creaUoNexhibik redredons.




                  Taal               ._~W,                                                  __~..~,-=-69.60 u




                                                                                                   Exemplification_016
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 Name: d~~
 CI~eM: Mot ~~79




 TAaI Name:       MOL 2178

 beta            4/15I20i3

 Date            T~WI COns~dlutg Task l)oatri~lial                                                              IIr3
        tli/2pIJ 4'Mdf11t~ FS~IrShcOb~.~~t6~pp0, ARdEtS~ft, Ch91fi90ft, ClwmaN,D~&ds, Gvbo,                       Sc0
                 Kronsnbergsr, Lambert, Undner, Newman, RaW, Senders, Slaw, Tebler, Wona(Medte
                 weapon; exh redac(bns/replacements)

        4J2/20t3 Fending BundEas: Ambrose, Anderson, CDelswn, Chefna@, Dubole; Guide,                            8.00
                 Kronenberper, Lambert, ~~ndner, Newman, Ravi, 9anders~ 6haw, Tabler, Wonp (Media
                 creation; e~ redecllonsheplacemenla)

        4/3/2 15 HEST Btn~lea: Anderson P, Chemell, Ciaq'Jc, Coronado,[A~bols, Emme~uel, Fleece,                 6.00
                 Glaclalr, Grey, Kmnertberger, Senders, Tahler, Winter, Guide, Lambert, McMai~,
                 C'Bryen P, Shaw, Wefz, Wlrelow, Wang. Cnurt 4urxies: personal InFo
                 aesrchlredectlana, exh reAacllone, e~ rsplacementc Incl euh attach fees, errata aheefs.


        4/4l20t3 HE31 Bundkae: Ande~aon P, ChemeiL C1ar1c, Coronado, Duba{s, Emmanuel, Fiaeoe,                    B.GO
                 GI~dBir, Gray, Kroner~t arger, Saodofs,Table, Wlrtivr, Guide, l.amGeA, McMahen,
                 O'Bryan_P, BbaW, We1z, Winslow, Wong• Co~ut h~01es; personal Info
                 search/redndlon~, exh redacllon~, e#~ teplacetilenls InG exh attach fllas, errata sheale.


        415!2013 HESI Bundlse: Anderson_P, Chemell. Glnrk, Coronatlo, DUDois„ Emmanuel, Flaece,                   B.00
                 Glecialt, Gray, Kronsnbergor, Santlers, Teblc[, Winter, Guide, Lambert, Mc7Aahan,
                 O'Bryaa_P, Shaw, Waft, YJtnelow, Wanp. Court bundles: pareonal into
                 seerc#tiredaclione. ezh rsdaWlans, sxn fepl3cefnenls hscl e~Ai attecYt Tiles, etrdta sheata.


        dt8l201~ HEST Bundl9s: Anaerson_P, ChameR, Ctark, Coronado, oubWa, Emmanuel, Fleece,                      4.ao
                 GlsdeVr, Gray, i4onanberger, ganders,Tauter, VYlnter, GuIQe, LambeA,McMahan,
                 O'eryan P, Shaw, Welz, Wlaslow, Wong, Court bundles(personal 41M
                 eearrh/retlaetlana, e7ch redacllona, abt replacemenla krcl e~ BS1ach files, artate
                 sheets), roadie bundles(removo e~ e~tachmenls, iemovelrepfaca exfis)

        4178013 HESI BurlGlas; Anbe~son P, Chemell, Clark, Corortedo, bubofs, Emmarwet,fleece,                    5.75
                Gladafr, Gray, Kronm~harger, fianaera, TeWe~, Wtnler, Guide, Lambert, I`RcMahan,
                O'Bryan P, Show, Walz, Wvislax, Wang Gau~1 bundles (persorel Info
                eaarchtredacticne, exh redactlons, ezt~ replacements Intl e~ attach Files, errata
                chae',s}, media bun~es {remove e~ attachments, removelreptace exhs~

        4f9l2U19 NE31 8an~es: MdereonP, ChemaN, Clark, Coronado, oubofs, EmrnanuaL Fleece,                       14.5Q
                 GfeGair. Grey, KrorleMerger, Sanders,Tabler, Wlntar, Gufde, Lambert, McMahan,
                 O'9ryaa_P, Shaw, Weh, MMslow,Wong. Court bundles (parsonel iMa
                 aearchlrsdacUons, e~h rffiactions, exJ+ replacamenla incl exh attach (Iles, ertata
                 eheats), media hundbs (ramous e~ attachments, remove/replace exhs). Compress
                 data/pOSt t0 fie sher0 she {dfeit Copy)

         4~e12013 HESI Bundles: efchlblt Ust aea[lon. Compresslposc dare fn Ne share ale: Coronado,               8.06
                  Gfsicstr, Gray, McMenarta. Q'Bryan, Wiz(CowUMadla), Revise C-,ufda Uanscript,
                  GOilfpfes4h'B-pOSI

        oA0l2013 HESI9undeslo disc (CourtlMa~a), £~di161t Ilsk $ough~oo, Florence, Tudak, Wll~iama                8.04
                 Pending Eundlea: tinder, Ravi, 9halla, Bonduranf, Bryan, C~andirr, Ezell, Faster,
                 Gaglteno, GuiGry. Hollek, hluciL Hwta, Ishii, Ke~fh, Martin, O'Donnell, Peyton, Rodanla,
                 Roth, Srnlfh, Young

        4H 512012 9P Bundles: BJaraper, Johnson W,Ketsowms, Mllsap, Nlagan, Prestidge, wne~er                      8.00
                  Trans reeect search; meAia format craatbrtlexhlbil redactions,

        4!12/2013 8P Bundlssc BJarager, Johnson NJ, Kalsou~es, Mlleap, Morgan, PresUdga, Wrieele[                  7.00
                  Trees redact search; rosdfa format creatlonleachibN redactions.

        4113!2013 BP Bund€ea: BJersger, Johnson_W, Keteounes, Mlteap, Morgan, Preslidpe, Wheeler,                  7.75
                  Trans reaact seerc~; meAis format cresUanlexAiblt redactlana.

        4t15lzp13 8P Bundles; BJerager, Jobnson_W, Keisounas, Mllsep, MQrpen, P~esttdge, Wheeler.                  700
                  Trarta redaG search; media format creationlexMbit redactions. Compress/poal oats io
                  6hare ilia (dreg)



 ~~~~~.            TOtA]                                                 ~                                       101.OQ~:~




                                                                                                                             Exemplification_017
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 19 of 248




 Name: Je
 CIle11~ MDL2179




 r~ r~~„d: MDL 2179
 Dabs:       W!'14t13

 Date        Trial Consulting Task p~suiption                                                  Hrs
   4151?.0~3 Degin receivin0, reviewing, organizing grid Ci6atk►Q ~B~Hryfiles for QrpUq 4      i2.OD


  4112/2013 Begin recelvinp, roN~+vir~, oryan~,snd e~atlng necessary files for group 2         74,F0
            depoetriona d~ group 1 courdar dsel~nstlona


             7Wal                                                                              x.04




                                                                                            Exemplification_018
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 20 of 248




 Trtel C~aulbiu~ CC
 Cftent; MDL 217B




 7rHd Name: MDL 2179

 DaEa:       4t151~!3

             Ttiaf Corssuilinc~                                                     Hrs.
 Qate
   3130!2013 Review and do4ihke-chock deposition bvndl~s for court submission.       A.00

                                                                                     2.00
    4/'112019 R~viaw and doubts-civedc Qepoeltlon bun~ae for court aubmfaabo.

    i14r1013 Rovi~w *nd dcs~le~ehedc d~po~ltlon bundles for court submles4on.        2050

    4/81 19 itevl~w ~d doubis~check dspaelilan bundles tar cnvrt aubrn{sabn.         1,60

                                                                                      1.OG
   4/10/Z013 Revlew and double-check deposition bundes for court suhmtalan.
                                                                                      1.00
   M1912018 Rsvtsw end doubirchack depaidon bandies for couR eubmlealon.

             For Pra~Wo~!sarvicua R~r~d~nd •taE~:                                    12.00




                                                                                 Exemplification_019
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 21 of 248




 Tdat Consultant. TR
 G1811t: MDL 2179




 Trial Nems: MDL 2179

 Qate;      411512013

 Rafe       Trial Cansultinq                                                            Hrs.
  3!29!2013 Review and double-ci~eck deposition bundles for Coronado and V~lol!           1.00

   4/'1/2013 Review ark double~checic deposi~an bun~a for Cwonedo, WAHama,Albany,        4.~0
             8sfine, Douglas, DegN,and Durkan.

             For P~fas~lonal8~vicw Rendenrd - Tobi.                                      6.00




                                                                                    Exemplification_020
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 22 of 248




 Tri~f ConsulteM: CT
 Clb[IC MCIL 2179




 Tdol Name; fiARI 2179

 De4e:      4J9U+2013

 Date        Trial Consulting                              ~                                                Hrs.~
  41161201 3 !n tour! running presentation, received updated demonstratives from paRies end loaded          12.75
             them Into TrblDlroctar, went throu~ exhl~h uses fhrott~hout the day end pertidpated
             In nlQhtly r     ~r~ae call with pariles~ backed up caps dateb~as.

  4117/2dt3 In court runnlnp prasentatlon, rsoaMed upd~ee end boded them ir~to TD, updated 6aak             13,50
            up clrhes wHh I~st dad~ba~e changes, docked up cne debba~e,want 4~dc to wat room
            and oornprued dally aahibit Ii~t, went tl~ouph e~ of MCI proadurss witl~ IrtData Wm *nd
            as~lpned clamp furtallona to foam, badted up oaie datsbsee.

  4t481zOt3 In war roam mmpilinp final Bat of ~xh{bib to go to curt, Deg~n badcinp t~ herd drlvta           15.OQ
            for dNrtb~ TO and HEST, worked w~h dbnts on ercsn9ing updates to drsady oopls0
            hard c~rive~, eorr~pernd ~xhibib used witl~ I~t hom BP ur~d RSC.

  4l19/?013 In vr~r roan, Ml~hed copyk+y drfwsr for dbrts, rotum~ drives to dlents, attended work           13.50
            prot~ conferonta, be94n c~eNina a Rnrl hard drive of ~u~tea and exhb~t to go to tha
            court ~t final m~shallnp mM`arence, rocelvad group 3 bundie~ from Jordan, croated cases
            h Tp Tor now bundles.

  4l20/20~9 In war room updatlnp final couA drive w1Sh latest a~chlbHs from lest weak of tr141, waked        D.75
            on bttndi~s to inchide tWging tpbtes.

   4/21/2013 ReoeNed misslrq burxNas to add tO tln~l couR dries, roceived 1331pes from Jordan for           12.50
             group 3and group 2 burtdls~, exscvted ISS fllee 3n 7D and e~oRad desSpnotlon reporia,
             tarmatted exported dasl~nsUon rsporb and asr~ the to Jordan to forward to dkrrta.

   41228013 in wu roam copyh+p final draw to a backup fl~al drive, w~erY to Courthouse is cb~~ up            11.75
            counroam tnd eNher all cables irorn avarlfow courtrooms, ~►t back to war room and
            Rnlahed eopylnp b~dc up flnai court dfiro, eomded bundles that 1ud missing ta6lea,
            made w copy of a new book up herd drhre to have at inDala,ibced bundla deslynatlon,

   423f2013 Flenlved Ch9nya to malts io e~dtibp drlw, ~gen gathering a~d~ibils tar final drive to go          8.26
            to couR sad to NI peRl~s, tsmlved fat of e~d~ibita and bapan comparing both exhlbR Ilats,
            one for the final week end one for tlKs oontple6e ~e! o!e~dUbks.

   412512013 Reeekvad addigonef chanpee to e~d~~ii Ilab, received ne w a~lftlons end changae to               6.8Q
             bundbs,contlnued to work on final buredie ddva.

   412812013 RaoeNod smalls rsparding d~a~ge~ to flnei exhlbU Ibl, continued fo edit drisro with final        B.Ub
             I~t of ~chlbita going to the court,spoke to JorOan tsperdtne dranpea being mode to
             bundles end what chenpes Hoed to be mods.

   4 02013 Woriad wlih Bryan to gather ell e#►Ibtta frnns prfa drtvs~ sent to the eou~, began                 9.d0
           orpani~np exhlblt~ In ~ta~w witnep fiidan per wort requesl.

              Fob PrO~sbnal ESTv1rA! Rendered -TGlfl:                                                       717.6Q




                                                                                                         Exemplification_021
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 23 of 248




 TrYal Canault~t: gH
 Giant: MOL 2179




 TriAI Name: MDL 2179

 Date:       4!30!2013

 Dale       Trial Consuftireg                                                                           Firs
  4/i6r2Ui3 nrnveC at Court and spent the Cay tracking exhlbils arxl adding the files to drive for       74.00
            court repwtere, pave drive of e~1~ta to court repaners and W HEST, went over Ceya
            eYhibita wilh DOJ, sent spreadeh~t of days exhibits to PSC end BP, received BP
            and PSC api'eadahoets, compared spreadsheets and met on Conference call, bndcad
            up case to e~Rerrial dr{ve.

  4!172013 Purlved at court and spent the day tracking exhibits and adding the filee to ckNe for        X2.75
           court rcpoRera, gave drive of e~iblts to court repcxters and to HESt, went over days
           afd~l6its with OOJ, Bent apreadah~t of days exhibits to PSC end 8P, received cal
           outs and dsmeneKatives from parties and added to database.

  411 BI2013 Mrved at war room and added cellwts end demonstratives that r received from parties        12.00
             To Qstabdae, began adding all exhibib used Burinp tfie week to a drive to present to
             Court, rece{ved e#~ibit list from P5C and BP. C~nper6d t0 our exhibit Ilst, capl6d
             drives for parties, compaded TQ database, archived enttfbit Ilsts and worked on
             adding exhibits to database,

  4/19!2013 Arrived at war room and continued to lranafer exhibits to external drives, wit to couR      13.75
            and ettertded the work group conference, worked on the bundle doves and capl~ them
            to extemat drive, reeelved and copied cal! outs and exhiwta to ~xtemal drive from
            parties, copied drives and copied the datatrsse to external drive,

  4/20/2013 Mived at war room,continued the database updates and worked on e~iblt                        7.50
            spreadsheet for marshal conference, received emails far final marshal conference
            end bogan working on compiling ttte exhibits onto drive Tor the fina4 conference.

  4!2112413 Arrives at war room and rantinued work on the exhibit conference list, received new          &.50
            marohs! conf Hats and backed up to database.

  4/2712013 Aaaved et war room and started bade up process o~ all datshese files to e~dern~             10.00
            drives for transport, went to tout room and tore down equipment, tranapoRad
            egtripment to storage, arrive back et war room and copied drive of bundles,
            warkea on ex~iblt tier database end melntained TD database, mat with parties
            as needed antl ~nfareneed for phase two preparations and bundle prep.

  4Y13f2Q13 Arrived at war room and Continued iraGc up of ail trundles and exhibli~, made                 8.00
            copies of drives given!o court, copied spreadsheet of exhibits and sent io parties,
            packad up war room.

  4!2812013 Worked received bundle Uct bras and loaded into TdaVDirectnr, backed up bundles               5.00
            onto exiemal drive, loaded all of the de~rar~strative and calloub that were sent over the
            fast several days irtbo the case data~aee, added to spreadsheet and 6ecked up to
            axfem~ drive.

  4!2712013 Gar~tinued to load 1xt files irrta TdalDirectar arxf then began to toad ISS flies into       10.50
            each bundle wltriesa casein TrialDiredor, baUced up bundle files wNo external
            drive, ravened emeils of callouts and demonstratives from parties and leaded lets
            drives for final marshal ccnterence.

  4l28r20i3 Continued to bad ISS flies Into TnaiDirector, ran transcript repoA for bundles and           11.25
            created the bundle PDF's for group 2 and 3 and 4, created the zip Alas for each
            depo wilnesa and added bundle dots.

  4/29t2D13 Revalued emails of csllouts and demonatratrves from padias, downicadad                        1.00
            dots ~d added to bnal drive

  4/302013 Recel~ed updated marshal conf list and callouts and demonsVatives from US TO                   2.50
           Bnd BP, added dots to case and to firs! delve.

             For Profesalonal Servlaes Rendered - TvtaL•                                                X14.79




                                                                                                         Exemplification_022
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 Trial Conaulta~t: CG
 Cllenr MDL 2179




 Trial Name: MDL 2179

 Data:        4/1812013
                                                                                                       Firs.
 Date         Trial Consulting                                                                          12.OL1
                                                requested to enauro Shey have most recent copy.
    dl16~2013 Updal~ hard dt4ves For parties as
               Work on Marahaling exhbHs
                                                              weaka coniarence. Help pertiea wtih       12.00
    4/17/2913 Work on updsting marahalinp exhlblts for thla
              T~IalDlrector leauee
                                                              dlstr~wie drives to parties. Update       12. 0
    4/1B(2013 Create and check bundle drhres for acxuracy,
              marshaling drives for conference



                                                                                                        58.00
               For Professional Sen~lces Randerod -'total:




                                                                                                    Exemplification_023
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 25 of 248




 Trtel Consultant; WM .
 Gi9nL MIL 2179




 T~ia1 Name: MOL2779

 Dafe:       4/30/2613

 pats       Trial Consullinq                                                                      Hrs.
  4176/2013 Update hard drives for parties as requested fo ensure                                  12.OQ
            they have moat race~t copy. Wark on Marshaling exhibits.

  419712013 Work on updetirtp matshaling exhiblls far this weeks conference, Help part{es         12.00
            with TrialDireCto~ Issues

  4/18/2013 Create and check bundle drives for accuracy, distribute drives W parties. Update      12.00
             marshaling drives Tor conference

  4/i912013 $egin backlog up harci drives and network drive. Begin clean-up of war room.          12.QQ

  4/20!2013 Continue backlog up herd drlv8a and network drive. Ccntlnua clean-up of war room.     70.00


             For Professional Services Rendered •Total:                                           68.00




                                                                                               Exemplification_024
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 26 of 248




Trlal Canaukartit: 8W
Clferrt: MDL 2179




 Trig[ Name; IutDL 2179

 Date:       M30/2013

 pate       Trisi Consult~nq                                                          Hrs.
  4/1512013 Bundle 2. Group S Round 3' Landry, Marclay, Saucier, Lockett, Rohfoff       S.OQ

  4126/2013 9undle 2: Group 4 Round 1: Ballard, LeBlanc, Sogge, Sulkies, Watson         4.50

  4/28t2Q13 9undle 2: Group 4 Round 1; Ballard, I.eBlenc, Sogge, Suttlea, Watson       7.b0



             For Prafeasional Sarvkes Rendered - Tatal:                                12.50




                                                                                    Exemplification_025
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 T'rri~l conw~tant ~s
 CII~1t i~+IDL 2179




 Tdal Name: MDR 2178

  Dais:       4~90f2093

  date       Trial Consulling                                                                    Hrs.
   4119!2013 E3egin receiving, reviewing, organizing, and creating nso0et~r files for pup 3       18.50
             depo~itbns and stoup 1 i2 o0untsr dssiQnatlons

   ~IJ29~13 B~ptn racelvinp~ reviewin0~ o~niz~9,and a~eatlng n~eess~aryf~ kr group 4              18.00
            daposiMana and soup 2~8 oour~ des(pnaHans


              Par Pr+o~~alanRl Se~vicn Rand~nd •Tol~k                                             ss.~0




                                                                                              Exemplification_026
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 28 of 248




 Trb~ Censulta~ EH
 qt~~C MD4 2179




 r~ tisRw: MDL2179
 Wte:       M3Qr1Q1S

 Oats       Trial Consuitin                                                         Hrs.
   4l7J2013 Review and double-check depositic}n bundles for court submission.         1.~0

   ~14/Z013 Revlhw and daubk-check depoeldon b~dl~ for ca~ut aub~e~ion,              1.~0

   4J9f2013 Ravirw end aoubk~edc ei~pceftbn bundls~ for court wbmissbn.              i.C~

  411112p13 R~nri~w a~nC tbubis-cft~ck dspo~Nbn bundba far court subrtrisslon.       1.60

  4/1?12013 Rwirw and double-check de~po~ldan bundles fay uauR eubmissbn.            2.50



                 ProhMlon~l Ssrnlees Roedrrsd •Totsl:                                8.00




                                                                                 Exemplification_027
    Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 29 of 248



srW Cnn.ukan: ~~
C7MnL IAo~ z~ re




TAq! Narf»:    MDL 2179
C~Ie:         4134ROt9

LSaSe          T~~i Coneuhing                                                                           hits
     4116r261~ 9.p 8undlos~ Bjoragor. ,fah~tson W,kataauna~, Mdsa~, hturgnn, Proelklpe, WiroaWr,           4.25
               tratly rsd~d i~wtt~;~taadttbmr~t cremlantex>i~bit tW~atlq~ya.(Gourta]G}
    4117t20t~ 8P HundMa: B~erwper, JoMsonW,i(aha~npR lAlaap, Ak~ryan,Pnaudp~, Vlthaeler.                  4.40
              Trra redW usroh~ nwdk iorm~ a~allorJorhib@ ndadbn~,(MsdN-QC)

    b118rtQta P~n~t10 W~d~~ LN~d~r. Ravl. Mnb~o~s.BN~Ih.9aadunM.Bry~n~ Ch~lseon~ Ch~~er~                  4,26
              R.ra9. Foster, Gplarro.QuMYy, Fiolhk Huth, Flurt~, INd. Kallh, KAC~er,l.~mbut ka~in,
              d'CFonnd~ Ns~m~n,P~ylon~ Raierk~~ Rdh,Sr~h,Younp. Bly~ gYra~ O~dry~ 41oIc~NJ~~
              Qaii~,sep~tv~iC~~ Sns~lmsn~ w~lwv(1na ad,r~diCnalrsplwoaneMs,.ertr
              ~ha~t~~ tmAy+nvlrona.and~bundle u~ony

    411 Wia15 Par~p bundls~c I.bidn, R.vi, Ambrore, Bhe1s,Badu[ent.Bryrf, Chahwn,ClwndMr,                 8.7b
              EaeM, FoNer~ ~911ano,~uldry~ FtoY~k, Huch~ Hart,I~hi, K~llh,WM~►~ Lgm4er~ M~rtln~
              aoonr~, Nearmw~.P~yWn~ Roa.nl., Goth, Smld+~ Yauna fir, Bv~d, ouldn. MoK.Y.~.
              mile.8~puh~da~t.SwuAm~n.YS+a~aw pnd. exls radadbneh~p~oeme~ts,srtW
             ~,       PanY mwom,and medlp bundM crortlon}
    ~f2N2A13 pendlnp buadlss: Lindx~ Ravi Ambms~~ Bi~rlbi. Bond~~nt.Bryn. Clalaeon, ChYfdl~r              B.Ts
             Endl.Fawr,C,p~no, Gu(d~y. Ho4ek,Nuoh, H►6A~. IshY, KNlh,KrRtef~ Lart~rt~ Mrtln~
             O'Damel, Nawm~rt.Peyton, Rvdanh~ Roth,SmMIL YourN~ eh'~ ~,Outdry~ M~Jt~f`~.,
             Qulrk. Sa1nN+do~i~ 6weednwn~ Wa+tllr+r(Ine1 aldr ~ndadtonsfngw~rw~,urN~
             ~seia.Pmrty mNYeM.and m~dla bundN aMpon}

    4lZ112otS P~rtp bu~diar; Under.RpW~ Amb~os~~ Bt~a~ 9onduml,6rYay Chai~san~ Ch~ndlx~                   4.40
              Esa1,Foatar~ (~lplene~ t~uldry~ Hdbk,tlud~. Huf..lehM.fGwh.KrRs~r, lambnL MsSn.
              o'vann.~. wswm.n.Payee,, aod~r~t.. ko6,, sm~u+.rounc,aH.ayrd, f~d~yr. hk~c~r_~,
              Qubk.S~ivrJv_R.8we~tm+n~ Vrirdaw {tnd. ao~fi nd~m~na~ ants
              ~a4,POKY rovmgora. Mlq lnedls butldh Cre~tlal}

    UZ3I2~013 Pending butdbe:Li~dar, Revl, M~o+~,Bh~tlr,Bondun~t, Btyrn, CF~a4wn,ChanA~r,                 4.D0
              East,Fwkr~ t3rWno,CN+idry~ Houk,Huth, HuttR 1d~1, Kaph, KtlWr,Larn6~~, NMNn.
              p'17cmndl~ Newman.P~yton~ RodNRr~ Roth &nM~ Young,8h;9S+[~a~ fwfdry~ MaK~y_L,
              Quirk 8sp~dv~td4~ 9NeNman. Nhedlwr(Irtd. s~d~ tadactlon~h~ploo~me+~, errdl.
              aheeis.Party mvWens,and m~dle bundle aroe0on)

    4i2~1~Ots P~rtdtnq bundMr Linder, ReW,Ambrau,Bh~Ya, Bondursnt. Brym,Gfidwan,ChMdler,                  4.69
              Es~N. Falw,Caepl~m. tauidrY. Flo~ek, Hugh. Hwla,I~hU, K~kh.KA~er. L~m6~rt, M~t1n.
              O'Dannd, Nwvrn~u4 P~71~►r Rod~ntf, Rdh~ SmRh~ Yaairg.9h1~ mod.Gu1drY~ MaK~Y~~
              Oink        bo_R~ 8we~nrn.WaMlow(Ind,sxh nd+~ne~+r~erwd.wivro
              ~h~eU4 p~1Y revl~teru, err! rn~dfs bundle ena9an}

    ~Y1612015 Ftir~p bundea; Lindu~ Rwd, M14raN~ Bt~i. Bondurrnt, Bryan, Gholaean~ CFierdler~              4.28
              Axel, Fo~Nr~ ti~piW~a~ Ou(dry. HoAsk~ HuoN~ Hurl. hh~,KeIC+, Krlaer~ Lamhs~l. Mertln.
              O'Clannrl. N~wtnu~.Psylon~ fladwifo,Rolh, SmMh, VounO.BIY.Byrd. Ouldry~ Mduy_L,
              Q~ddrk,8~p~vado~~ 8~rownan, Wsr~w pnd. eod~ tadectlantlrepUeern~s~ artsW
              ~hed~. WdY rwMlorM,rnd madly burWs crestlan)
    112812613 Pandirp hurdha: Undo, Rnrl, Am6~ow,Bhal4~ 8ondwarH,Bryn, Chebaon,Chandler,                   8.75
              R'zdt, Fwt~r~ G~pitena. Gu1drY~ Fb1ek~ Mwh. Hwh~, qh{,KaM~ KrN~er~ Lam6aR, MsISn,
              O'Oorwu#,FMwmuL F'sytnn. Hodr9t~, RdFt~ Srtih~ Yeunp~ 6lY. Byrd. Guldry~ AAdCnIJ~,
              Quirk B+pWvado.~t,8xra~nwu Weirdl~w (kid. eodi rodalbnsAap~hbmenb,e~rW
              ~h.ah. OarIY t~ldans~ end m~dh bundle oree9onf

     4t27~p13 Pwtdfq Mrt~lw; L1ntl~r. Ravi. Arr~~aa.Bhai4~ 8antluean4 ~'Y~~ Chrleeon~ Chrndh~.             8.75
              EsW,Poebr. C,a~no.QWdry,hfolek liudi~ Hu~ta. ht~.KaKh.KMzer. Lamgert. NIs~6n.
              O'pone~A~ N~wrn~n~ P~y4an~ Rodai~e, Rath,6mlth, You~~ 9t1". Bynd~ Ouldry. McK+y.~.
              Qldrk. S~p~dvado~i, BY~ealm~n. Wrd~w (CartaOC)
     4I2N2b13 Pe~~g bundles:tfider, p~vl, Amb~oa~, BFrWi, Bondursn~ Bryn,Cisie~on, Cher~ar,                3.25
              Eze1, FoNw,C~lana,C,Wdry, Holl~k, Hueh. Hum„ Ishp, KWh,Krt~r. Lanbrt, Martin,
              OrDannar~ t~ievwnrn~ PsNon~ RoC~~s~ IRoth~ Smith, Yourtp~ B~Y~ ~'fd.fluidry, t~ic}t~Y~,
              Qukk BrPuM~da,~i,9wwlmm~ Warsaw (Cowl-CC1
     4J2B(~013 P+n~np bu~cNs: Under, RaW,l4nbroea, Bhe4q Bondutdd,9rymn, Ch~lseon, Chandler,               6.00
               E~a~, Foabrt. QpUa~o,t~~dry~ H~aO~k. Hueh.Hwhi~ tahG. K~llh~ Krttrsr. Lam6eR,I~n9n,
               O'f'InnnsA, N~wm+n.P~'P~ Rodar~.F~1h. 3miM.Yau~~ BIY~ ~~ ~~Y.                  Yom,
               QWrk,$epuro~do_,li~ 8w.etmrn~ wRrdlav(Ni.dla-QC)

     413W201~ P~ndln4 hurl l.inCer~ Raul, Art~a~e. Bheif~~ Bontlunrt. 6ryan~ ChNnon,Gh~narr,               4.50
              Eze1.FouMr,Opira.Guldty~ Fiolek. Hueh. Hurt,I~hN, Kslth, I(riFur. Lrmbnt. M~e~n,
              O'Donnell, Ntrwnan,Psyion,Rad~ttte, Roth, Sm~h,Younq, Bly, Byrd. Guidry, Md4y_~,
              Qutrk. BspWv~do R,SwaMrtrrt~ WudNw (t4bdhHat)


                           ~lansi esrrlesf Randy        ot~lt                                              7AG




                                                                                                                  Exemplification_028
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 Ttal Con~ulla~ PH
 Cller~k MDL 2179




 Trial N~ms:      MDL 21T9

 DoOe:            4/40!2019



                  Tranb redact reeveh; nudia format sroetlonh~Ftt6M

     M1TI2017 BP Bund6ea; Bier par. Johnson W. Ksteo~a~ Mila~p, MoRpm~ Pna.YVhsoler.                          8.00
              Tans redAct aerd~; m~dEa format aeetlonleodrlblt red lone.(Court-QC)

     U1612013 PendinC bundles: lind~r~ Ravi. Ambrae,9hail~, BandiraM, Bryce. Ghaleson, Chandler,              B.00
              E.~. Foafar, GaGgeno~ Guf~y~ Hoflek, Huah~ Hurta, leh4~ Keffh.lGihaer, i.embait~ MatUn,
              a'Wnnell, Nawme~L PM~~ RodMb,RaiFt. Smlth. Yanp~ BNB ~,C~Idry~ McKaY_L.
              Qukk~ SePul~O.~.Sweatrn~. YU~rdlaw (Ind. eofi ►adedlor~eheplecemenb, srret~
              ~+~.Pub rwl~iais,and m~d~ b~nrla asasfor►f
     U19/20i3 Pondlrq b~ffiea: Linder, Wvl, Am6ro~s, BhaAa, Bandurar~, Bry~f, Chaleion, Chmidbr,              8.00
              Fiep. Foaf~. CiaO~,~~d►Y~ Nolak, HuCit. Hurts. I~il. K~ilh. Kdtaer. Lambert, bl~rtln,
              Q'danrieN~ hlew+nan~ F~sylrxi. Rodanb. Roth. Srt~lh~ Yaa~~ Bhl, BWd~ f3u►~Y, MdC~Y~,
              tlukk~ SePuW~do_R.S~wRtmen~ VYerdlaw (Ind.~               omheplwe~nerKs~ nrrets
              Rhasts, perp~ n~leWns,and medle bundb uaallon}

     U2212013 Pen~np bunk:llnder~ Ravi,aunbro~e, Bt~stla, Bondwart. Bryan, Cnakeun, Chandler,                  a.QO
              Fse~. Faster, Os8Nan0. GuidrY~ Hatlek, Huth. Hurts, khU~ KeMh~ Kribsar, Lambert, Martks,
              O'DomiWl.Nwirt►~an, PeY~,Rod~►~. Ropy, Smltls,Yo~ap. E31Y,8~nd,f3uld'Y. ~+~Y_~
              Qukk SaPe~do_R,9w~a~nen, Wardlaw(ltd. mdi ndactlomh~plaoemsnb, ~rta~
              aF~~ Pad7reviNorx. end medls btusdb cRe~Uon)

      ~t23/2013 Pend4ip bundles: Under, ReiA, Ambrose, Bh~lke, Bondurt~nt,6ryan, Chd~sai,Ghandbr,              8,00
                En.l1. FosEx.C~a01ler►d, Guldry, Hdl~t~ Huth, Hl~rta, leNi, Kith, IVitiar~ Lambert. N~A~I,
                O'DonneH, Newrtvn, F~ybon, RodanEe, Rvlh~ Sm~~ YounQ.81y. Q~d~ t~WdrY, ~Y_~,
                QWAc. 8eptaveda_R.6~se0risn, W~rdlew (a1cJ. axh iadadlandrepand. mate
                sheets, pear nevls]ons, and made bunQls cr~lo~)

      4/2~IZ013 Pendlnp bu~e~: Under, Ravi, Amb~ee~ Bhe9a~ BarWu~anl Bryan. Cha~ean.Chandler,                  8.00
                Ezop. Fosbr, Gayli~w~ DukNY. Hdlek. Ftuch~ Hurt~~ W~l, Ke14i~ K~Imr, Lambert, MaRtr~,
                O'Oorn~. N~rtnen,PMhon, Rad~n6e. Rte+.9milh,YowW.Bb~ Byrd, tiuldry~ MtlSek~,
                Cu~k 8epuiv+da.~i,~e~trnen, WaMtaw (Ind.exh rodacJlanshepia~meMs. erram
                stlssis, Pub revle~nb, and madly ~ndle aeatlolt)

         M26120i8 Pandinp bundiea: LJr~. Rand, Ambroea~ el~aila~ Bondurerrt, 6ryen~ Chslraon~ Chandler.        8,00
                  Eze11, Foster, Gwpllena, du~dry, Hcflek, Nude.~1~te, {eh0. KeUA, Wiser, Lambert, MaAln.
                  O'Donnap~ Newrnart~ PaYbm~ Rodatrhe, Roth.9mNh~ Your~p~ ~Y,~~ ~Wdry~ MdS6Y~.~
                  quirk, 6ew~~_R.5wsebnan. Wa~diow (Ind. mar redac~lonehePlacemante. errata
                  aheele.PedY revlslons, end rttedla bundle Grsedion)

         4f2B12613 Par~np bunch: Linder. RaW.Arnbraw. BheNa, Bondu►ani. B►yan. CFraluon, ChanrAx.              8.00
                   Fall, Fortsr~ G~plmw. Ouldr~r~ Hdlek~ liuch, Huts ht~~ Kdth, Kr11~r, Lart~iert, sAarUn,
                   b'Donr~eB~ Newm~.Pe~Mn~ Rode~6e. Roth. 9mflh. YounO. ~Y, ~ri'd, t3u~drY~ Mc1caY_L,
                   Qulrfc. Sepufvado_R,6wsatrnan, Wardlew t{nal. eoch                       m,sr~
                   ahaets, party revblom, end meela buid~s creatlon)

         4/2812013 Pendlnp bundbe: UnOer, Reel. Ambras,Bhaila, dar►r~rmt, &yen,Ch~leaon. Chandler,             8.p0
                   Ex~, Foaier. Gap9aro, O~dry.Hotlek, Huck. Nuns, hti, Kellh~ Kritrs~. Lambert, Martln,
                   O'Do~n~tl. Newman. Payton, Tindartbo. Roth, 3md1►, Younp, @ly, Byrd. Guidry. McKaY_~~
                   flulrk SeWivadoits 8weetman. Wet~aw (Caurt~QG)

         413012013 P~ntll~p bundles: LN~der~ ReN~ Ambrose, Bnalla~ Ba~dura►rt, B~yw~, Cha4aan,C.hsndler~        E.00
                   Ezell, Foslx~ Gsplano~ Guidry. Halrk, HuCh~ Hwts,IehN, Kekh, Kti~er, Lambert, Mertln,
                   O'Dannep~ !~{e~w~nen~ Ps~rEon~ Rodarrte, Rdl4 SmNh~ YourW, ely~ BY►d, Gi~dry. MCKeY_L.
                   4Wrk.Sspulvado_R,             non, Wow(CouA-QC)

                     or Proh~sional S~rvieM fbn0~r~tl - To[aC                                                  x.00




                                                                                                             Exemplification_029
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 Trial Canauttant; TE
 CNenL' MDL2t79




 7det Name:     MDI.2179

 Dale:          4I30l2013

 Date          Trial ConsulUnQ                                                                           Mrs.
     4121!2013 Pending bundles: finder, Ravi, Ambrose. Bhalta, Boruiurant, Bryan, Chaisson,                4,50
               Chandler, Ezell, Foster, Gagliano, Guidry, Hollelc, Huch, Huria, Sahli, Kelih, Krkzer,
               Lambert, Marlin, Q'Donnell, Newrnen,?eyton, Roderite, Roth, Smith, Your, Biy. 6yrd,
               Guidry, McKey_L, Ckulrk, Seputvado~R, Sweatman,Wa►dlew(Court-UCy

     4122!?Oi3 Pendlr~ bundles; Linder, Ravi, Ambrose, Bhella, Bondurant, Bryan, Gheisaon,                3,50
               Chandler, Ezell, Foster, Gseiieno. GWery, Hollek, Huck, Hurts, Ishll, KeRh, Kr4izer,
               Lambert, Martin, O'D~nnelf, fVawmen,Peykon, ROdante, Roth, Srttith, Young,61y, Byrd,
               ~uldry, McFtey_L, Duirk, 3eputvado_R, S+~realman. Wardlaw (Court-QC)

     4t23l2d13 Rendlap bundles: Linder, Rev{, Ambrose, BheUe, Bantlurent, 9ryan, Chaisson,                5.90
               Chandler, EzeA, Foatef, Gag~eno, Guidry, Hollek, Hud1, Hwta, Ishll, l(aith, Kdtrer,
               Lambert, Martin, O'Ronneli,iVewman,Peyton, Rodante, Roth, Smith,Young, Bly, Byrd,
               Guidry, McKay_L, Qultk, 8epulvado R,Sweatmen, Wardlew (Court~QC)

     4124!2073 Pending b~dlea: I.Inde~, Raul, Ambrose, BhaAs, Bor~duranl, Bryan, Chaleson,                4.75
               Chandler, Ezell, Foster, Gagtlano, Guidry, Hol~k, Hurh, Huria, lehfl, Keith, Krftzer,
               Lambert, Martin, p'Donneil, Newman, Peyton, Rodama, Rvth, Smith, Young, Bly, Byrd,
               Guidry, AAcKay_4. Qtdrk, Sepulvedo_R, Swealmsn, Wardlaw (Court-QCy

     4136!2073 Pending b~d4as: Linder, Ravi, Amaroae, Bhalla. Bondurard, Bryert, Chaisson,                 7.75
               Chandler, Exec, Foster, Gagitano, pukJry, Halfek, Huch, Hurts, fnhil, Keith, Kdfzer,
               Lambert, Mertln, O'Donnell, Newman, Payton, Rodents, R4ih, Smith, Young, Bly, Byrd,
               Guidry, McKey_L, Qukic, Sepulvedo R. Sweatmen, WaNIaW (Court-QC)

     412612013 Pending bundles: Linder, Ravi, Ambrose, Bt~alla, &dndurant, 6ryan, Chaisson,                5.26
               Ch6~ndler, EzeG, Foster, Oagliana, Guidry, Ho11ek, Huth, Hurts, Ishii, Keith, Kritzer,
               Lambert, Martin, O'Donnell, Newman,Peylo~, Rodsrrte, Roth, Srnith, Young, Bly, Byrd,
               Gu~ry, McKayL. Quirk, Sepuivado R,Sweatman, Wardlaw(Court(]C)

     412912013 Pend{ng bundles; Linder, Ravl, Amhrase,6fialla, Bondurant, Bryan, Chaisson,                 5_q0
               Chandler, Ezell, Fpaler, ~ag~ano, Guidry, Hollek, HuCh, Hurts, Ishii, KeKh, K~trer,
               Lambert, Martin, O'Donnell, Newman, Peyfan, Rodanle, Roth, Smith, Yourg, Bly, Byrd,
               Guidry, McKay_L, Quark, 5ep~dveda_R, Swoeatman, Werdiaw (Court-OC)

     4130l2Q13 Pending bundles: LEnder, Raul. Ambrose, Bhella, Bandurant, 8ry8~, Chalasan,                 4,75
               Chandler, Ezell, Foster, CiapNano, Guidry, Hollek, Huch, HuRa, IahSl, Keith, Kritzer,
               Camber!, Martin, b'Donr+ell, Newman, Peyton, Radante, Roth, Smith, Young, Bly, Byrd,
               Guidry, McKay_L, Cw1rk, 5epulvado R,Swoafman, Werdlaw(CourtQC)

                For Profasslonal S~rvicas Rsnderotl -Total:                                               41.00




                                                                                                        Exemplification_030
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 Tdal Consultant. PF
 Cllent: MO12179




 Tt1et Name:       MDl 2179

 Dele~             4!3012013

 pate          Trial Co~nuginp                                                                                      hirs
     4J1612Ui3 PBr~ng bundles° under. R6vi, Ambrose. BhaRa. 6onduranl, Aryan, Chaisson, Chandler,                      7.90
               Ezell, Porter, Gaglleno, Guidry, Nollek, Huch, Hurts, Iahil, Keith, Krltrar, Lambert, Martln,
               Q'Dannall, Newman, Peyton, Rodante, Roth, Smlth, Yo~p, Biy, Byrd, Guidry, McKay_L,
               Qukic, Sepulvado_R, Sweatman, Werdlew {Incl. exh rodecllonafroplaoemente, errata
               ahseRa, party revlsiona, ancf media bundle Creation)

     4117l2of3 Pmnding bundles: Linder, Ravi, Ambrose, 9hege, 8ondureM, Bryan, Chaisson, Chandler,                    8.80
               Ezail, Foster Gapliano, Guidry, Hollek, Huch, Fiw~ta, leY~i, Keilh, KrNzer, l.embert, Martin,
               O'Donnell, Newman, Peylcm, Radenta, Roth, Smith, Young, 61y, Byrd, Guidry, McKQy_I.,
               Quirk, Sepulvado R, Swaatrnan, Warsaw (Intl. ezh ~sdadionalreplacemente, errata
               sheets, party revlelona, ar~d media bundle creation)

      4118!2013 Pending bundles; Linder, Ravi, AmCrose, Bhella, Bondurant, Bryan, Cha168on, Chandler,                 8.50
                Ezell, Foetar, Gagilano, Guidry, Hollek, Hueh, Hur1a, Ishii, Keith, Kritzer, ~amhert, Martin,
                O'Donnell, Mewman, Peyton, RodanlQ, Roth, Smith, Young, Bly, Byrd, Guidry, McKay_!.,
                Quirk, Saputvado_R, Sv~etrnen, Werdlew pncl. exh redactlanslreplecements, ercata
                sheets, party revisio~e, end media Gundle creation)

         At19f2013 Pending hundlea: Under, Ravi, Ambrose, Bttalla, Bondurant, Bfyen, ChalaSon, Chandler,               7.50
                   Ezell, Foetsr, Oegllano, Guidry, FFallek, Huat1, Hwta, lafiii, Ke~h. Krlfzef, tambert, Martin,
                   O'Qonnell, Newman, Aeyton, Roden6e. Rath, Smith, Young, Bly, Byrd, Guidry, McKay_I.,
                   QuirN, Sepulveda R, Sweatrnan, Wardlaw (Intl, s~ reda~fionoireplecemsnts, errata
                   ahesla, party revisions, and media 4undle creation}

         4/22l2U13 Pend~p bundles: Linder, Ravi, Ambrose, 8halla, Bondurant, Bryan, Gheissot~, Chandler,               8.00
                   Ezell, Foster, GegYeno, Guidry, Ho11ek, Huck, Hurts, tahii, Keith, iGrltzer, Camber!, Martin,
                   O`Donnell, Newman,Peyton, Rodentr, Roth, Smllh, Young, Biy, Byrd, Guidry, McKay_!,
                   Quirk, Sepulvada~t, Sweatman,lNarClew (Ind, ex~ redectlonslrepiacsmenta, arcate
                   sheets, party revisions, and media hund~e creation)

         4J23r2013 Pending bundles: Linder, Ravi, Ambrose, Bhalle, Bondurent, Bryan, Chaisson, Chandler,               e,25
                   Ezefl, Foatet, flepffano, Guidry, HoNek, Ruch, Hurts, lahii, Keith, Kritzer, Lambert, Martin,
                   O'Donnell, Newmers, Peyton, Radente, Roth, Smllh, Young, By, Byrd, Gu1dry, MCKey_L,
                   C~ukk, Sepulvatlo R, Sw88tmp~, Werdlaw (Ind. s~ rBdeCtlanslrepleeemenks, errata
                   sheets, party revlsbns, and media bindle creation}

         4I24Y2013 Pendt~y bundles: Linder, Revl, Amhrase, Bhalla, 9ondurant, Bryan, Chalseon, ChendFar,               8.0~
                   Eze11, Foster, Gapliano, Guidry, NWlek, Huth, HuRa, Ishii, Keith, Kritrer, Lambert, Merlin,
                   O'Donnea, Newman, Pey!on, aodarcte, Roth, Smith, Yaung, BIY. Byrd, Guidry, McKay_L,
                   Quirk, Sepulvado R, Sweatman, Werdlaw (lnct, exh redect'anslreplecements, errata
                   sheets, party revisions, and media bundb cree6o~)

         4/25f2013 Pentlln~ bandies: Linder, Ravi, Amtrrose, 8halle, 8ondurent, Bryan, Chaisson, Chandler,              8.00
                   Ezell, Faster, Gagltano, Guidry, Hollek, Huch, Hurts, lahfl, Ketth, Kritzer, Lemhert, MaAin,
                   O'Dom$II, Newman, Peyton, Rodante, Roth, Smith, Young, 91y, Bytd, Guidry, MCKey_L,
                   Quirk, Sepulvado_R, 5weatman, Wardlsw (Enc1. exh redectionslreplecementa, errata
                   sheets, parry revlaione, and media bundle creation)

         4(26!2013 Per~dirtg bundles, Under, Ravi, Ambrose, BhaAa, Bondwant, Bryan, Chaisaan, Chandler,                 B.OD
                   ELeq, Foster, Gsglfana, Guitlry, Hollek, Hucn, Nufte, lshll, Keith, KAuer, ~.smbeA, Martin,
                   O'pnnnefi, Newman, Peyton, Radanle, Roth, Smith, Young, Bly, Byrd, Guidry, Mct(ay_L,
                   Quirk, Sepulvado R, 3weatmen, Wardlaw (incl. exh redactions/replacements, errata
                   sheets, party raviagns, and media bundle ereedion)

          412912013 Update artd revise H~SI miesing eKhiblts Ilat: tout end media bundles U~cl. exh                     8.00
                    aDJeclions, +edactbne, and media replecelremave exha)

          4(3012Q13 Updeta and revise HESI missing exhibits IiBt: calrt and media bundles (Incf exh                      8.00
                    objections, redacllona, end media repiaCeJremove exhs) QC

                     For Protassional5arvice~ l~Yntlo~od •Total;                                                       97.75




                                                                                                                       Exemplification_031
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 Tries ConsWtsnt: CG
 Clbnt MDL 2179




 TA91 NartM:        MDL 2178

 Data:              4/301073

 {3ato             Triat Gonsullinp                                                                                  Mrs,
         4118/2 13 Pending bun0lea: Under, Ravi, Rmbroee, phalla. Randurant,[3ryan, Ghalssan; Chandiar,                 ~.QO
                   EzaA, Foster.(3a~it~no, G~ddry, Hoak, Huck, Hurta, Ishll, K~Ih. KAt~ar. Lunbsrt, Mu11n.
                   O'~onnsN~ Newman Peyton, Ftndan6o~ Roth, Smfth~ You~p~ 61Y~ 9Yrd~ Guidry, McKay1~
                   f~uHc, B~puiwsda_R. SweatrRan,W~dlaw(CaYt-0G~

         4/1812413 PmdY~p bundka: L4idor. Ravi. Ambro~s~ Bt~e~ SonduraM~ Bry~n~ G►~ll~at. Ch~ndfs►~                    3.23
                   F.~efl~ Fos6er. C#pfi~o~ Gully. Holbk~ 4ivah, F~rrlA~ 4ahR~ Ke~h. Wtkzsr. Lambert, Martin,          '
                   O'Oonn~N. ul~nan,PQyton. Rod+u~De. Rods, Smgh,Yaurg~ 81Y~ ~~ auldry, McKaY~.
                   tas~rk~ 6epuhrado..R~ Swaaunan~ Ward{aw(Gout-0C)

         4l19rr2U93 Pend~p b~mdka: Linder. Revl. Ambro~a.BhW,Bendurar~t~ Srym,s~ds~on~ ChandiK~                         3.60
                    E~oell. Fae~r,L3aQIGina~ Gu1drY~ Hotiek, Huch~ HuAa,lahq~ KeMh. K~ar~ l.~nibsrt, MartkL
                    Onnnr~0. N~wrean~ Payton, Radar~+a, Rath. Smitl~~ Yaune, Bly, 9yN, Guldry~ McKaY~~
                    ~ufrk, Sepuhrado..R~ S~reetm~n, +nhrdlaw (Gout-aG'~

         il~gfi6i8 Perodlrp bwWlar: Urndaf, Ravi, Ambrose, Bhalla, Bor~durent, BryMn. Cb~bson,(Y~ndbr,                  3.25
                   Erb,Po~bor, Ga~llano, Gukdiy. Hoek, Huth. Htxta. I~hif, ICefth, Kt#zer, UrnbeA, MtNn,
                   O'DauieN~ Ne+~v~rian~ Pe'1'Mn. Rodente~ Radf4 Sm~h,Yow+Y, Bh►~ Byrd. C,uk~ry, McKayL,
                   OulA4 SepWV+Wo_ft, 3wsabn#n, YVardlaw {COurs~QC)

         MZ112D13 Pen~np 6undlee: I.Jnder, RaW,Ambtosa, Shall, Bondirard, Bryan, Chalaeon, CFvndlar,                    2,30
                  fzei{, Foster, Oag9ano, Guidry, HWkR,li~d~, Hurts, aMl, Keith, K~r,Lemi~t, Martin,
                  ObonnM. Newman.Psy~n, Rodarne, RotA. Smrth~ YounO~ 81Y~ BYrQ~ QuldrY~ Mc~y_L,
                  Dulrk. Sapuhrrdo_R, ~eadnan~ Wardlnw(Cau1-0C)

         ~122f2M3 Pending burrdlea: Under, Ravi,llmbrose, Bhe~1a, Bon~rolrt, Bryan, Chele~an,Cfiandler,                 0.75
                  ~ZeN. Fostwr, Oaprano, Guidry, Hollak, Hush, Flurba. Ishii, Nelth, Krlmat, Lambert, Martin,
                  O'Doruiell. Newman,Payton. Rotla~rte. Roth Smltlti~ YamD~ B►Y~ 8f►~d~ Guldry~ AA~ic~Y~-,
                    a~rx, seauti~o~+,s,~,~.an~,, w.ra~w ~c~rt~c~
         41Z8rl018 Feeding bu►odks: Linder, Rpvl, Ambrooe,6hah,Bondunnt,Bryan, Chaisson,CFiandlx,                       4.64
                   Exeil~ Fo~het~ l3apllano~ CiuidrY~ fioHsk, Fkid~~ Hurts. lOhq. Kekh~ Wrt~er~ l.~mpart~ M~rtl~,
                   O'DanneA, Navyrnan. Peyton, RodaMe. Roth, 5m~tlr. Yc►nD. BJY~ Byrd. Ouklry~ McKay_L,
                   Quick, 9epulvsdo_R. S1Neaiman, Werdlaw (CouRj]C)

         4/27/2015 Reading bur~diee: ltrmer, Ravi, Am6ross,BhaMa, Bonduranl, Bryan, Crieleson, Chandler.                8.04
                   EraH, F+ystor, GaQi~no. ~u1~Y. HONK,Huth, FNuts. IshA. KaNh~ Krttz~r~ Lambvri~ Martin,
                   O'Do~eA,Ffawman~ Peyton i2odarde~ Roth Srt~ih~ Youn➢, Bly~ Byrd,Guidry. McKay~L,
                   Quhrk~ SePulvaio~i~ Srrestmsn~ wardlary (Cotat-(-41CCy

         A/26lZ07S FendNlp 6truHea: Lk~der, ftnrl, Art~rose, BhaNs, 8ar~durar►R, Bryan, Chafaso~. Char►dkr,             2.00
                   Essq, Foster, Cispifarta~ C,~~idry. Helak. Muet~. H~s4a, lehq, Keith, Kritzer, LambeR~ Martin,
                   O'Da~N,Newnan, F'syWn~ Raiart6e~ RMh.Smnh~ Yowq,BIY~ Brro, c3uldry~ I~cltaY I-~
                   ~Irk~ SapuNeda~~ si~+eolrt+en~ Wardiaw(Court-QC)

         ~JZB~2013 Pentllnp bundles: Linder, F2svl, Annbrose, Bilslla, eoradurant, Bryan, Chapson, Chmdler,             4.50
                   Emil,Fabr, Gepliano, Guidry, HoYek, Huth,iiurto, I~hII, IC~tth, Krpzar, Lemhe~t ~rtln,
                   O'Don~a~, Newrnon. PeY~n~ Rodante. RoTh.3mkh. Yau+9~ Bht, 8yrd~ OutdrY, ~,AcKsY~.
                    awe sa~V~o~,s~s.~m.~, wa~aw {cart-Qc)
         413Qf2Q13 Pandhp btndpe~; Under, Rav1, Ambrose, Bhalla, BonduranL Bryan, Chnla~on. Chandler,                   4.2b
                   F.xeY, Paster. dap~ano,Qt~dtY, HoIIN4 FMxh.HueAs, fihY~ Keilh~ Krltrx~ Lambert, MarOn,
                   O'Donnell. Newman. PeYton~ Rodaete. Roth Sm~h.Yowy, Bb~ 6Yrd, G~dc1ry, McKaYJ.-.
                   4uhk,8epulvEda~, 3wselman~ WerdFew (Court-QC)


                    for           oho     rvl~       nd~reE ~ Tatai:                                                     ~IiU




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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 34 of 248




Tr~l Con~u~ant hA,l
CNtri~ MDL 2179




 Trlel Nuns:       MDl 2179

 Date:            413012019
                                                                                                                       lira.
 bate          Trisl Coesukl~n~                                                                                            2.00
                                                                                         Cha{sson, Chandler,
     41t7l2013 Pending Gundlea: Under, Ravi, Ambrose, Hht~lla, 8ondurflni, Bryan,                      Marlin,
               Ezell, Faster, Gagliano, Guidry, Hol18k, i-luch, Hurts, lahfi, Kel(h, KriLter, Lambert,
                          , Newman,  Plylon, Rodents,   Roth,  Smith, Young,    Bly, 6yrd, Guidry, McKay_L.,
               fl'DonnsH
               Ru{rk, Sepuhtado,J3, 6w~tm~n, Watdlaw(IJbdla-QC)
                                                                               .8ry~n,Chsleaon. Chand~r,                  5.00
      4/18~20~13 Pending bundbs: Linder, Raul,Amb+o~e, 8hs11a. BAaduroM                     Lambert, Martin,
                 E~eil~ Fester, Oo~Rtuto, OWdryt, HoNalt~ Huth. Hurts, IrhY, Keftt4 KrNzer,
                            . Newman,  Peyton  Roderge.   Rosh. 8mkh. Young.   9N,  Byrd OuWry~  McKeY_L.
                 O'DonneO
                 pulrk,Seputved   o R, Swesgna  n,  Wprdlew  (MadI~Q   C)

                                                                             Bryan,Chrbwn,Chandler,                       7,50
      41ZOlZOt9 P~ndiny hundMa; Linder, Ravi, Ambrose, Bhtlla, Bondur~M,                         MerBn,
                Ezell, Foyer, OapBsno, C3uld~y, Ho6ak, Hush,Hurts,lahlf, Kith, Krlixer, Lombert,
                O"Damell  , Newman, Pey6on,  Rcd~ntar, RaQf. Srt~lr, Youn9~ Bb, ~~   ~d~~    ~~Y~~
                Quirk, 3epulv~do R, Sweatrt+en, werdl~w @AQdls-QCj
                                                                             , Bryan, Chaisson, Chandler,                  4.Q0
      4/28/2013 Psrxflnp bundles: LNdar, Ravi, Arnbra~,BhNI~, Bondura~                     l.arnb~xt, Martin,
                Erell, Foster, C.apllpno, Guidry, Holbk,liuch, Fluff, bhll, KeHh, Kritzer,
                          , Newman,    Peyton. Rodents. Rath, 3mVM,  Youny~   BIY, B~md. Guidry,  NiGC~y_L,
                Q'Don~tl
                Qutrl4 ~puivrdo.R~ Stivsatrne    n, Wvdisw (Media-0   C)

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         ~127rt013 Pmdinp bundles: Under,Ravi, Ambrose, 8F+a11a, Bonduran                LunbeR, M~rth~,
                   Ezel, Fabr.Oa~glfeno, Guidry, Hdbk, Fkioh, Hurts,(ah~, Kekh, Kritzer,
                             , Newnan, Peytan, Rodan6e~ Roth, 9mlth. Young. BNB ~1nd, Guld►Y, Mdte~iL.
                   O'DonnNl
                   Quirk, 8epuMedo,}~, Sweahnan, W~rdt~Nr (I4ledis-QC)
                                                                                ,&yen,Chaisson, Chander,                    2_fiQ
         4J2~12013 Pondlr~y bundlms: L]nder, Revf, Ambroaa,Shrti~, Bondur~
                   Ezoll, Fa~a6w, Cie@psi, duidry, Holbk, Fkufi, Hutta, Ishii, Keith, Kti~er,l.arnheR, Martin,
                                        Pylon,   Rod~~    Roth, Bmkh,  Young.    Bly. By~'d, Gu{dry~ Mdt~y~~
                   O'OonneN. Newman,
                   Quirk, BepuMado~t,Svusahn~n~      W~rdl~vu(Medls-Q   C)

                                                                                       Bryan, Chaisson, Chandier,           1.25
         4f,3012013 PendTn~ bun~lea: Urger, R~vl, Ambroas, BMIa,Bondurartt,
                            Foster; CiapNano, Guk1ry, Holbk, Huch,   liurta, lahll, Kahh,  ftr;tzer, Lemben, Martin,
                    Ezell,
                                                   Rod~nte,  Ftoth, Smith,  Young,    Bly, Byrd, Gu~ry, McKay_L,
                    O'pannell, Newman,Psymn,
                    t~uirlc, Sepuly~R~ Sweatinan~ W~~aw (Medir-0C)
                                                                                                                          26.2a
                     For Professional 3~rYicas R~ndwfiW -Total:




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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 35 of 248




 Teel Conauitant: AM
 Clletrt; MDL 2179




 Trfei Name:       MQL 2179

 bate:             4/3012013
                                                                                                                      Hrs.
 Date             Triel Consuging
                                                                                              Whaeler.                  7.75
        A116~2013 8P Bundles' Bjerager, Johnson_W, 1(atsovnas. Milsap, Morgan, PresSidge,
                  Trans  redact seatih; media format creation/exh ibit redadlona.(Mled{e-QC )

                                                                                                   Wheeler,             2.50
        4/17!2013 BP Bundles: BJereger, Johnson W,Katsounes, Mitsap, Morgan, Prastktpe,
                  Trans redact search; media forrnet creatlanlexhibit redectbna.(Media-qC~
                                                                                                    Chandler,           8.25
        M1 Bl2~13 Psnding bundles: Under, Revi. Ambrose, Bhalla, Bonduranl. Bryan, Chaisson,
                                                                                                        MertEn,
                  EzaU. Foster, Gagllano, Gvidry, Hollek, Huch, Hula. ts~il, Ketth, Kritzer, La~'1bert.
                  O'Oonnetl, Newman,Peyton, Rodanie, Rath, Smith, Young, 81y, Byrd, Csuldry, wlcKay_L,
                  Quirk, Sepulvado_R. Sweatman, Wardlaw (fncf. exh redactions replacements. errata
                  sheets, party revisions, and media bundle cteaiion)
                                                                                                         Chandler,      7.00
        411 9120 13 Pending bundles: Linder, Ravi, Amhrase, Bhalla, Bondurant, Bryan, Chaisson,
                                                                                                            Marlin,
                    Ezell, Fos[ar, Gagliano, Guidry, I-follek. Huch, Nur4a, lshil, Keilh, Krilze~, Lamberk,
                    O`Donnell, Newman,Peyton, Rodanie, Roth, Sm~lh, Young, Bly, Byrd, Guidry, NicKay_L,
                    quirk. Sepulvado_R, Swaatman, Wardlaw (lncl. exh red BcC:onslrap!acemenls, ettata
                    sheets, party revlsion9, and media burtd4e creaSien)
                                                                                                     Chandler,          7.50
        4/23!2013 Pand(ng bundles: l,fnder, Ravi, Ambrose. BhafSa, Bandurarf, Bryan, Chaisson,
                  Ezell, Foster. Gegtfana, Guidry, Holfek, Huch, Hurts, lshil, Keith, Kritzer, Lambert, Martl~.
                  O'Donnell, Newman, Peyton, Rodanle, Rokh, Smith, Young. Hoy, Byrd, Guidry, McKey_L,
                  Quirk, Sapulvado_R, Swaalman, Wartliaw (Intl. exh redactionsfrepiacements, errata
                  sheets, party revisions, and mad?a bundle creation)
                                                                                                     Chandler,           7.75
         ~J2412013 Pending bundles: Linder, Ravi, Amdroae, Bhalla, 8ondurant, Bryan. Chaisson,
                   Ezeff. Foster. Gagiiano, Guidry, Ho11ak, Huch, MuRa, Ishii, Keith, Kritzer, Camber!, Martin,
                   O'Donnell, tJewman, Peyton, Rodents, Rosh, Smith, Young, BH.Syrd, Guidry, McKey_t.
                   Quirk, Sepulvado R,SweatmBn, Wardlaw (tnct. exh radaetionstreplacemenls, errata
                   sheets, party recisions, end media bundle crestlon}
                                                                                            Chaisson, Chand!or,          b.00
         4/2912013 Pending bund4es Linder, Ravi. Ambrose, BhaRa, Bondurant, @ryan,
                   Ezell, Foster, Gggl;ano, Guidry, FRoltek, Huch, Hur1a, Ishii, Keith, Kritzer, Camber!, Martin,
                   O'Dannelf, Newman, Peyton, Radante, Rath, Smith, Young, Bfy, Byrd, Guidry, McKay_L.
                   quirk, Sepalvedo_R, Sweatmsn, WardlaW (Media-QC}
                                                                                                     Chandler,           8.00
         413012013 Pend'~ng bundles: Linder, Ravi, Ambrose, Bha11a, 6ondurent, Bryan, Chaisson,
                                                                                                        Martin,
                   Eze11, Foster. Gag~iano, Guidry, Hollek, Huch, HuAa, !shit, Keith, Krftz~r, Lambert,
                   O'Oannetl, Newman, Peyton, Rodents, Rath, Smith, You~7, 81y, Byrd, Guidry, McKay_!.,
                   Gu~rk, SeputUado_R, Sweatman, Wercllaw (ARadfa-QC)
                                                                                                                        b6.78
                     Fpr Profossional Servl~as Rendered - ToWI:




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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 36 of 248




Trial Conaukent: JV
Client: MDL 2179




 Trial Name:       MDL 2179

 Dele:             4/30/2413
                                                                                                                       Hrs
 Oate          Trial Consulting                                                                                          8.50
                                                                  Bandurant, Bryen, Chaisson, Ghandier,
     4f1612013 PertdVng bundles: Linder, Ravi, Ambrose, BhAIla,                  Krifzar, l.ambart, Martin,
               Ezell, Foster, Gagilano, Guidry, Hdlek, Nuch, Hurta, lehu, Keith,
                                                                                       Guidry, McKay_L,
               O`Donnell, Newman, Peyton, Rodents, Roth, &mlth, Young, BYy, Byrd,
                               do R, Swestma  n, Werdlaw  (Intl. exh redaetio nslrople cementB, e to
               Quirk, Sepulva
               aheeta, peRy revialona, and media bundle craetlon)
                                                                             t, Bryan, Chaisson, Chandler,               B.OQ
     4/1712013 Pending bundles: Linder, Ravi, Ambrose, Bhelta, Sonduran
                     Foster,  Gegl(ano , Guidry, Nollek, Huch, HuM1e, lahlf, Keith, Kritzer, Lwnbert, Martin,
               £zeA,
                                   , Peyton,  Rodante  , Roth, SmRh,  Young,   Bly, Byrd, Guidry, McK~L,
               O't}anne~l, Newrnen
                                               n,  Wareilew (Ind. exh redectlo  nelropla  eemen[s, errata
               Quirk, Seputvado_R, Sweatma
                                                                                 o~firm HE3! missing
               sheets, party revisions, end media bundle creation). ReviewlC
               exhibits list.
                                                                        Bondurant, Bryan, Chaisson, Chandler,            8.50
         b122t2018 Pending b~ndfes Lirsder, Ravi. Ambiosa, Bhella,
                   Ezell. Foster, Gaglleno, Guidry, 1-loliek, F{uch, Hurts, Ishii, Keith, f(ritzer, Lambert. Martin,
                                                                                     Bly, Byrd, Guidry, Mct(ay_L,
                   O'Donnell, Newman, Peyton, Rodanle, Roth, Smith, Young,
                                                                                                  ement5, errata
                   Quirk, Sepulve~R, 5v+ea:man, Wardlew {~ncl. exh redacNonslreplac
                   ~htela, party  revisbns , and media  bundle   creaCron )

                                                                              t, Bryan, ChBissan, Chandler,               8.04
         4123/2Qi3 Fending bundles. Linder, Revl, Ambrose, Bhalla, Bondaran
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                   Ezell, Poster, GagHano, Guidry. Hotlek, Huch, HuAa, Ishii,
                                                                                81y, Byrd, Guidry, MtKay_L,
                   O'Qonneil. Neuvman, Peyton, Rodante, Roth, Smith, Young.
                   QuiPic. Sepulva do_R, Swaaima n,  Wardlaw  (Inc}. exh radaCtlo nslreplscements, errata
                   sheets, partyrevfalona, and media bundle creation)
                                                                        Bondurant, Bryan, Chaisson, ChandieG              8.00
         A/24/2013 Pending bundles: Linder, Ravi, Ambrose, Bhalla,
                   Ezell, Foster, Gagliano . Guidry. Holfek, Hucfi, HuAa,  tahii, Keith. Kritzer. Lambed, Merti~,
                                                  Radanta  , Roth, Sm{th,  Young,   Bh/, Byrd, Gvidry. Mrltxy_L.
                   O'f7onneli, Newman,Poyta~~,
                                                       Wardlsw  (lnCl. axh redactio  nsJrepfacements, erceta
                   Qu"vk, Sepulv8do_R, Swealman,
                   sheets, party reviafons, and media bundle creation)
                                                                                t, Bryan, Chaisson, Chandler,              8.25
         4/25/2013 Pending bundles: Linder, fta~i, Ambrose, Bhalla, Bonduran
                                           , Guidry, Hoilek, Huch, HuRa, IshiY, Kerih. Kritzer, l.ambest, Martin,
                   Ezell, Foster, Gegllano
                                                                                  Bly. Syrtl, Guidry, McKay_L,
                   O'Donnell, Newman, Peyton, Rodante, Roth, 5mlfh, Young,
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                   Quirk, 8epu~~ado_R, Sweatman, Wardlaw (Intl. e~fi redscNon
                   aheeta, party revlalona, end media bundle ereadon)
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                    obJections, radacfiona, and media replace/rcmova enhs)
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                    objedlona, redsetio ns, and media replecel remove exhs)

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          4/3012013 Updele and revise HEST missing exhibits llsk: court
                    obJections, redactions, and media repfacehemove exhs)
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                      For Professional Services Rendered -Total:




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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 37 of 248




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CHenC MDL 2179




tried N~rtts: MDL 2179

Qste:      ~J3drZ013
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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 38 of 248




Trl~l Consultant Ka
Cibnt MDL 2179




7r~! Name: AbDI. 21'l9

QaOe.       ~J30J~073
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                                            tion bundles for couR submission
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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 39 of 248




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glenk MDL 2179




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    411!2013 Review artd dauhle-check deposition bundles for ooUrt submission,        5A0

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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 40 of 248




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Gtent MDL 2179




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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 41 of 248




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CYent MOl 2t7e




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 Dale            Tripi Consuttinp
                                                                                           2.Q0
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     Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 42 of 248


                                                                                      INV~iICE
Worldwide Court Reporters, Inc.                                             Invoice No.                         Invoice Date                    1          ]ob No.
3000 Weslayan, Suite 235                                                                                                                                                           __.,
Houston TX 77027                                                                 113319                             6/17/2013 ^f~ ~                            43210.....ry
Phone:{7f3)572-2000 Fax:(713)572-009                                          lab Date             I                       Case Na.
                                                                                      __._.......~._._ ............-----_._____~_.............._. _._........_...---_._.,.., .........I
                                                                              6/17/2013           ; 2179
                                                                                                                  Case Name
                                                                          In Re: Oil Spifl by the Oil Rig "Deepwater Horizon"

     Kate Danahay
                                                                                                             Payment Terms
     HERMAN HERMAN KATZ & COTLAR
     820 O'Keefe Avenue                                                   Due upon receipt
     New Orleans LA 70113



May Trial Cuts
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            Trial Technology Consult                                                                                                 140,541.86                 140,541,86
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Tax ID: XX-XXXXXXX
                                       Please detach bottom. portion and return with payment.



 Kate Danahay                                                            Invoice No.                   113319
 NERMAN HERMAN KATZ & COTLAR                                             Invoice Date                  6/17/20k3
 8~Q O'Keefe Avenue                                                      Total Due                     $ O.QO
 Ne~v Orleans LA 70113




                                                                          Job No.                      4321D
Remit To: Worldwide Court Reporters, Inc.                                 BU Id                         1-HOU
          3000 Westayan, Suite 235                                        Case No.                     2179
          Haustoa TX 7707                                                                               in Re; Oil Spill by the Oil Rig "Deeptivater
                                                                          Case Name
                                                                                                        Horizon"


                                                                                                    Exemplification_041
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 43 of 248




 have attached a "Recap Table" delineating the May expenses.




                                                              MAY 2013
                  DESCRIPTION                                            TOTAL
Expenses: Airfare, Hotels, Meals, Rental Cars, Misc                                  $8,163.19
supplies

Worldwide Tech Staff ~2} RA KB                                                     $343,000.00
   Creating Party email database ensuring proper disYri6ution to New
Orleans Tech —verifying all video compression ratios-update party
requests for bundle changes-verifying hardware formatting-catalog alf
parties redattions...(1400 hours


Office Space —11`" Floor                                                              3,696.00

Pontchartrain — Mr. Fontana and Support Team                                         $2,88.00
Housing

Equipment Rental-Freight:                                                           $53,886.40
 Large and small hard drives were formatted with the bundles that
went to ALL requesting parties. Oftentimes there were changes made
and new hard drives were formatted and re-sent. All of these hard
drives were retained by ALt receiving pa Ries

ShareFile Database Site Network access

 All Courtroom equipment for all parties, the Court and participating
War Room parties


TOTAL                                                                              $421,b25.59
1/3 APPORTIONMENT                                                                  $140,541.86




                                                                         Exemplification_042
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TrlelCansuttanl: Jk
Giant MDL 2f?9




Tdel Name: MDL 217a

Oats;       5l31f2ot3

6e4■      Tn.f Curuultirq                                                                                         Hn.
  St14D73 &ndte harcl drive updgtaa and copyMp la sight seperaLe twd dfivea etrieve                                10,25
          addresses for all parties Maka becku~ps Conference wlth the Cuuri and ati lha
          paHlee. Begin mokinp etlditionel changes Ship sli drives.

  5 2!2013 Continua working with parties on bundle changes and eKhibil changes as                                  9.75
           the master diva Is aaeted for ins coup Canunue makmp changes.

  5!7!2013 Continue mekin6 Changes IO Dundlea f7el~feoe tleo96ition henacriOW fcr                                 11.50
           pimp 5 bundles Capy and d~a[r~outa to workers Racelve and bapin working
           grcLDs 2-S bindles fof IFi9 week

  5f4i2013 CanUnua waking vn groups 3-5 bundles.                                                                   7~

  5l572Q13 Continue working on and complete group 3.5 bundles. Oiskibule tv all parties.                          i0J5
           Backup herd drivos and da~ebases

  S18I201J 6ogin receiring and processing bundle rau<ew changos. Reoe~d bundle                                      925
           Inlormallon antl stl~ addiLonel parties to the dulribulion fiat, Work with
           parties on conC~daetial exhibits and how to present Utem 7n Oundlea.

   St7t2013 Ganference call with court Con!~awe making changes enA adds[ions to bunClae                            ~o.o0
            Begln Bsshnila!in8 curd nKhibits. Change name of Btmgess bundle.

   51812013 Continue •eo~king an dn~nges to bundles Complale E~lc Heal bundle.                                     t2.00
            Oun0lea SDeek wish parties regarding questions on bundles and process
            of Dhasm Z.

   5!9!2013 Kenrey deposifsan+sgue9 Continua working on final harC tlrives and eNrobll list.                        4 EO
            Wo~~t with raurt and parties on coke documanis.

 SHO/2053 New week on dewsipon groups, Collect rcflrscripta end bogln recelving                                    54.00
          aesipnalmns hom each of the Dartiea Baq~n weakly weeke~M wak
          Cant~rwe wor4ing on ountltes era maNing revisions

  5!1112013 Contirale working on weekend bundle work for phase 2,                                                   600

  5112/2053 Finalize weakand bond e wort( Iw phase 2. Sand eraups is a&ch of the peNas                              9 75
            end Dacwup data

  5t~3/201~ aagin receiving Feedback an buntlles, Begfn making changes and creating re~eer}                        7'L 25
            versions as instructed by ;he paM1ias

  Sti A12013 Contlnue receivin0 faepDack on bundles begin making chanDes end croa0np revised                        41.50
             rorafona as instructed by the genies

  5IS512613 Conlfrwe receiving taedbacY, on bundles. Beyin making changes and r~ealing revised                      17.a0
            versions es inslrucced by Ihu partfas Tigvol Lo New Orleans. Alake aadFtional
            changos as needod. Wtee{ with Fertisa

  5H 412013 Meal with padies Canferenca ca'~,Is Maka final hard drives with eU the huntllee                         14 00
            and exhibits ror court Make additions! changos and update hard drives

  511712C1J Fed Ex Slaws updates for pOJ ConlinuB workln8 on Phase 1 burdie nhanges                                 1525
            from neth vi the perlios Meke edit6 ~e0.veeted by each of 4he pa~lies.
            Phase 2 bundles.

  Si18120i3 Continue woA~ing m g~oupe 5-7 of ins phase 7 bundles                                                     5.75

  5!79!2013 Concitp~e working on finis graces v-T Sent la all pa~4ies.                                               500

  5tF012013 Addiltonal Sandfo of Neil Thompson Duaell0ns on pbasa 2 b~endlos and aKhibNs,                            6 ZS

  SIZZJZO~3 Ff181120 '.iQJAtp(1 111tlAk ~fi^+ip(IBll O!IS ~11U SBI14 10 p.7Yf@9. BBa~i/l WOfkifij~` 0~i Q~OJP 3      9 75
            IHJi[ ~I{bS, ~VO(l~ on c;lallgBS SC T~oTpson


  5!2312013 Teke ISS fdas and oegin cerva~iing For easy impart for the paAiea 7hoinpson and                           d SC
            Turlak bundles Re-:i~ bun6lea Continue working an easy Import for pa~ief.

   Sf2412o~3 Conticue wonting on conversion of laxt lifus. Upload ties for Ha4buricn. Begia                          74.SG
             working na~N aostynalians fob weekend,

   612512013 Cominua warhing an w[+ekend designations-                                                                3 54

   SM6!2013 Continue walling on and finish wae~end de5ignaliGns. Sond !o oil parties                                  4.?5

   5f29l2U13 Final marshaling list for parties erd coon Answer a~esiior.a regartlmg deponent                          7 25
             Informellon Phases t replacemonle

   5129l.'Ot3 EMporta for BP Deed Irerscnpts as neeCea.                                                               425

   513012013 TurVaG. a~n incmpson hundla concerns erd rasplutions Grcua 9 taut fi ss-                                 0 25

   Sl31120t7 6e~ir worki~~p vn groips 7-8 Doses 2 buntlles                                                            8.a%

               For Profoe~~nnol Sur~lc❑s 17oadofatl ~ Zotel:                                                        Z~7.uu




                                                                                                                             Exemplification_043
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7dal Cansu4taM: CY
GII9n1: MOL 2179




Trial Neme: MOL 2179

pate:       5/31/2013

1)uto       7~in~ GanerAtglg                                                                               ..~. Hrs.
   512r1ot3 Rece[usd draft and ntarsnaanq I~ rem Paler Uai~aNh. tregan arpanlzing ihi9 Ifstinto                   A:7G
            wllneee wwkbnoka, spoke wfih Bryan to separate she work, ae~ted a Iisl of mleafng
            ca&out ex~lblls to send to pgAies.

  b1612013 Received herd delve of fNiel marshMing exh~its from Bryan, began going ihrm~gh each                    16.25
           Itie M the dreft merehaNng teat senf mariler In the weak fo make aura each exFdhN Is on the
           drWe going m the court

  5!7!2613 Continued to po through the droll mnsshallnQ 11at and add ail erhlblls to witness tol0ers for          ti5.50
           the final ddw that Is gofnp ro the court, creotad witnaes faldere In order of eppoarance fn
           Cnutt srM ado eaNbltS.

  518!2013 ContFwed to pv throuQtl IIBt an4 add a~ltlbi[s to drive, spoke to Pe(arwith BP az1d dlscuaa             7.25
           the Tormet of dAves poing to the eourt, tliscLeaed Gundlee Io ba added ~o the dr[ve and
           schedub fay Iha weak of the Ilnst marshaling oonierence.

 5110/2013 Received Group 8 bundles from Jofdan, willed lrsnsatpls from em~l to hard ative and                     B.CO
           rteated cases In TaalDireetnr, added Uenscnpts to TD cease, backed up cases dalabaees,
           ~ecelved cnangea ~n bundle QrSves from Carolyn Relnea at HEST, located oxh~lts qnd
           copfea them io a herd drtve for execution into the bu~dlas, backed up case detaba6es

 5!1112049 Recelued lasue code files from Joroan end executed the I53 files In TrialDkector, created              14.26
           Issue code reports, rineUze4 issue coda rapoAs and comacied data, combined all essential
           easentlei idea Into xip iNden and emeiled wplea to Jordan for dlstr~utlan ~a pontes.

 611 412013 Recelvetl new ehartpea to depo hundtee from Garter VNMfams al TQ, mcaled aYl chenpea                  18.75
            or Curetl s~hlbHs, copied them !o e hard drive end gave them l0 J~elie to a~ to the
            bundles, copied fiord drNes witli fetest bundle changes to have f~em ready when we
             hl! the ground h NOLA.

 5N 612013 Perished cnpyir~g hard dfiveS 4vilh ~8teS1 burgle apdele5, mutle Changes to hard drives and            19.00
           upCated all tlnves to match, arrived of w~ room Ys KOLA, recalved latest evidence fiarC
           drive irom Peter at Nirklerrcl, began copying our 6undSe data la the evTdance hard drhre to
           make a master copy one Eegen copylnp the master to new hard drlvea.

 61Sd/2013 COnilnued to mako copies of "And" combined hard dgves to ptvo to parlles and court al                  16.5
           FAdays mergReling canfeter~ce, received saw cheages tv make to combined h2M drives,
           packed up pBe database and created end applied IabaVs to haM drives.

  511712013 Arrived al war worn end made sure al! hid delves were propeAy labeled and copta{ned ell               S 1.75
            the latest updates, atlendad final marshalfnp carderenee and submttfed eouA drives fo
            coup and to alt parties, packed up war room, received group 7 Gwrdkss, Copied all ~t
            files to local hard dc{va erne created cases In iD,IoaGed UA files into TD and backed up
            case databesee.

  5718120/3 Recdved aU the Ise files to Toad Into TD for group 8 and group 7,loaded ell ties and                   8,50
            exported designetlon reports, n~anRwlaled deslgnallon repasts with page numbers and
            spacing, created zip Nles !or each deponent end amalled them to .lorries ko send fo Ufenls,

  512672Q13 Received new deponent tar group 7, cfaated case in 70 and loaded iss file nd eorported                  ~.2E
            destgnelbn reports, ripped reports end emailed them to Jordan.

  512212013 Workod on a flle to export tram TD to sane to Klrkiand In an efio~t to recreate all bundle              A Op
            dapo deelgnatlons, oast sample deslghelian exports io BP for approval_

  5!23!2013 S~tOBd on e desiAnatton e~ryart tar BP and began expoRtng des{gnations to e new report                  9.75
            to ease to Janette.

  512412013 Cantln~ed Io eKpan reports for use by Kirkland, received group B tlepo 6esignaUon bct q~es,            1325
            created cases In Tp For new group B depos, backed up rasa databsaes. received au
            Ces[pnallona from pertles for group 6 and 7 to create load files and TD Import fibs

  5!25!20}3 Crested ioatl ides for all group 6 and 7 tlepos, sent IoaO Odes to Jordan,racelved group 8             f 7.50
            load fJes from Jordan, began addhg load ides to 7dalDlrector end generaling roparts.

  512912013 Continued craating repohc for all group 8, 788 depcs, manipulated all ezpCRed reporle                   9.75
            so that they were formatted correctly, oast sA regatta to Jordan io distribute io relent.

  5R9f2013 RecaNed ertar ~epon kom Klrf~and on depos, cortscted ertars In depoe, worked with Erin                   6.50
           from Klrklend regarding phase f dep~ end geRing asv files Tor a~ phase 7 Cepos.

  5/3tl12013 Received new bundle tlepo to complete, sent alt parties tareciions from previous day                   7.C~
             email repeNinq errors, revlewetl all group B,7 ana B depos backed up case dala4aees.

             Far Ptofeaslanel Servrcoa Hennered • ~otec                                                           T44,5U




                                                                                                                            Exemplification_044
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 7rialConaultan~ BH
 Client: MDR 2179




 Trial Name: MDl 2179

 Date:       Sf3112013

 Dais         Trial Consulting                                                                            ~ Hrs.
   Sr iF2fl13 Answered Bmails, received draN exhibit {isi and callouts, sfclded c.~tlloute to hard drive,     5.00
              began eamparing exhibtt Net Ilne by lYne to hard drive, campiied ell axh~its for final
              marshal cor~ferenca, backed up to external back up drive.

   5!2/2413 Added ell new callouta and exhltaits to hard drive for marshal conterence, recshrod new           8.00
            emafls snd cailou;s and added to drive, continued to campsre Ilet to hard drive line by Ilne,
            backed up to extamal drive.

   51312013 Received calfouta from parties vls email, added to marohal con!drive, sent emeile to              5.00
            PSC and US requesting calloule, continued to compare Ilst to drive end check for
            errors, performed spot check on herd drive, copied aU of the exhibits on new extsmel
            drive that will be sent to couA and parties, sent drive to Chad, received bundle 1191, added
            bundle list to hard drl~a snd croated TD casgi for deponents.

    514I2pS3 Continued to go through exhlhft Rst and eomQering to dr9ve that will g~ to the rnurt, added      8.75
             bundle cases to TD end began cornplling bundfe~, backed up entire case to external herd
             drive, hacked up marshal list and exhibits to external drive,

    5!5!2018 Created bundles for groups 34 end 5, created the cane within TD, imported ISS files              1 1.00
             into TriaiDlrector, axpoRad bundles io herd drive, converted bundles for parties,
             compressed bundb iVlea For email, pertarmed quality check on bundle Tiles, backed
             up bundles to cxtema! haM drive, cornpsred ezhibft list to external hard drive for marshal
             conf, beciced up entire case to external drive.

    5/912013 Received emei4s from partlse regarding exhibits end list, added list to hard drive, located       2.flo
             video Eor BP and uploaded to FTP.

   5/1 112013 Began work on bundles for parties, ueated cases within TrialDirector, created new                7.50
              folder structure fo- deponents, added txt files to lolders, crcatad 7dalDirector database
              for deponents backed up to extemaS hard drive.

   511 212013 Continued work on depo9it(on bundles for parties, rac,~ivad {SS files and loaded iota            B.UO
              TrIalDirector, created transcript fifes for each dapo~ent, exported to hiss and cronverted
              Into farrnet fa parties, compressed fllen for email, performed quality check vn ail fibs,
              backed up to external drive.

   511812013 Received ISS files #or bundfea, loaded transcripts Into TrlaiDirector, creates transcript         5A0
             fifes for each deponent, exported to flies.

   5/19/2013 Continued to work an bundtea, formatted files for parties, compressed flies tar email,             fi.00
             performed quality check on bias, backed up to external drive.

   5/29/2413 Created round 3for Turlock, imported new isa files, formatted flies and compressed for             2.OQ
             email, Lacked up to extarnel drive.



                or Prnipaslonpl Sarvlces Rendered - 7ota1:                                                     73.26




                                                                                                           Exemplification_045
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 Trial Cansuitont Bw
 CII6fit MDL 2179




 Trial Name: MDL 2178

 Dets:      3131/2013

 Date       Triat Consuliin                                                        ~~s•
   51b/2015 Suftdle 2t    up 4 Rountl 2:[3agard, Le6tanc, Sogge,Sues,Walsan         10.OD
                      Grv~ S Round 1: Fleeca, Hsnry, McVYhorbr, Q`N~111, Pawlo


  6112/2013 Bundle2 t3roupl Round S: Baae~d, LeBlanc,Sagge. Suttlss, Watson         1i,60
                   Group 6 Round 2: Fleece, Henry, McWhorbr~ O'Neill, Po~sob
                   Group 9Round 1: Frpaeile, Hupfiea, O`donnell, Roos

  6119~I2013 Bundle 2: Group 3 Round 3: Poseolo. One~l, Henry, Fbeea                14.00
                     Group 8 Round 2: Odonnell, FnzeAe, Hu4t~
                      Ora+p 7 Round 1: Harwln, lifer, Patle~on, Lshr, Hun6er

  5@3/2413 Bunke 1; Produced ISS fllea                                               Q.60

  5@612013 9undla 2: Group 8 Rowed 3: Odonn~A. Frsmib, Noghw,Roes                    8.50
                    Group 7 Round Z: Lefler, Patbesan, Lehr, Hunbar
                    Group8 Round 1: Nssl E„ Neel R„ Weu~p, DYlchufren, Hattper




            For P           s    rv1aN Rand~rrd -Total:                             ~~.60




                                                                                 Exemplification_046
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Nwne: JB
GI~[ItMDL 2179




Trial Name: MDl 3178

 Opts;       611512413

               Trial Consulting Task Dvscriplion                                                    Hts.
 Date
    51af20 t 3 Begin receiving, reviewing, organizing, and creating necessary files for Qroup 5      12.06
              dspatUons and group 364 counbr desl~n~tlons

  5i'lQIZ013 Begfn racewin9, revlewlr~, organtzfnq, and aaaang necessary fHesfargroup 8              te.UO
             ~poeflione and group 4 ~6 counter deeipnetlons


              Tool                                                                                   31.00




                                                                                                  Exemplification_047
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Trial Consults J6
C~ MDL 2179




 Trlei Name: MDR 2179

 DerbB:        St311Z013

 Date         Tri71 Gnnsulti~~g                                                                       Nrs-
    5ri7/2013 tlogu, receiving, reviewing, organizing, and creraling necessary 4i~os for group 7       18.50
              depa~kfone am!group 686 oounteK deel~atbn~


    5131/2013 Bepin roceNin~, rsvlewln~, orponlxinp, and cr~pting nsc~sary Rles hu group 9            17.00
              depo~lEians ar~d grouR 7 ~ B cound~r Qea~gnatlona




               For Profdsston~ SarYirs~ R~nae~i -Total:                                               33.50




                                                                                                   Exemplification_048
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Trial Conauftenl: ~A
Cllant: tn6L 2i7s




Trial Name:      MDl 2179

pate:            bt311Za43

                Tnal Consull~~ig                                                                             1-ha.
i)ala
                                                                                           C}iendfei,            4.50
        5lU2013 PenUing bundles Lirt[lor, Ravi. Ambrose,9haA8. ~ondur~m. Bryan, Cfialnson,
                 ExeO, Foster, Oa➢~a~9, Guidry, Hotlek, Huch, Hurls, IshN, Kash, Kdizcx, Lambert, MsR4n,
                 Q'Donnel~ Newman, Peyton, Rodarrte, Rath, Smlth,Young, By, Byrd, GuMry, McKay_L,
                 4ukk,Sop~dvadoR, Sweatma~, Wercllaw(Court-OC)

        W7J2013 Pentllnp bunClae; Undar, Revl, Amhrose, BhaAo, Bondurant. Bryan, Cheleaon. Chandler,            d,~0
                Exec, Foster, 4agBeno, Guidry, Hd4ek, Huch, Hurte, IshY, Keltb, Kriimr, ~arnbert, Merdn.
                O`Donne~, Nawmen,Peytcn, Rodents, Roth, SmNh, Youns, Bly, BY~d, Guidry, McKay_L,
                4utrk, Sepulvddo_R, Sweeiman. Werdlaw iCwxt-4C)

        5+312019 Pending 4nndfes: Under, Revi, Ambrose, Bhape, 8ondurent, 9ryan, Cha~eepn, Cnandlef,            9,75
                 EzeA, Footer. Gaglano, Gultlry, Holfek, Huch, Nu~ta, ish9, Kel1h, K~tzar, Lambert, Mahn,
                 Q'Oarmsll, Newman,f~syton. Rode~e, Rath, Smtin, Young., Byr. 6yrd, Guidry, M~Kay_L,
                 Quirk, SepWvadoR, Swestman, Waidaw {Caurt•OC)
                                                                                                                 4.50
        5!5/2013 200 Bundle0' Revlsla~alUpdatea-Court vBrelo~ (Abbaeelen-Vourlg); -CUR exhlbt
                 replacemenla and rafirtke, full veratan wt paeswo~d prolectlon eKhlblt replacamants.
                  PSC, HEST, and 6P reviebna

        5!612013 260 Bund~ea: RevleloneNpdatee - Court veroion (ADAgasien-Yaurrg};•CUR e#~ihit                   5.04
                 replacetnenta and re-Mks,tuA verofon wl password protection exhibN taplecemanis.
                 PSC, HE51, and BP ravieione

        517t2Q13 200 Bundles: RevinlonalUpdates -Court version iRbbasslan~Voung);•CUR exhibit                    4,50
                 rsp{scemeMa and ra-ilnks, tut! veraron wl password protadlon sxhibll re~lecernents.
                 PSC.HEST, End BP roviaona

        51012013 20o Bundles: RevlsbnallJpdelea - Caud verabn (AbDeesisaYauog~;-CUR exh{btt                      4.75
                 repiacementa and re-Ilnky, full vernlon wt pa4sword prolectbn exnibif replycemenl9,
                 PSC, HE81, end 8P roviaian~ (~C)
                                                                                                                 5.06
         519/2013 200 Bundlae: Revlslona(Updetaa- CourEversbn (Abbaesfan-Young); CUR exhbR
                  repfecem~nte and re-Mks,ful venlon wt password protection exhibit roplacements.
                  pSC, HEST, atld BP rovisiona {q C)

        577Q1201a20DBundlea:RevislonaNpdetes-CouM1versfon(AbDflsslan-Yount');-CURexhibft                          <,50
                 raAlacements anC ~e-Unke, Tull voroton wi peseworcS prolecYion exhibit rep'acrmonts.
                 PSC, HE51, and BP rcd~lona (QC)

        5/11l2at3 240 Bunc&es; Ravfdons/Updatee-CouA venlon (Abdassien-YounA);•CUR ~hlhit                         4.50
                  replacements end re-links, Tull varalon w1 password protectlon exhibit replacemanis.
                  PSC,IiE51, and BP iavistone (QC)
                                                                                               exhibit            5.06
        bt13/2013 top BuMles: RevlelanelUpdales -Courtverslon iAbbsasian-Young);-CUR
                  rnplaeamente and re-Ilnka, Lull ve^elan wt password protection exhidit iepfeoaments,
                  PSC, HEST, and BP ravl~ons (DC)

        SN4f2013 2D0 Bundles RevlalonsNpdata~ -Court verslan (Abbasslan•Younq);•CUR erhihit                       b,25
                 replecemeNs end rallnlw, tu11 versbn w/ peeeward protacllon eKhfhtt replaeements.
                 PSC, HEST, end BP revtslona (QC)
                                                                                           exhihi!                4,30
        5/15/2073 z00 BuntllaS: RevlebnelUpdates - Caurt version(Atrbes~an-Youngj; CUR
                  ro~lacemsnts and re-link, dull version wl paeeword protealm eKhibA replacements.
                  PSC, HcSt, and BP revlaione (QC)
                                                                                    g); CUR exMbft                 5.00
         bl1612013 200 Bundles: RevlsbnaNpdete9 - Coun vorolon (Abhaesfan~Youn
                   roplacamerda and re-IVnks, full ver~bn wt pae~word protection e~iGit replacements.
                   PSC, H£SI, and 8P nvlsbns (DC)

                                                                                          •CUR exhibit             fi 00
         511712013 200 Hundlea: RevisiansNpdstes -Court version (Abbassiar-Youngs;
                   replacements end rs~Ilnke, iuli varalop wt password pratectlon exhlblk reQlxements.
                   PSC.HEST, and BP revtalona (4C)

                                                                                         g);-CUR exhi~i(           5,06
         5l23l20'f 3 200 8undlea: RevlelonrRJpdatas -Coin verabn (Abbaaalan•Youn
                     replecemartita end re-links, full version w/ gasawad protedior, axhiC~t roplacemenla.
                     PSC, HEST, and BP revisions (t]C •MEDIA)
                                                                                                                    a.5o
         SJ2412tl13 200 Bundles: RavleionalUpdates - Coun version (abbassian-Young); -CUR axhibft
                    r~lecementa and re-Iinks, ful{ ver~lon w! password protecilcn 0xhlbll replacements.
                    PSC,FiESI, and BP revisions {qC -MEDIA)
                                                                                                                    525
         5125/2013 20D Bund3est RevialonelUpdales - CouR version {Abbesslen-Young);-CUR axhbl{
                   repfacemerrla and re•Gnka, full vacs{on w! p9sewdrd protection exhitit repiacam~~s.
                   PSC,HEST,and BP revinlona (4C - MiEDIA)
                                                                                                                  86.50
                    For ProfosaMnaf Sarvlees Randerve • 7ate~:




                                                                                                                           Exemplification_049
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Trial Gonau{tanj: Ps
ClSent: AnQ~ 2~~~




THaI Name:        MDL 2179

 pale:            5/31!2013

 hate       ~~ Tr~a!~pnsuqu~~_,_                                                                          Hts
        5~14t7a f 3 2Ui1 Uc~nUles Reu,s{onS+Ut~Jates • Court varsion (Ahh~sstan-Yaun~~; CUR exhtbd           A~O~
                  replecementa and re-Ilnks, full version w! password prolectlon exhiDlt replac9mente.
                  RSC, HE51, 8nd BP fevisiona {pC}

        5J15lZ913 240 9undies: Revlsbns/Updates - Coud reralon (Abb84Bien-Yot~g);•CUR exh~lt                 B4OQ
                  replacements ef~d tsllnke, toll vetslon w/ passwarcl p~otectlon exhlbll roptacements.
                  PSC, HE51, and QP rivl9kma (qC)

        6t7~l2013 200 Bundiea: Rsvistor~slUptlatea - Caurt version (Adbaeeien Yoixly};•CUR exhibit           9,00
                  replacertrents and r~gnks,toil version wJ password protection exiMbft replacemarta.
                  PSC, HEST, arui BP reW~bns (QC)


                  Pot Pro     siona19arv1ca~ Rsngerea •total:                                              20.00




                                                                                                                    Exemplification_050
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 52 of 248




Trial Consultant:'fE
C.Ilent MDL 2179




Trial Name:      MDL 2178

Date:            5131!2013


                 PeaUiitg bundles: tinder, aavi, nmUroso, B~TAIlA, QorWurant, Dryan, Cha9sso~,
                 Chandler, EzsH, Foster, Gaglfeno, Guidry, HoNek, Huct1, Huns, tah~, K~tF►, KHtzer,
                 1~mbart. Mar9n, O'Donnell, Newman,Peyton, Roderde, Roth, SmHh,Yax~, Bly, Byrd,
                 Guidry, i4tcKey_L, Quirk. 3apulva~o R, 3westrnan, WaNlaw (Gout-QG~

        5/2/2013 Pending bund~es Linder, Ravi, Ambrose, Bhalla, Bartdurerrt, Bryan, Chelteon,               8,00
                 Chandler, Ezeii. Fasie+, Gagflano, Guidry, Hollek, Huck. Hurts, IahI1, ICelth, Kromer,
                 Lambert. Fnartin, O'Donnell, Newman, Peyla~, Radante, RaUi, Smith, Young,81y, Byrd,
                 Guidry, McKay_L, Quirk, $epulvadoR,Swreatrnan, Wasdlew (Court-QC)

        5!312013 Pan~ing bundles: lJndar, Ravi, Ambrose,8halla, Bondurant, 9ryan, Chelaaon,                 9.Y5
                 Chandler, EzeN, Foster, GagNano, Guidry, Hodek, Huch, Hurts, lets!, Keith, Krl~er,
                 lambert, Mer4n, O'Donnell, Newm~,Peyton, Rodante, Rah,SmNh, Ytuxsy, Bly, Byrd,
                 Guidry, McKay_L, Q~irtc, Sepufvado_R,Swaa~man,Wardlaw (Court-0C)

     61'1M2413 tad BundlBs: RevlalanalUpda~e -Court vsrnbn (Ah6asElen-Young); -0UA 9xtrlbR                   5,00
               repla~mer~ ~d re-Ilnka, full varslon w!password protection exhi6N replaoemeMs,
               PSG, NES1, and BP revlslona (QC)

     6/1312013 200 Bundles: RevlaionsA.lpdates -Court version (AbbasalsmYoun~); BUR eadtii6lt                5.D0
               replacements sod re-Unks, toil version wl peasword protection e~ICit neplacament~,
               PSG, HESI, and 9P ravislata (DC)



                  For Profosslonal Srrvlcas Ronde - 7otai:                                                  31.40




                                                                                                          Exemplification_051
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Trial Consultant; PF
CIIBnt: MDL 2179




7r1a1 Neme:       MOL 2179

Date;            5731/2013

dale             TrtatCOnsufLn9                                                                                  lln.
        5/1l2D13 Upda~c and ~efvise HHS[ missing eafubda Nst: court and medVo loundtos (Intl exh objoci~vny,        8.25
                 redactions, and media replace~remove exhs); Compressed 206 bundles, post to 5haretlle sNe
                (InBata)• 34G9

        5t2J2013 Pending bundles: Linder, Ravi, Ambrose, Bhalla, Bondurant, 6ryen, Chaisson, Cnandter,              7,50
                 Ezell, Faster, Gagilano, Guidry, HoAek, Huch. Hiata, Ishii, Keith, Krftzer, Lambert, Martin,
                 O'Do~nell, Newman, Peyton, Rodents, Roth, Smith, Young, Bly, 9y~d, GuWry, McKay L,
                 Quirk, Sepulvado R, Sweatman, Wa~dfaw {Medla•4C)

        5l8t2013 Update end revise PSC.8A rnissing axhlbiEy lis/~evlslons and designation tables: court and         7,75
                 medka bundles (Intl, exh o~jectlons, redactions, and media repfacelremove axhs)

        5RI2o13 Update antl revise PSC, BP missing exhibHs Ilslrevtsions and deslgrta[bn tables; court and          8,25
                media 4undles (Intl. exA obJectiona, redediona, and media repla~lremove exha); AmGroae
                redactions/remove exhibits; -CUR e~lbit replacements, re-linking.

         516/2013 Update 0atl rev~so PSC, BF, HEST missing exhibiks IisRewsions anG des9gnaticn tables: court       8.50
                  and media bund4as {Intl. exh obJections, redaa'~ons, and media replacelremove exha),
                  Ambrose reaactfanstremova exhibits.•CUR exhibit replacomenls, re•ifnking, Iu11 version
                  e~chlbit re~iacemert(password ptolecGon), Eric Noah new designation file • fuP, re-Hnk and
                  added exhibits.

         519!2013 Update and revise PSC, BP, NESI missing exhibits Iishevisions and desiyr,ation tables court       8.25
                  env meCla bundles (Intl, exh objeCt~ars, teAaclions,$n0 media repiacelremove sxhs);
                  Ac~rose redectionslremove axribi~s,•CUR ezhit~i~ replacements, re•linking, ful! version
                  exhfWt repiat;ement(passwor•7 pmtectiony. Eric Neu! new d~sipnation fat -fall re~iinK and
                  added exhibits.

        5Ii 0!2013 Update and revise PSC,9P, HES1 missing exhibits Iis/rAvislans and tlesiQi~aEion Wbles'court       B,DO
                   anC media dandles (Intl. exh objections, redactions, and media repla~etrernove exhs),
                   Am~roae redactlonslremove eahibita; -CUR exhihii replatereMs, re~linking, full version
                   eeh+bit replacement(password protection}, Eric Nevi nev+aesignatlon file ~ twi re•link and
                   added euhlbits; copy data fo 10 axlemal drives

        5113l20S3 TO. PSC, BP, HESI: Revisions to •CUR exhibit replacements, re-linking, full version exhlbi!       9,00
                  replacement {password protecfion).

        51147201 3 TO,PSC, BP, HEST: Rpvlston5 to -CUR exltlblt replacements, re-link{ng, full version eRhibil      9.25
                   replacement(password protectiony. External drive data copy(20o bundles)

        519 St2013 200 bundles: RBVISIonSlUpdates -Court version {Abbassian-YaunQ); -CUR exnibil                    8.75
                   tep~acements acct re-links, tu11 version w/password protection exhibit replacements PSC,
                   HEST, and eP revisions {QC)

        5/f&!2013 20o Bun6les: Revislo~s/UQdates -Court version {Abbasslan-Young); •CIiR exhibit                    6.00
                  replacements and re•links, full version wf password protecYon exhihR replacements. PSG,
                  HEST, and SP revisions (DC)

        5117l20~ 3 Z00 Bundles: RevisionslUpaffies -Court version (Abbassian-Young); -CUR exhibi!                   T.75
                   replacements and re-1i~ks, ful4 Version wl password protection exhibit replacements. pSG,
                   HE5L and BP revisions (QC)

        5@112017 Revisions ;o -CUR exhibit replacements, re-linking. (MEDIA).                                        4.00

        5r'2272a 13 Revisions to -C4JR exhibit replacements, re-linking.(MEDIA}.                                     5 Q0

                                                                                                                      g 73
        512312013 Revisions to -CUR exhibit replacements, re•linking iMED1A). iSS file to CSV creafioNre-
                  format

        5124/2Q13 F{evisions to -CUR exh'~bit repl2cemenis, re-linking {MEDIA) ISS Flle to CSV creatioNre-            7.75
                  format

                   For Orofasslonal Sorvices Rendereb - Tota1:                                                     12'1.75




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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 54 of 248




Trial ConsWtant: ~ cc
Client: Mot z»s




 Trial Name:      MDL 2179

 Date:            513/2013
                                                                                                           '~   Hrs,
 Date             Trial Gansult~ng
                                     Lf~6er, Ravi. Arnbroso, 8halla. 8onduranl , Bryan, Chaisson. Chandler,    ~ 0.50
         511!2013 Pending   bundles:
                                                                                                       Marlin,
                  Ezell, Faster, Gagllano, Gutdry, Halfek, NuCh, Hurta, fshN, Kelth, Kritzer, Lambert,
                  O'Donnell,  Newman,   Peyton,  Rodanle,  Roth, Smith, Young,  Biy, Byrd, Guidry, McKay_L,
                  Quirk, Sepu{vado_R, Sweatman. Wardlaw (Media-QC)
                                                                                 , 6ryan, Chaisson, Chandler,        5.50
         5!2!2013 Pending bundles: Linder, Ravl, Ambrose, 8halia, Bondurant                              Martin,
                  Ezell, Fgater, Gagllano, Guidry, Hallefc, Huck, Hurta, Ishii, Keith, Kritzer, Lambert,
                              Newman,   Peyton, Rodante,   Roth, Smith, Young,    81y, Byrd,  Gu#dry, McKay_L,
                  O'DonneU.
                  Quirk, Sepulvado_R, S~nreatman, Wardlaw (Media•QC)
                                                                                    Bryan, Chaisson, Chandler.       6,25
         5!3/2013 Pending bundles: Under, Ravl, Ambrose, 6halta, Bonduranl,                                Mart;n,
                  Ezell, foster, Gag.lfeno, Guidry, I-tol~k, Huch, Hurta, Ishii, Keith, Kr'Itzer, Lambert,
                  O'Dannell, Newman, Peyton, Rodanle, Roth, Smiih, Young, 6ry, Byrd, Guidry, McKay_L,
                  Quirk, Sepufvado_R, Sweatman, Wardiaw (Nled;a•QC)
                                                                               , Bryan, Chaisson, Chandler.          1.50
         5/4f2043 Pending bundles_ finder, Fcavl, Ambrose, Bhalia, Bondurant
                                                                                     Kritzer, Lambert, Martin,
                  Ezell, Faster, Gagfia~o. Guidry, HoBek, Huch, Hurta, Ishii, Kellh,
                  D'Qonnell, Newman, Peylnn, Rodante, Rath, Smith, Young, Bly, Byrd, Guidry, McKay_L,
                  Quirk, SepulvadR_R, Sweatman, Wardlew (Media-QC1
                                                                                , Bryan, Chaisson, Chandler,         5.50
         5/5/2013 Pending bundles: Linder, Rav1, Ambrose, Bhal}a, Bondurant
                                                                                               Lambert, Msrttn,
                  Ezell, Foster, Gagflano, Guidry, Hollek, Huck, Hurta, lshli, Kefth, Kritzer,
                                                                                                    McKay_L,
                  O'DonneA,!Newman, Peyton, Rodanie, Roth, Smith, Young, Bly, Byrd, Guidry,
                  Quirk, Sepulvado_R, Swealman, Wardlaw (Media-QC)
                                                                                , Bryan, Chaissm, Chandler,           3.25
          5l6/2Di3 Pending bundles: Linder, Revi, Ambrose, Bhalls. Bondurani                           Martin,
                   Ezap, Fosisr, Gaglieno, Guidry, Holiek, Huch. Hurta, 4shii, Keith, Kritzer, LambeR,
                                                                                                    McKey_L,
                   O'Donnell, Newman, Peyton, Rodante, Roth, Smith, Young, B1y, Byrd, Guidry,
                   Quirk, Sepulvado_ft, Sweatman, Wardlaw (Media-QCj
                                                                            and designation tables: court and         S.OD
          5l7I2Q13 Update and revise PSC, BP missing exhibits Its/revisions
                                                                                        emove exhst; Ambrose
                   media bundles (inG. axh objections, redaciions, and media replaoalr
                   redactions~ra~nove exhibits; -CUR exhibit replacements, re-linking.(QC)
                                                                               end designation tables: court and      7.75
          518l20i 3 Update and revise PSC, BP missing exhibits ~~slrevlsions
                    media bundles {lnct. exh objections , redaction& , and media replacelramove exhs); Amkrose
                    redaclio~slremave exhibits; -CUR exhibit replacements, fe-linking.(~C)
                                                                               end designation tables: coup and       7,50
          51912(113 Upda[e and revise FSC, BP missing exhibits lisirevisions
                                                                                                 exhs); Ambrose
                    media bundles (Ind, e~fi objections, redactions, and media replacehemove
                               lriemove exhlbils; -CUR exhibit replaceme nts, re•Gnk~ing. {QC}
                    redactlons
                                                                           s and des{gnation tables: aovrt and         8.p0
         5!10!2013 Update and revise PSC, BP missir~q ~xhibils Gs/rev~slon
                                                                               rsplacelremove exhs); Ambrose
                   media bund4es Qnci, exh objecllans, radadions. atEd medta
                                                                                 king.(DC)
                   redaGtsons/remove exhibits; -CUR exhio+l replacements, re-lin
                                                                                   designation tables: court and       6.00
          5!1412013 Update and revise PSC, BP missing exhibits I'is/revisiane and
                                                                                            move euhs}~, Ambrose
                    media bundles (lnct, axh abjecdons, redactions, and media replacehe
                    Iecfaclionslremove exhibits; -CllR exhibit reptacemenls, re-linking. {QC)
                                                                           ns and designation tsales; court and        6.5Q
          5115/2Q13 Update end revise PSC, BP missing exhibits lislrevisio
                    media bundles (snc[ e~ obfect~ons , redactions , and media  replacelrem~ve exhs}i Ambrose
                    redectbns/remove exhibits; -CUR exhibit replacements, re-(inking.(DG)
                                                                                                                      64.25
                      For Professional Services Rnndored - Totaf:




                                                                                                                Exemplification_053
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TAeI Consu~ent: MJ
Giie~ MDL 2179




Td~t Name;    MOL 2179

Date:         0131 J2013

Date          Tri~1 Consuliln~                                                                 ~   Hts
    5/13/2013 20t7 durull~s: Rev~sionslUpdales ~ Goun vcrsio,~ (Abtrassian-Yaung); CUR ex}u~i!      9 CS,75
              raptecemanla acrd ra-~nlw~ tuM vete#on w/ pasewad pro~dion ax~hib~ raplacament~.
              Psc, test. and BP rsvulOrn (GiCl

    6/i4f2013 200 8und180: Ravi~lonaNpdistaa - CouA vanbn ~Abbess[an-Younp};.CaJR exhbft              S,Od
              ~eplacertserds and ra#Nc~.fu11 versbn w!pae~word protection exh~it raplacema~ta.
              P3C,HE31, snd BP rsvlmlons (QGy

    bl1512Q13 204 Bundles: Raul6lonsN}daten - Caut version (Ab6ae~tar~Young): -CUR exhibU             6.00
              roplaceme~ and is-~tta,lull verelOn w(peseword prota~lon exh~lt repiaoemer~ta,
              P9C, HESI, and BP ~vlsloro (OC}


              For Prohsslansl ~arviws Rondarod - Tota1:                                             20.75




                                                                                                   Exemplification_054
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 56 of 248




Trial Consultant: A'N
C4ient; NiDL 2179




Trlai Name:       MDL 2179

Dale:             5l31i2413


                                                                      k3o~iUurant. 9ryan, Chaisson, Chandler,          7.75
        511/2013 i~onding hcindles: Llrxier, Ravl, hmbrosc, 6haila,
                 Eze4, foster, Gagllan  o. Guldry,  Hoflek, Huch,  Hurts, lshll, Ketth, Kritzer, Lambert, Mertln,
                 O'Donnell, Newman, Peyton,      Rodanta  , Roth, Smiih,  Young,   Bly, Byrd, Guidry, McKay_L,
                 Quirk, Sepulvado R. Sweatmar~, Wardlaw (Media-0C)

                                                                    BanduraM. Bryan, Cheisean, Chandler,               8,00
        512!2013 Pending bindles tinder, Rav;, Amixose, 9haila,
                               Geglian o, Guidry, Hallek, Much,  Huria,  Ishii, Keith, Kr{1zer, Lambert, Me~tin,
                 E2eH. Foster,
                                      Peyton.  Rpdanle  , Refh, Smiih.  Young,    6iy, Byrd, Guidry, ~1GKay_L,
                 Q'l7onnsfi, Newman,
                 Quirk. Sepulvada_R, Sweatman,      Wardla  w (M1Aedia -4C)

                                                                     Bondurant, &yen, Chaisson, Chandler,              8.59
        5f3f2013 Rending bundles: Linder, Ravi. Ambmse~ Bhalla,
                 Ezetf, Foster, Gaglian o, Guidry, Hallek, Huch,  Hurts, lahfi, Kekh, Kritzer, Lambert, MartMn,
                             Netivman , Peyton. Rodante  , Roth, Smith,  Young,   By, Byrd, Guidry, McKay L,
                 C'Donnelt,
                                                an,  Wardia  w (Media-QC)
                 Quirk. Sepulvado_R,5weatm
                                                                 (Abbassian-Yaung}; -CUR exhibit                       7.5Q
        5!612013 2QQ Bundles: Ravls1on51Updates -Court version
                                                                    proiscUon exhibit replacements. PSG,
                 raplacementa and re-Itnks, full version w/password
                 HEST, 9nd BP  revision s

                                                                 (kbbasslan-Young); -CUR eachibit                       5.5p
         5812073 200 Hurdles: RevisionslUpdates -Court version
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                 replacements and reainks, fuYl version w/ password protectf
                 NEST, and BP revlslons
                                                                   (Abbassian-Young};•CUR exhibit                       8.75
         518/2g13 200 Bundles: RevisionslUpda;es - Cour'~ version
                  replacements and re-k{nks, ful) version wl passwor d protection exhlbl[ repiacemenis. PSC,
                  HESI, and BP revisions
                                                                    {Abbasslan-Young}; -CUR e~ibit                      8.Q0
         5!9(2013 200 9undles: RavisionslUpdates -Court version
                  replace ments and re-links, full version wl passwor d protec!lon exhibit replacements. PSG
                  HESt, and BP  revision s

                                                            verslai (Abbassfan-Yaurrg}; -CUR exhibit                     8.25
        5l10l2Q13 204 Bundles: RevisionslUpdates -Court
                                                                       pro;edlon exhibit replacements. PSC,
                  replacements and re-links, fu11 version wt password
                  HE51, and 8P revisions
                                                                    (Abbasslan-Young); -GL7R exhibit                     8.60
         5H 3!2013 20a bundles: RevisionslUpdates -Court version
                                                                       protection exhlbil replacemartta. PSC,
                   replacements and re•tinks, Eufl version w! password
                   HEST, and 6P revlslona {pC}

                                                             version (Abbassian-Young); -CUR exhibit                     7,75
         6!14!2013 200 Bundles: ReviaionstUpdaies -Court
                   replacements and re-links, full version w! password protection exhihlt replacements. PSC,
                   HESI, end BP revision s {QC)

                                                             version {Abbassian-Young); -CUR exhibit                      7.50
         5lt512013 200 Bundles: RevisionslUpdates -Court
                                                                        protection exhibft raplac~ments, PSG,
                   replacements and re-Sinks, Cult Version w! password
                   HEST, and BP  revision s (QC)

                                                            version (Atrbassian-Young); -CUR exhibit                      8,25
         5/1612013 200 Bundiea: RevisionslUpdates - CouA
                                                                       protactian exhibit replacements. PSC,
                   replacements and re-links, full verelon w! password
                   HEST, and 6P revisiogs (QC)
                                                                                                                          7.75
                                                               verslo~ (A6bessian-Youngj; -CUR exhibit
          5l17I2073 200 Bundles RevislonslUpdates -Court
                    repiacernant9 and re-links, fuS1 version wt password protection exhibit replacements. PSC,
                    H~SI, astd BP revisions (QC)
                                                                                                                        104.59
                      For Professional 3ervleea Renderotl - Totae




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Ttta! Cor~aM; JV
Clla7it MDL 2179




TMI Name:          MO1217B

Dale:              6131/l01S

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        31~/'J f7 Vpautu on rayon ~If Sf nv+anp orn.ata +st. cwct aw mama nunrnns
                  ob(aclt~yrta. ~edeGlona. ~tl moCw replaca'nmwe orie); Campi~eud iCb burJ{u,
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        5Nl20'3                                                                                                       6.00
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                   aM ms~a buses(lnd. srh o~cUona, redactbns, and m~a ropiacel~emove e~s1
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                                                                                                  to hlat:            ~1,5p
        518/2013 UpAato nn6 rt~v~se P SC,8P,iiESt aniastng o~lv~ifo lisr~ovtsbns sna ao5syrzs~ion
                 cnurt end mad~A WtdOb (!~d e;UM o~p[tiull~, t6C9Ui0f14.!nd iri6~S faplaCUhornoSro
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                 version wawG,~ roplacemer+t(vaesnar0 protection}, ~~tc Neai rwa+ do~igza:ron rb - Adl
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        GIWLOI3 UpC18:V 8f'tl f8Y}f0 PSC. BF, NE5i missnp nx~ukfi I:~f~ev:lmna antl da:pna~'.v~ tetrEex               94,oD
                fD1%S BIW IR0~7 b~.Y1Il109 ~f/1G. O%R Ot1pCf10~19, fOtloCt10h6~ BM IIItldW tBJ11icGlf811fOv0
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                vern;r.~ extudtl replaGemonl fpaxairorE praixlionS. E+ic NOef ~aN Go.ip't~'3on ~Xo - Nfi
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                   exn6); AINXoss ltlAh[f:dtSh6mtiv0 OXIHEi18; •Cl1R BKIiD$ IOA~COmVnl6, ~bdrRklMJ, TUI~
                   rOfSWn eYhlCil ray~'xarasnl(RassvraJ p+etoction?. Eiic Aeal ttuw desi9na4an fi~o • NN
                   iu-knk and ~a0ad aaltiDls; ccpY tlale Io f4 axlema! Mvee
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        Sf1312fl13 T0, PSC, 9P,t~Sl: Rerltials to LUR exitlbll repleceinenls, re-~nh'utg,
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                                                                                                                       40,75
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                    TO, PSC, BP, HE61: ReWiane to -CUR atdblt ieplersmaiis, re-itrlkLtg, NM wnbn
                    exfm;t rspfacarrent(Oaa4w«d pio4ec~rn+}. External drMe lisle wPY~
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        511$!2013 AF LQIQ~'! 34 F7P ojta {bBdlilp b`al~: CIlifN, MCKdy, NaW). F.at1~11!
                  flnW 10B hurx8w
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        625!2019 Upgalo and rnvisn Tp,PSG. 8A, riES~ m°osin9 aWultz listrov'~s':ore an7 deslgneGon
                 1a~~us: uuuA nn0 mnale twraks {Ind aan objac9one, ae6er.Nans, and manta
                 r~°pjecPligmdvo oxhs); ATCNa4 ~o38c1~nilrOAtCV6 oxpiE:la, CUR oXh:bi!
                 fCgIBCdTgnis, rU-It~l'ai,R~, (ldl v9n:v/~ Oahibll !6(lI9CdR+M11 tpge5Y+1%13 ~ro:EftiOfl), EIIO
                 rtenl new dasi~sl~an f1p • 1c,~1 re•oini~ artl a4Wetl ~Mb;ltl'. R6viaiane So -GUR eodd4it
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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 58 of 248




Tr1a1 Cantulta~ RC
q~ MDL 2179




Trirl Name: bIDL 2179

Dula:       QJ31/Z013

Dete         Trlai Consulting                         ~   Hrs.
   518/241 a Roviflw changes to deposition bundles.         7 ~S

   6/912 13 Rsviaw change b deposi5on burMbi.              7.75




            For Prof~lon~l S~rrkp R~nd~nd - Totf1:        18.00




                                                      Exemplification_057
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 59 of 248




 T~lel Consultant: CC
 Cllent: MDL 2179




 Trla1 Name: MDL 2179

 Ddte;       5131t2d13

           Trial Consultmq                                    Hrs.
 Date
                                                                0.50
   5!&2013 Review changes to depoy~tion bundins.
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    519/2013 Ravkew changes to deposidan bundles.




              For Protesatanal Senricas Rendered -Total:        2.00




                                                           Exemplification_058
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 60 of 248




 Told Con~uI6~M: KC
 CNWIk MDL 2179




 Trlel N~ms: MDL 2i79

 Data:      6/3112Q13

 Dale        7r~al Consulting                            1~rs.
    5f8/2013 Review changes to deposition bundles.         6.50

    61~I2013 Revkw dlangei fo daposidoa bundles.          s.x~


            Fa Prof~sdonal BaTvion R~nd~rsd •Totals      71.76




                                                      Exemplification_059
     Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 61 of 248



Worldwide Court Reporters, Inc.
                                                                                        iNvoicE        ~   Invoice Date                   ]ob No.
                                                                                 Invoice No.
3000 Weslayan, Suite 235
Houston TX 77027                                                                     113529            ~     7/30J2013            ~         43383
Phone;(713)572-2000 Fax:(713}572-2009                                              ]ob Date                                Case No.

                                                                                   6/30/2013           r 2179                                            ~-_-~
                                                                                                                  _...____..._P_~_ .. _._._._.____._._----._~
                                                                                                            Case Name
                                                                               In Re: Oil Spill by the Oil Rig "Deepwater Horizon"

     Kate Danahay
                                                                                                           Payment Terms
     HERMAN HERMAN KATZ & COTL4R
     82U O`Keefe Avenue                                                        Due upon receipt
     New Orleans lA 70113



     June Trial Cuks
           Trial Technology Consult                                                                                        93,769.24           43,769.14 ,
                                                                                            TbTAL DUE »>                                   $93,769.14
                                                                                            {-) Payments/Credits:                              93,769.14
                                                                                            {+) Finance ChargesjDebits:                             Q.OQ
                                                                                            (_) New Balance:                                      $O.Oa




                                      r.

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                                                                                                                       Phone: (504}581-4892              Fax:
Tax ID: XX-XXXXXXX
                                           Pteuee dciuch Uoltvm porlron and redurr: wrth puyrne~tl.



 Kate Danahay                                                                  Invoice No.            113529
 HERMAN HERMAN KATZ & COTLAR                                                   Invoice Date           7/30/2013
 6~0 O'Keefe Avenue                                                            Total Due              $ 0.00
 New Orleans LA 74113




                                                                               lob No.            43383
Remit To: Worldwide Court Reporters, Inc.                                      BU ID            ~ 1-HOt1
          3000 Wesleyan, Suite 235                                             Case No.               2179
          Houston YX 77Q27                                                                            In Re: Oil Spill by the Oil Rig "Deepwater
                                                                               Case 'Name
                                                                                                      Horizon"


                                                                                                 Exemplification_060
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 62 of 248




 have attached a "Recap Table" delineating the June expenses.




                                                              JUNE 2Q13
                  DESCRIPTfON                                             TOTAL
Expenses: Airfare, Hotels, Meals, Rental Cars, Misc                                  $18,745.10
supplies

Worldwide Tech Staff {2) RA KB                                                       $228,095.00
   Creating Party email database ensuring proper distribution to New
Orleans Tech —verifying all video compression ratios-update party
reQuests for bundle changes-verifying hardware formatting-catalog all
parties redactions...(931 hours}


Office Space —11th Floor                                                                3,696.OQ

Pontchartrain — Mr. Fontana and Support Team                                           $2,880.Q0
Housing

Equipment Rental-Freight:                                                             $27,891.30
 Large and small hard drives were formatted with the bundles that
went to ALL requesting parties. Oftentimes there were changes made
and new hard drives were formatted and re-sent. All of these hard
drives were retained by ALL receiving parties

ShareFile patabase Site Network access

  All Courtroom equipment for all parties, the Court and participating
War Room parties


TQ7AL                                                                                $281,307.40
1/3 APPORTIQNMENT                                                                     $93,769.14




                                                                          Exemplification_061
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 63 of 248




Trial Consultant JR
GYent MDL za79




T~1ai Narnr; MDL 2179

Oete:       61'!012013

bale      Trial Conaullh~g                                                                      hies
  6HI20i3 Continue wark~ng an prouDa 7-U bwwtes                                                   8.50

  6/2JZ013 Cand~u0 worWnp an and ccmpfat~ groups 7-B, Send each of the bundles W                 8.75
           each or the pargea fw reNew.

   6/3!2013 Upload bun~aa ao requsstea by paRlea. Anewar questions tram Q~endants                 4.T5
            repardloa location o~ bundian and davnloed IMtruc4ona.

   B/bl2~13 Begin working on tho Cerm~crtael deposfUon tixea ae some parties used                ".0.75
            incnrrod tranuripc Rev,avc oorractad dealgnatlone and procssa buntlle,
            B+pin waking vrith WoAW~4de to pet a copy of ell the phaea 2 dapaeillon
            exhblta. Add corrections from partlas.

   8J6J2019 FlnaAze Cattnichael roviaed bundle and xnd 10 atl paRies. Cor~pnuo                    8.00
            working wAh Weddwldo to gat phase 2 euhibita.

   6I7/20i3 Begin vrorkMp on group 10 .TKI'films. Begin rocelving ane processing de~a            12.50
            for groups ~~0.
                                                                                                  4.25
   618/2013 Cortlnue working on Omupa 8-10 buries.

   BRJ/Y013 FInsIFm groups 8-10 antl sarxf aR bundles to parties.                                 6~5

  6/14/2013 6egln working an prouQ t t .TXT thee. Bailin recelNng artd proceaslnB date Scr       14.OQ
             proupb 9-71.

  9!1512019 Continue worklny on weekend hundla work for pfie9e 2 group &1i.                        8,06

  6/16/201 S Finallza weekend bundb work for phase 2. Send groups to each aS the parties           8.75
             and backup data.
                                                                                                   Z.75
   Bt17/2013 Mcwer quasfions rogwrding which ~ponentc had deaignatlons. Wank with parties
             ~ add addltlonaf roGplent6.
                                                                                                   3.75
  8119!2013 Wor{c with pattlea to make adjuofinenta to the McWhorter bundles ae paRlee wanted
            ~drllUcnsl cfeagnetkona.
                                                                                                   4,50
   8119!2013 FinaUse McUVhorter bunc~ee and Ciatribuhe to aA pa Ries.
                                                                                                  11,00
   6/21l2D13 Begirt woriting an hundlea for gruupa 90.12. DowNoad .T7(7 flea and begin
             recelvinQ end procoscing data from each of 1ha peRios.
                                                                                                    4.00
   8/2Z/2013 CaMlnue working on p~oup~ 10.52.
                                                                                                    5.75
   8123!2017 Flnaltze groups iF12 and diotributo to all parties.

   8f2412013 Make some chanpea to bundles and re-dlethbute to dl pertiea 8eckup s0 data,            6.50

                                                                                                    1.75
   8125!2013 Wor1c with parties to make updates to the Bhapa dnpaettion handle,
                                                                                                    7.75
   612812013 Flnrlize updates to Bhelta bundle snd diavihuts to parties- Work with PSC and
             Trsnaocean qn updates.
                                                                                                    8.50
   612712613 frchlpk Aeacriptiom. Gage backup end upload to eztemal haM dflvas. Update
             Shar~fue.

   6RB12013 Begirt wvrkfna on groups 11-13. Downbad file9 and Begirt prtcese et aeetlng            14.50
            hundkc.
                                                                                                     8.75
    &f29126/ 3 Cantinas working on Weekend bunCle9.
                                                                                                     ?.75
    8730!2013 ConUnuewo~klnp on and completeg~uupa 15-13. Distribute bu~rdles to ail nertlos.


               Far Profa~ebn:l Servlca~ Rendarea - TotpR                                          776.26




                                                                                                            Exemplification_062
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 64 of 248




7ne1 Coawi~ant; r,T
Clienl:"MIL 2i79




Trtal Name: MDL 2179

Date:        6t30P2017

F11Nd        T~1al CDri~u0.n~p                                                                           lies
 e~1/2o~3 Received sli ao ~dae for oepo imm~~os in Oroups ~, B min 9,u.~p~~r o~w,~und ~.rang .n            9.OD
          7rial01redor and pensratlnp deaiynallon repoAs,

   6Y1l~01J Flnistied ruming gee files In ~~1alDlrec[or and peneraGnq dealpnetlon ropoAe, weed though      T.25
            ell reports and ma~se{yad them to makh UunscApt Pepe numea~ end ena~re alb a~.as~4on
            erM enewars Bns up, ~Ipped ell fitea end emeNed them Fo Jorden.

   81512QS 3 RetelVed cartected dealgnatione Nan HESI far Cennicheel, created new load file Ior TO,        325
             executed haw load Ines In TD aqd expoAed new repona, corroUeO new repoAs end
             emrllad them to JorOan.

  6RI2013 Rerelued haw depa group and rounCa 2 end 3 fordd prvupe, topfed now Vanxrlpls b                  8.75
          hero drfVa end veate6 idden fof ell Info, peeled cases ~ Tdal0lrsctor ~d badee
          RranaMD~ Into TO cease.

   818/2013 Revlewe6 Capo mport process with Chda ana received a~i toed flies, began impat~ng IaaA         7.50
            files fnta TAaIDVeetor and weagny reports.

   81812013 CQilli~nMd t0IBl00rt lofd fi1Bs into TAel~kect0~ sIW eXport d9llgnBtlon rcpOrtl, .'ev16Wld     7.00
            com0~e~ bundle from ChAs and rdvlewad clianpea needed 10 be mnda, went through
            aN e~oAed reporta end Ilned up page num4ers anq qA pars,ripped ell flea and ameNed
            them to Jordan fot effort to C}bnl.

  slt~l2013 Recalved new dapo group anC round s 2 and 3 tOr ofd groi.~ps, copied new ~ranscrtpta to        @,5U
            hard Jdve and created folders (or all Info, crested cases In TnalDl~dor end Soaded
            venocMpts h10 FD cases.

  8115120'3 Revlewe~ depo report Frocaaa wtlh Chr1a antl received atl koad £lei, 6egen importk~p Ingd      B4Oo
            tllee imo TAaiDlrectaf and craeling repone,

  8/18!2019 Cantlnued to impo~7 bed Files Inla T~teFD'aoctor and e~wA dey,~nnUon reports, reviewed          s.75
            aomplefed bundle from Chrio end ~ev~ewa9 changes waded io bo made, went lhrouph
            all rxporleQ roporU end lined up page fum6ors arM OA po'vs, ripped sll files en0 emsiled
            them to Jordan fo~ezport to Giant.

  8/1&12013 Recalved request from rJlanl to edQ them to Ne SheroFlle eke, received raqusst to upload      18,00
            admitted exh~fls 6o ShareFlle slie, began zlppinp a~4 fllee'by nwnber b add ro
             9her~lle, uploaded brat "by number vdume to ShmeFile,

  8/19/2013 Bepmi ~pload~ne vdune 2"Oy numht+Y'41ea to SRareFfle ede, wmpreased and zipped               !950
            ell'by wftneae" flks N preparetlon to add to the ShereFlfe eNs, recelveC errotteport on
             McWhoAer depoa farbundlas, wrreciad them end aenL to Jordai.

  6l2UI2013 Continued uplcada~p eli ualumes of"py number'Ilks la ShareFlle site,                           18.45


  6t211Y013 FlnL~hatl losAlnp ell volumes ot'by numbaf'end filaa to 3haroFBe alts,                         14.50
            granted etCeca is aA pertlen to new 3~ereFile folders

  G122l2013 HeceWod ell Group /2(ies tfam 3wden, wp~ed a9 f!e~ b hwd d[Ive, ueafed TdolOHetWr              75,75
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            and ondhp peps numhnraipr toter e~pdaNng o1 rcpom, rcCC~~ed o!! Ise ertd IoaU i~cs boor
            Iese~ca, caplea Uam in ~~ru AK~o anA began laaa~np lnrm into Tp artd o~ponlnp now
              de6lBngtion reports.

  6/237201    Mlahed bading Ise Illea krlo groups 10, 71 and 72 end ezparting desipnalion reports.          7.75
              weM d,rou0h all repod9 end updated tlfam 10 match up Q 8 A r~e~ and edE page numbers,
              zipped ell flee ens ema9lad !o Jordan t0 eeM1 to cG6nb.

  6R,8(lp13 Received new Group 13 transcripts and topled them !e my Iccel hard ddva, aeatac: ogw            425
            lases In Tdel6lrector for new depoa, iofldad all haw txt ffes IMo sew TD cases, hacked
            up case da(Bbgeel.

  829l201~Recelved eU{SS4~forgroupe 11,12 and i3.copied eC files ta!ocal herddrive and                          9.50
           hepan loading them Into TdelDlreclor.

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             emeltod thorn to JorGan Ia send to C11~nta, recuiwd error repaR on dea!gnaUwu, sent ertor
              repoM1 fo TO to Rx, reteWed nsw deslgnatlons anC wnacted In TD,re-esporleA deeipnation
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              For Pro1M81onel $ervFcee Rendered ~ io41:                                                    176,75




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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 65 of 248




Trled Consultant CG
C~~rtk MDL 2179




'Biel Name: MDL 2179

Date:      9130RQ13
                                                                                         ~{rs.
Date       Tria! Consuitir~q
                                                                                          20.00
  8/812013 Group'0 create bundles for deponents, Kenneth BhaHa.
           Vlctor Emanuel, Dswn Peyton end dames Wells .Process
           end create repoAa on 8!8 ~ 819
                                                                        B/i6             20.00
 811612013 Group 11 create bundles for deponerks, Paul Chandler,9115 &
           John Gledalr, Dgvld McWhort  er,John Shaughn  essy and doneSt~o n Sprague.
            Process end sash roporta
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  A122t2013 Group 12 create bundtaa for deponents Hugh Banon, Mfhary
             Stewart Ohs,Mark Hay and Kevin Kennelley.
            Prooese ar~d crests reports 8122 88123
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  9f29/2013 Group 13 create b~dlei for deponer~s, lanton t.awler, B136
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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 66 of 248




 Trlal CaueultanG BW
 Client MDL 2178




 Trial Nama: MDL 2179

 Da4e:       B~Of2013

 pate       Triai Consulting                                                         Hrs.
   672J2013 9undle 2: Group 7 Round 3: Harwfn, Leifer, Patterson, Htxibsr, Lehr       70.Q0
                      group 8 Round 2.Cameron, Neal R„ Gykhutrnn, Wsr~
                       Group 6 Round 1: Rose, Thlerer~e, Matke, Millar, Knox

   81812Q13 Bunke 2: Group B Round 3: Cameron, Neel R, fVerl E., Dykhulzan, Wang      4.W
                    Group 9 Round 2: Ross, Thlarons, Miller, Knox

  6118 2013 Bunke 2: Group 9 Round 9: Rose,Thlerene, Matice, Miit~, Knox              3.00




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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 67 of 248




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C118nt MDL 2179




Ttf~l Name;    iNDL 2179

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Dale          Tria! Cnnsulting                                       Hrs.
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    6!21!2013 Phase II Bundles: F.~dibll L.f~t Cratfon                  O.bp

    8,24!2013 Phue II Bundle: F~delbR LW Ciesfian                      4.00

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                Far Profna             cis               -Total:      43.OQ




                                                                   Exemplification_066
Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 68 of 248




Trlal Conaultar~ pg
CAard: MQL 2179




T~ia1 Name:      h~l.2179

Dais:            B~30f20'{3

 Dsta          Trial CansuN~a                                                     -- -     Hrs—._
     611DJ20i3 PN~p tl Bu                    Lit Crsetbn,lsadual hfphll~Mt~                   B.DO

     B/19/2013 Phase 11 Bundfea: Euhi6s Lit Cn~{on,tmodual hfghl{ghte                        8.00

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     621/2013 Phase II &uradtea: Eych16R FJet Creation, te~dual highlights                   6.00

     6/!412013 Phase II Bundba:Edit Llat Creation, twtival hl~hllyrib                        @.00

     8/26~i2~13 Pttsss II Aundles: F~ddbit L.lst Creet~lt, Eexltfe~S h4ghlSghte              8.00

     Bt28R013 Phase N Bs►ndbs_ Exh           Usf Creatbn,textwl hlphllghts                   B.OQ

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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 69 of 248




T~~ Cons~tan~ PF
Cnerd; MDL 2179




Triat None:    MDI.217H

Dp1e;          x13012013
                                                                              Hrs.
Oata          Triel Conauldng                                                    ?.00
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     e/ZeJZ018 Ph~es II Bw~dbs: ExhlbR LYt CreaUon,l6~dua! h1~Yphta
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     6M7l2013 Phase I! Bt~dtes: 6Qdbft Llst Cro~tton, 69~dual hlgh~pfNu                 8.00

     8l18r2018 Phase it BundYes: ~6R Llat Creatlon,qua!hlphtlphla                       8.00

     819 W2018 Phaw I I Bundles; Fxh~bR Lbt Creation, M~dual hlphll~Ms                  8.00

     8/20/2015 Phase II 8undbs: F~d~lbk Ust Creation, tsxbual hlphllph~                 B.Oo

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     8!24/2013 Pluaae 11 Bund~s: E~IbR orp~nlzatlon, dows~loeds, data man~ament         B.~J

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     6f2812018 Phaea II Bundles: E~ddbk orpantzaUon, doymloads, dah man~ament           6.00

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                                                                                                       Date ,.1113~3/2fl14
                                                                                                   invoi~e~# =lP."-.'934




I                       Biltab~~                                 Bib#ak~(~ T9me
j                       Group

                                                    5 GDS        Received hard drive of all Phase 3 d"epos from                         '150.001           ?50. 0
    9 Q/16J2(~`!4
                        CAN-TRIAL-                               Worldwide and begin going #hrough all folders for QJC
~                       SEFt                                     and #o amke sate ail files contained are it proper
                                        !                        'working order:
I                                       ~
                                                 '11.75 CDT      Can#inued tt~ go through at! folders and check video                   95i3:t3fl         1,762;50
    1 11 ~/~C~14
j                       ~flt~-TR1AL-                             and transerip# files. for accuracy and working artier,
                        Sift                                     began preparing fides frsr ttx~py to muifiple hard dives
                                                                 its anticipation of bundle work.

                                                  13.5 COi"      Continued #a review depc~s and began copying dspos                     '150.00           2,g25.Ofl
    9(312t312~14
                        CDN-TRIAL-                               fo e~cternal hard drive for space needs; began
                        SER                                      e~racting .#xt fines prior to 3oading into T~3.

                                                    14 CDT       Continue! to copy depos to external and moving .fic#                    150..00          2,100,Ofl
    90/21121314
                        ~G{~N-TRIAL-                             files from depos, began copying .tic# files from
                        SER                                      Transcripts and Exhibits faller. Backed up hard drive
                                                                 fog redundancy and backup protection.

                                                                  continued to exfract .txt files and began copying over        ~        15fl.00          '!,987,5fl
    1(112212{314                                 13.25 'CDT'
                        COi~1-TRlA!_-                             all e~chibits from individual folders in anticipation of
                        SER                                       crea#ing>a T~iafDirec#or case ale, began renaming
                                                                  exhibits fiQr ease.of use in TrialDi~ec#or aid far clien#
                                                                      ITlt81"dC~IQf3 Wi~~1 CaS2.



                                                                      Continued to copy exhibits to master exhibit folder and            150.fl{l            15U:fl0
        #0/23l2i~'!4                                 1 CDT
                            CC?N-~RlAL-                               continued to renam exhibits for loading into
                            SER                                       TrialDirector~ smailed WoridWitie for clarification on
                                                                      difference between .tact files in Sync folder and
                                                                      Transcript folder.

                                                                      Con#inued to go ifir~ugh exhibits aid load into                     1~O.flfl         1,762.5
        '~~123J21~14                              9'.1:75 CDT
                            Cflt*i-TRIAL-                             TriaiDicector, continued to load depos into Tridai
                            SER                                       Director and check for linking.

                                                                   Goritinued to load depos ar~d check forsy~ching,                       1.50.00          1,612.50
        ~0124120~l4                               9.75 CDT
                            GON-TRIAL-                             finished loading exhibits in#o Trial Directar ar~d began
                            S£R                                  ~ adding sha~tcvt id's for ease ofi use in tr'~ai.
                                                        ~        c                                                                  ~                 ~                i
                        I                                                                                                                 950.00 !         9,687Sfl
                                                  11.25 ~ CC3T   ~ Finished checking depos fog accuracy and linking,                ~
        'ifl/27/2fl14
                                                        ~        ~ continued fo add sha~tcut id's #o exhibi#s database for          1
    {                       CON-TRlA~-
                                                        j        ~                                                                  i                 j
    !
                                                                  ~
    ~                   ~                   aa          ~
                                                        I         ~                                                                                   ~_---------
                                                                                                                              Exemplification_175
                                                                                                                                                  1~Vfl~~~'
       ~         - Case 2:10-md-02179-CJB-DPC                                  Document 15835-18 Filed 02/08/16 Page 177 of 248
                    ~~                                                                           Date 1'(/3Qt;'~`~ i4
                                                                                             Invoice ~€ ~'NV93~+             -                        ~
                                                                                                                                 ~~i 5            ,~ji~a s1S.i~   _,_
                                                      ~~

                 SER                              !          ease.of use in tri ~ .

                                                                                                                                     15t7.C10(        1,312.513',
t~l28/2tl'#4                                  8.75 ' CC?T    Confinueci to add shortcu# id's t4 exfiibts database
                 C(~f~-Ti~1AA1-                              and copied changes to e~cterna( hard drive,
                 SER

                                                             t;ontinuecl to add sf~orfcu# id's #o exhibit database,                  15fl.Ot? }        1,762.5Q
'~fl129/2fl'!4                                11.75 CDT
                 GC)i~!-TRIAL-                               began prepping hard drive a~td TD for bundle
                 SER                                         ~esignaf~o~+s, backed up case da#abase to e~er~ai
                                                                 hard drive.

                                                                                                                                           ~ tr           .et tt
~ ~I2912~'14                      ~              4 JV          Trial Technology Consulting: PHASE Itl Dafa
                  GCJi~!-TR1AL-                              j ~rglupload ~18'!G8)
                  SEf2

                                                                                                                                         150.00 ~      '1,462.50
1013012014                                     9.75 CDT          Continued to add shor~cu#s to TD cia#abase,.received
                  C{~N-TRI~-                                     ir~structior~s #o access FX site fflr USt~fl,~, went
                  S~R                                            thfc~ugta lis# of dept~s and assigned o#her consultants
                                                                 depos #o work on,:prepped consultants for receiving.
                                                                 designations, backed up case database.
                                                             a
                                                                                                                                         15fl.~0 1         75(3.Ofl
 7~I3fl12t31.4                (                   5 JV           Trim Technology Consulting:PHASE il# Data
                  ~fJt~-TRIAL- #                                 orgJup(oad(181G8)
                  SEft                                       1
                                                                                                                                     ' ~ ~~                  of r~
 ~~13{?I2~14                          ~           2 ' BEN        C~ea#ed folder structure fc~r tria~dir~ctor ar~d deponen#
                  C(3N-TRIAL-                                    f~9ss, downloaded spreadshee# of assignrrtents for
                  S~R                                            depos, created tracking spreadsheet, saved to
                                                                 e~erna! drive.

                                                                                                                                          '!50,00 ~      1,762.50
  9Uf3112~'!4                                  1i.75 CDT          Met with cansul#ants fdr review of bundle creation,
                   SON-TRIA ~-                                    received designations far Rouc~d 1 duos at~d-serf
                   SER                                            ce}nsultan#s #heir corresponding,d~po designations,
                                                                  went through all desig~afions sent by parties ans~ spflt
                                                                  checked fior ac~.+racy, espied ail desigr~a~ions to
                                                                  external hard driue; began creating ISS flies ft~r impnt~
                                                                  info Triali3irector, backed up case database.

                                                                                                             t                               ~ ~i                 ~ ~~
  9~JI3112(~14                            ~        3 JV           Trial.Techrat~iogy Gonsuliing: PHASE 111 Data
                   C~~i-TRtAL-                                    orgluplcsad {181GB)
                   SER

                                                                                                                                          1~O.Ot3 1       7,6$7.5fl
  1(3/3~12fl'14                                'i 1.25 BEN       ~ t~ov~r~ioaded deponent files, saved #o files on hard
                   C0~1-TR1AL-                                     drive, created new #olders, created trialdirector case
                   SER                                             fior deponent's,. added transcripts to cases, saved case




                                                                                                                        Exemplification_176
                      Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 178 of 248
                  ~~                                                                                                                                                                Page 4 0~ 17

                                                                                                                        date 11J~flI2Q'14
                                                                                                                    tnv~~ce # [NV934
'                            ~   :~'f g~'" -              s"e _          ,,mo o. E~ ~
                                                                                            -~. .t . ~                       ,.      €i ,
                                                                                                               i.~s...._..~~ ._..
                                                                                                                                ter=£~3~.,                            `
                                                                                                                                                                   + ~.~r    _ ..   , ~! ~              ;  ~,7t
                                                                                                                                                                                                 ..~,:_--~-':
                                                                                 '""


                                                            fo e~cfernal dt~ve, QC'd cases and tra~i.:;.~ipfs, prepared
                                                            cases_


111112~1~                                   12.25 CDT       Receivetf a1i depo designa#ions and dis#ribu#ed them                                                       `l50.t10              ~.837:~0
                  Cf~N-TRIAL-                               fo the consultants, began converting the designation
                  SER                                       load fifes into #ormat that can be loaded into
                                                            Traii~irector, went though lead files #o search for
                                                            designation errors, made iis# cif errors and advised
                                                            consultants to do tFse same, began loading transcripts
                                                            into Trialfl rec#or, backed up case database.


111'12014                           ~        12.5 ' BEH       Confir~ued to work on bundles, cx3nvetted excel. flies                                                   'i 5fl.~0             '!,875.130
                  CON-TRIAL-                                  for irr~port, imported textfiles, imporked issue codes,
                  SER                                         created entire transcrtpf files, created issue code
                                                              transcripts, crea#eel pelf's, created fo(decs, checked
                                                              files vs designations,. made error sheets and searched
                                                              fi r solutions, sent error repor#s, filled out spr~adshes#,
                                                              zipped `fifes, qc'd w~rlc, saved to e~cfernal drive.


99J112i314                                   1$.5 A'~         ~2eceived iniiiai designations from respective.parties                                                    35 .00               2,7~~.~10
                  CAN-~i'R1AL-                                for deposi#ions. lmportsd Transcripts and ensure page
                  SER                                         numbers match up with native transcript files for the
                                                              fo9lowing deponents in trial director. (Vleir~hart, !'aul
                                                              ,lames; Herten, Atny ;Michel, Jacqueline; Miller, Mark;
                                                 ~            Morrison, Richard;fl'Donnei, A11an; Quitza~, Robert;
                                                 ~            G2uifzau, Robert; Rainey, David; Robsrtsor~, tVfike;
                                                               Lose, Marsi~ali; Saucisi~, Michael; Smith, Brian; S#rife.
                                                              S#uart; Bottles, Douglas;Taylor, Elliott; !#s1er, Mice;
                                                              V1lardlaw, Kirk; V~/a#son, James;Watson, Nick; Wilson,
                                                                  L. Duane


    11/2/20174                              11.75 CDT             Continued to work on depv designations, completed-                                                        150°.{3fl         1,762.50
                      COIF-TRIAL-                                 converting ioaci files to ass loadaiale files and began
                      SER                                         importing into Trialf~irector; began creating desigr~afion
                                                                  repor#s, backed up case database and copied all yew
                                                                  flies to backup hard drive.

                                               '(4 BEH            Continued to work fln bundles, converted excel files                                                      'f5f~.~0 ~        2,1fl0_D(l
    'i1/2l2fl94
                      ~~~-~R~/~-                                  ~flf lilljJO~, 1I1lfJOi~~t~ f@Xt'~t~£'S, l~13~OT"~~ I5Sl1G' CAC~E;S,

                      ~J~~              ~                         Cff:c~~E{~ 811~If@ ~Y8f1SCCt~~ ~~BS, Ct'L'~1t8~ lSStlE3 L'Afjt

                                                                  transcripts, created pelf's, created fc~(ders, checked
                                                                  files vs dasignations, made error sheets and ss~rched
                                                                  for solutions. sent error reports, filled out spreadsheet,
                  J                               ~               zipped files, qc'd work, saved to ex#ernai drive.          j                                                          1

                  ~                                                                                                                                           s                         I
                                        `                                                                                                                     'E                        E
3                 i                     ~            ~~       ~

(                      ~                                    j                                                                                                 ~                         t
                                   r                 ~                                                                                                        1                          ~                        ~s
i~.._._,__.__,.._..._..~~,._.-..T.Jf           ~. t       ~           ..._...~_.u,_.,..........----__.__.._,.,....~,.-..~...~_._..,,...~.~...—,.~   - _v~                                    _~_~~__
                                                                                                                                                            Exemplification_177
                                                                                      ~"1'1/t?1C#'
                       Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 179 of 248
                                                                                                                                                      rage 5 ~fi 17
                   ~.~~
                                                                                                        mate 11f3fl12(J14
                                                                                                    Invoice# 1r3V'.~3:
                                                                                             ~~.t 'r~    `_yt"~'y t   ``'T                                        ~,i~~,
                                                                'tea         ° ~ "Y5~:                                    ~T      '~ ~~~;             ~'~'~t
s      =                       ~~~ ~                                                  _...
                   ~          ~
                                                                  Converted and impt3rted ir~iti<:` design~.(i~,ra excel dies j            15t3.Ofl            2,5$7.5fl
'd'l12/2014                                       17.25 AT
                       CON-TRIAD-                                 infa Trial i~irector for dept~nen#s.Cvr~firmed each
                       SER                                        designation was properly imported for the following:
                                                                  Saucier, Michael; Smith, 8r[an; Stri#~, Stuart; Sui#1ss~
                                                                   ~ougias; U#sler, Mike. Vtilardtaw, Kirk; Watson, James;.                           ~
                                                                  Watson, N~dc; Wilson, L. Duane Also made note of
                                                                  input errors for Smith, Brian

                                                                  Continued #o work on bundles, loaded iss ffes in#a                       150.fl9             1,987.50
9'~1312fl94                           ~ 13.25 CDT
                       Ct3N-TRIAL-                                Tria60irector a~td producing designation reports, edited
                       SER                                        designation regorts, created sharefle site fiflr bundle
                                                                  team #o review,add work prod~cf and edit wt~rk,
                                                                   backed up case database..

                                                                  Continued to work on bundles, conveyed excel files                        150.afl             2,062.50
7113/21194                                        9 3.75 BEN
                       C(~N-TRIAL-                                for ifnport, imported text files, imparted issue odes,
                       SER                                        created er~#ire fr~nscr p# files, created issue code
                                          ~                       #ranscripts, created pelf's, crew#eel folders, chac4ced
                                                                   files vs designations, made error sheets and searched
                                                                  #or solutions, seat error repar#s, filled out spreadsheet,
                                                                  .zipped files, qc'd work, saved fo e~cfernai drive.

                                                                   Confiflued Converting and impQ~ting designation excel                    150.Q0 ~            2,$12.511
 ~ 1131204A                                       18.?5 AT
                       SON-TRIAL-                      r           files into Trial Director #or deponents. Confirmed each
                       SER                                         designation was. properly ~rnpo~#ed fior the fo9lowii~g:
                                                                   Miller,. Mark; Motrison~ R+~hard; U'Donnel, Allan;       1
                                                                   Quitzau, Reber#;Quitzau, Robert;      Rainey, David;
                                                                   Robec#sons Mike;. Rose, Marshall;i"aylor, Eliiotk Mach
                                                                       no#e of input errors.

                                                                       Continued #a work on bundles, converted exert €lss                    1513.0(7            2,25fl.Otl
     'f 1/4~209~                                     15 BEH
                           CO~i-'fR1AL-                                for import, imported #e~ek f~#es; imported issue codes,.
                           SER                                         created entire transcr'~p#.files, created issue code
                                                                       transcripts, created pelf's, created #alders, checked
                                              y                        files vs designations, made,error sheets and searched
                                                                       fior solo#ions; sent error reports, fiileci ou# spreadsheet,
                                                                       zipped files, qc'd work, saved to external drive.


                                                   71.75- CDT          Cantir~ued to create and cell# dspo bundle reports €or                'lS~.C~{l           1,762.50
     1914J2(314
                           CO~1-TR1AL-                                 Round 'I designations.
                           SER

                                                    17.5 AT          Continued t;onvertin9 and itnPt~rtin9 designation excel j~               15fl,~0            2,625.{?{
     19f4I2034
                                                                   ~ files into Tfiia! I3irectc~r for deponents. Confrmed each ~                          i                   ~
                           CON-TRIAL-
                           SCR        £                            ~ desig€aafion was prope~#y imported fior the fo!{owing:    ~
                                                                                                                                                          ~                   i
                                      i                 ~          ~
                                                                                                                                      ~                   ~                   ~
                                                                   ~                                                                  ti                                      4
                                                        1         ~                                                                                       d                   t
 ~                                                                                                                                     ~                  ~
 ~                     i                      j         ~         !
                                                                                                                                      }                   i                   S
                       E _.___...                       j      T ~                _                  ~~_.._


                                                                                                                               Exemplification_178
                                                                                      In~c~~e
                         Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 180 of 248
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                                                                                           Da#e ~!1/3t3/2~14
                                                                                       Invoice# WV934
                                                                                  ~ ,-. Y ~t
                                                                                           -                             ~ ti    •~.             .
a. -                            -%    A                e--               -~n                                                         L
                                                                         _. ~:'~~_ ~.._.5        _                              ,.'~~_.~1~~'~~~:~~
                                                       Meir~hart, Pain ,lt:~ ~~es;',Sertsr~, Amy '~1?chel,
                                                       Jacqueline; Mi11er, Mark. Mach note of input errors.
                                                       Segar~ exporf~ng dasignatiflns repots from Trial                                              _
                                                       Director fior the following deponents: Rabertson, Mike;
                                                       Rose, Mat'shali; saucier, Michae#; Smith, Brian; Strife,
                                                       Stua~#; SUtt~es, Douglas; Created bundle falders for     ,
                                                       deponents and impfl~ted designation excel sheef,
                                                       PD~s, and errata inta each respective folder. Ensured
                                                       each one v~ras named correctly fog consistency
                                                       purposes.


391512(774                                 13.25 SEH   Continued to work on bundles, ct~nverted excel files                     150.00 (       '1,987.50
                    CON-TF2IAL-                        for import, imparted #ext files, imporfe~i issue cads,
                    SER                                crea#ed entire transcript files, created issue Cade
                                                       franscrip#s;crew#eel pelf's, created foiiiers, checked
                                                       files ws designa#ions, made errar shee#s and sea~ct~ed
                                                       for solu#ions, sent error reparfs, filled oia# spreadsheet,
                                                       zipped files, qc'd work, saved to external drive.


 13J5f2~~4                                  6.5 .3V    Ti-iai Technology Consulting: Phase 1#i: Data                            150.()(3         975.00
                    Cfl~1-TRiA~-                       organizationldownload, exhibit copy, load and index
                    SEfZ                               creation


 '11I~12t~'!4                              92.25 CDT       ~ntinued to create and edit depo repor#s for Round                   15fl.00        1,837.5 3
                    CON-TRIAL-                             1, began going through completed bundles and do a
                    SER                                    line try line quality canfro! check.

                                             '18 AT        Continued exporting designations t~epo~ts from Trial                 9~.fl0         2,700. 0
       1915/2U14
                        CON-TF2IRL-                        Director for the following deponents: Taylor, Elliot#;
                        SER                                Utsier, Mike; Wardlaw, Krk;lNatson, James; Watson,
                                                           N9ck; Wilson, ~. Duane; Quifzau, Robert; Rainey,
                                                           flav d; Meinhart, Paul James; Mer#en, Amy;
                                                           Micf~e#,Jacqueline; Miller, Mar~C; Mor~isQn, Richard;
                                                           fl'Donnel, Asian Received correc#ions fog c99er+t and
                                                           sell#eel designations ftir #{ie following: Smith Brian,
                                                           Rabertson, Mike Received erra#a sheets tram client.
                                                           Put each one into respective folder. Quali#y-checked
                                                           designations a~+d made sure each frle flutputfed the
                                                           correct ii~et page numbers. Formatted each repo~f far
                                                           consistency purposes.

                                      ~     11.5 BEH     Continued #a work on bundles, converted excel files                     1fifl.00 ~     1,725.00
       '!1/6!2094
                      CON-TRIAL-                i        fof import, importer3 #e~ct flee, imparted issue codes,
                    ! SER        ~              ~      ~ created entire transcrip# files, created issue code
                    1
j                   i                           ;      ~ transcripts, created pelf's, created #alders, checked                             '
                                                s      ~                                                             ~                     `

~'s.                }                 i         ~      ~
~                   i                 !i        f
                    i                  3        !      E                                                             I
!


                                                                                                                   Exemplification_179
                                                                                                                        ~IlVOfC{
              Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 181 of 248
    ~:6                                                                                Daie 111341214
                                                                                                                           Page 7 of 17



                                                                                   Invoice ~r i^N934


                                               files vs d#;SlgnaGr~~ris, ni2.~e er~~i"sheets and SeaTC~iL'd
                                               for solutions,seat e~rar repots,fined out spreadsheet,
                                               zipped files, qc'd work, saved to eternal drive.
                                                                                                              i
                                                                                                                    e ~i              ~~
11/6/~Q94                         8.5 JV       Tria1 Tect~nc~logy Cpnsul#ing: Phase 111: Round 1 bundle '.
              COi~i-TR(A~.-                    download, designation file organization, errata shee#
              SER                              crflss-ref

                                                                                                                  150.00 j      4,875.t3D I
3116121714                        12.5 cDl'    Contanued to work an editing and running quality
              Ct3~l-TF2{AL-                    cQnttoi ors all cc~mplsted depo bundles, received
              SER                              inform~tior~ an error reports and i~cc3rporatsd
                                               CflffL'C~i0i1S lI7#O CtJtl1(J~B~~f] ~Uil(~~£S.


                                   ~~ air       r,~~n~c~ $ r~r~~~ ~~v~~~ a~ ca~~~~~,~~s ~o~~:                     a ~a.00 ~     Z,~~fl.~o
 ~rsi~t~~~
              CC)t~i-TR1AL-                      Quality-checked designations and made sure each file
              SER                              ' ou#pui#e~3 ire correct tine! page nurr~bers for the
                                                 following de~nenta: Conroy, Rabyn;Cross, iris;
                                                 Douglas, Margaret(Gafhy);Fc~lse, Laura; Gavin,
                                                 Roberf;Hanzalik, James ;Hein, Jana; Heron;
                                                 Rci~ard;Fiewe##, Larry; Higgins,:. Darnier~; Holek, C~a~rell

                                                                                                                  150.fl0 ~      1,80q:(lfl
'11171~~1~                         12 F3EH      Ci~n#inued to create bundles for depo's, cfea#ed load
               CAN-iRIA~-            ~          files, created iss fiEss tc~ cross re#erence the parties
               SER                              designations, created folders for deponent's,
                                                compressed comple#ed files.

                                                                                                                   1513.00 ~     2,145.fl0 j
 1917/~~~4                        14.3 CHG      Trial Tectanology Consulting
               GON-i"R1A~-
               SER


 11!7!21314                       ~,7~ JV        Trial TEchnology Consulting Phase 11i: Round 1 set-up,
               CU~ITRIAD-                        vac~rk#14w forms/assignments;data organ za#'ton
               SER

                                                                                                                   150.00 ~       1,3'i2.50
 9~I712(J34                   i    8.75 CD~f     Continued to go 'through c ompleted bundles for qual #~
               CflN-TRIAL-                       control, upic~aded additional files #o sl~arefile as
               SER                               reference for consul#ants workit}g on tfi~eir ~espec#ive
                                                 dapo bur~dies.

                                                                                                                    15{3.Ofl(     2,925.0{7
 11f71~014                ~        i9.5 AT      BtlNDLE REVIEW of Colleagues work:
                C{)N-TRIAL-                     Quai'tty-checked designations and made sure eaci~ file
                SEft                             outputted the correct line! page numbers for the
                                                following deponents: Howard,. Jofi~n;Huci~,
                                       ~         Nidc;Huston; Mark;Kulesa, Frank; Laferriere,
                                       I       [ Roger;Landry, Mary;Lubct~er~co, Jane;Lufon,




                                                                                                        Exemplification_180
                                                                                     ~'11fl1~
                       Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 182 of 248
                                         ~                                                                                                  Fage 8 of'!7
                   ~~
                                                                                                   ~7a#e 9113~~2~114
                                                                                               Invoice # iP~Vs34


                                                           Narry;Lynch, f, wl;;ir~;f,'~cGieary, Step(len;'r':t.,t+iulfy,
                                                           Sarah.


'('~f812fl94                                   70 8EH      Continued to work on bundles, conver#ed excef files                   15{3.00             1,5afl.Ufl
                   GQN-TRIAL-                              for import, imported text flies, imposed issue cozies,
                   SCR                           ~         created entire transcript files, created issue code
                                                           transcripts, crea#eel pelf's, crea#eel folders, cYaecked
                                                                                                                                            i
                                                           ~i1es us designations, made error sheets and searched
                                                           for solutions, sent error reporEs, fined out spreatisl~eet,
                                                           zipped flies, qc"d wo~lc, saved to external drive, sent
                                                           comply;#eel hies #o team lead, filled out the excel
                                                           spreadsheet, began to QC neuv #ties and cross check
                                                           all designafiflns against the load files and fhe                                 }
                                                           designation lists provided by the parf es.


91J8l~(3'[4                                    1t~ CF-1G       Trial Teci~noiflgy Consul#ing                                     1~~3.Ofl            1,5fl0.0(l
                   ~flN-TRlAL-
                   S~R

'11/8/2{314                          ~       9.75 Ci~T       Continued to run error checks for alt depo bundles,                 154.0{              '1,462.50
                       COIF-TR#AL-                         , received quesfians regarding depo bundle corrections
                       SCR                                   €ram o#tier consul#ants; reviewed other cc~~sultari#
                                                             bindle warlc #o make sure everything is being done
                                                             co~rec#ly, backed up case database and copied all
                                                             infiormation #o e~erna3 back up i~ard drive.


    11/8/2t11~4.                             12.25 AT          SLIND~E REVIEI+V ofi Cfllleagues work: Doubly                     950.flfl             1,$37.5fl
                   'CON-TRIAD-                                 checked reports formatf ng and names of eacta file
                   SER                                         were cor~ec#.


    '1'l~91~{l34                             14.25 BEH         Received new bundle files fo QC and complete, added                150.00              2,137.50
                       Gt9N-TRIAL-                             never toad flies to case, crea#s~i'sprea'dsheet to t~C.                                            ~
                       SER                                     crea#eel iss rtes to add to fioiders to QC, went through
                                                               each file and verified quality, tracked any ci~anges and
                                                               sen# fo Learn, communicated with team regarding any
                                                               issues, check each designation against the provided
                                                               lisf givers by parties, backed up drive to external drive,
                                                               created a back up file, compressed database; saved
                                                               €olders and compressed each deponent thy# #hs QC                                 l
                                                               was ~rnplete on into one file.


    141912{ ?4                                16.5 CHG         QC Phase ii9 Round 9 bundles                                       15~3:{l0            2,476.{70
                       CON TRIAL-
                       S~~               i           {
                                         I           ~                                                                                          fi
~                  ~                     I           ~     j                                                                i
1                  ~                     ~           i                                                                      '                   ~
                   ~                     ~           I     ~                                                                '                   j                     i
j                  4                     i                                                                                   3                                        s
                                                     i     (
                                         5           1     j                                                                 ~                  ~                     {




                                                                                                                           Exemplification_181
                                                                                    I'1fltCE'
                     Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 183 of 248
                                                                                                                                             Page 9 cif 17
               ~             ~       ~

                                                                                                t)ate 1 ~fl3flt2~~4
                                                                                            Invoice# 1NV934
                                                                                  `~                                                                   ~       'i
                                                                                                                                                   -          ~~

                                                                                                                                15t~~~                  937.`~~~
1~1~1~~14                                  6.25 CDT       ~;amplete~iin~#iGlqual~,ye~~n~rofcl;~ofbur~dl~sar~d.
                  COPT-TRIAL.- '                        ' re~eivsd bundles from consul#ants and up9oaded them
                  SER                                     #a the sharefi[e site for 2nd qua#ify cflntra check by
                                                            produc#ion depoartment. 'Wen# ttrrough bundles
                                                            received for spot checking.

                                                                                                                                1~fl.t30               1,537,5(3
111912fl14                                 1D25 A~"         SUtVDLE REV€EW of Colleagues work: Confirmed
                     CO I-TRIAL-                            errors of bandies and submitted findings.
                     SEFt

                                                                                                                                'iSfl.flCl             2,4430.00
'! 11'1fl12t~94                              96 CHG     ~ QC Phase #11 fZaur~d 9 bandies
                     CON-TRIAL-                         f

                     ~E~




                                                            QC'd bundtes, checked for missing or incorrec#                      'l5fl.fl0              1,,462.50
91/10/2094                                  9.75 SEH
                     Ct)t#}-TR(AL-                          designa#io~s, cor~ipaced repaets to par#ies
                     SER                                    designa#ions, eheckeci-for format# ng e~'~rs, changed
                                                            file names on bundles.t~ same format, sawed error
                                                            shee#, saved zipped files, saved to exferr~al driue.

                                                                                                                                 950.(?fl                37~.flt?
 7'~I9~1J2~314                               2.5 CDT        Began wflrking with production department on
                     CON-'f'RiA~- ~                         process fior getting bandies quality ct~nirol checked on
                     SCR                                    time and getting a list a# attached exhibits for parties try
                                                              view.

                                                                QC Phase Ill Round 1 bundles                                     150:fl0                2,625.00
 1'~J'~112~14                               1~.5 CHG
                     CON-TRiAL-
                     SER

                                                                                                                                 15fl.flfl '              45q.fl0
 14l1912fl14                                   3 8EH            Finished QC of assigned bundles, added new files fo
                      CoN-TRlI~L-                               zip files; created new error sheet, checked for errors,
                      SER                                       saved al! files.

                                                                                                                                  '150.~fl              2,475.~~
     11192~2~94                              16.5 CHG           QC Phase 111 Round 'i bundles
                         CON-TRIAL-
                         SER

                                                                                                                                  15fl.a0                 975A0
     91/1212£94                              6.5 Ct3T           j!t/or}ced with production team on setting up process foc
                         C()N-TR1A~-                            quali#y control and began assisting production in that
                                                                quality control cfiieck pfocess.                          ~
                         SER
                                                                                                                                                                    i
                                                            ~
                                                                                                                                   150.0(3                 675.00
     '!'l/13/2fl14                            4.5 JV            Tsai Tectir~oiogy Consulting: Phase 111: {Round 1)
                         SON-'TRIAL-             ~              exhibit lists merge, doss-ref to desig files
                         SER
                                                                                                                           ~                   ~                    I
                     I                 {         E          1                                                              ~r                  3
 ~                                     ~                    I
                     ~
                                       {         ~          ~                                                              f
 ~                                                                                                                         }}                  '
 1                                     !                                                                                   {                   ~                        4
                                                 f


                                                                                                                      Exemplification_182
         ~         Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page  184SCE?
                                                                                 ~ 1'i~/Q of 248
                                                                                                                                                                            Page 10flf 17
                               ~es
                                                                                                            £late 11/3~1201A
                                                                                                        Invoice # iN~/93~                                           ~,
                            .. .~~          ~,~_       ~ ,~                  ~ ~ -                   -t.--~ -~~ -s-                                 ~.                                    ~Y
                                                              ~     E'         ale    1                                                              ~~             ~~ rf         o
6.                                   _ R    is                                            > -r   ~      n     ~     ~          ~         ~
                                                                                            o

                                            7.5 Ct~7                6e~an working on ;~~;:!,eri~;g ~:'~I errata sheets for ~"                                  15fl,(l~           9,125.~iJ
19113l2t314
                   -CONTRIAL-                                       depo bungles. uploaded errata sheets to sharefile site
                    SER                                             and con#acted elie~f can missing errata sheets. Backe
                                                                    dup case database and copied all data updates to
                                                                    back up eternal hard drive.

                                           3.75, CST                Received error correc#ir~r~s from E3P and USDOJ and                                         950.fl0 ~             562.5
1111412 34
                           AL-
                   COQ!-TR1A                    ~                   incorporated them into their respective bundles.
                   SER
                                                                                                                                                      }
                                            5.5 BEH                 Downloaded new designations from parties, created                                 !         150.130                825.110
91!'l712fl94
                   CON-TRIAD.-                                      new #olders fear raund 2, trar~sfeted files ir+to folders,
                   SER                                              saved work to external drive.
                                                                                                                             1
                                           'i 3.5 GIST              Received Gounterdesigna#ionsfor all    depa  bundles     ~                                  150.(30           2,025.00
31/1712D14
                   C~t~-TR1AL-                                      from a1f par#ies, uploaded #hem to our sharsflie site so
                   SER                                              cansuttants can download their por~ians, began
                                                                    crew#ing depo designation reports for assigned           ~
                                                                     bundles.
                                                                                                                              1
                                           12.25 BEN                 Created new iss files from a!! excel load fries,         ~                                  15fl.~30             1,837:50 ''
19/9812014
                   CtJN-TRIAD-                                       compared iss files to excel flee, crew#ed new folders
                   SER                                               and organized Ehe.documents #or each deponent,
                                                                     gathered round 1 documents together for review,           ~
                                                                     changed name on file ft~r tables and load files For each
                                                                     deponenf, began #a load iss files into trialdirec#or,
                                                                         saved work to external drive.

                                           1(3.75 CDT                    Continued working on assigned bu~dies for Thursday                                      15fl.00              ~,612.~0
    99/181214
                       CflN-TR(AL-                                       deadiir~e:
                       SER

                                           13.25 AT                      Received counter-designations from parties.                                              15 .00              1,987.50
    1.1198/2fl14
                       CAN-TRIAL-                                        Converted and impt3tted designations into Trial
                       SEA?                                              director for the following deponents: Mein~iart, Paul
                                                                         James; Maven, Amy ;Michel, Jacqueline; Miller, Mark;.
                                                                         Morrison, Richard; O'Donnel; A11an; Quitzau, Robe#;
                                                                         Rainey, David Conftmed each counter-desig~aiion
                                                                         was irnpot#ed ~~ectly in trta! director.                                         ~


                                  ~              17 BEH                  Continued pr~c~ss of loading ss f#es and creating                                ~       150.00               1,650.f30
    11119l20`~4
                                                                         issue codes for each deponen#, compared issue,code                                                   j
                       CON-TRIAL- ~
                       SER        ~                                      designaf'rons to load flies given by pasty, er~o~ted iss                         1~                  ~
                                                                         files to campare to load files, made sure designations                           ;                   {                     ~
                   f                               ~
i                  ~                   ~           I                     were the same as fhe iss files, saved to eafernai drive.                         z
                                                                                                                                                          t
9                  ;                   s           ~                 i
                                                                                                                                                          ~                                         j
                   j                   ~           ~                 ~                                                                                                        2
1
                   1
1                  ~                   j           ~                 I
                                                                     c                                                                                                                  .._._.._,._.~.
                                                   ~          ....____~____~._,_~..        ~..~_~_.__K_____~..~_.___..._.__,..._......_.....T.~..__,..~......~.~_.._.._-__,___.


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                                                                                                                            1n~rc~ce
                  Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 185 of 248

                                                                                       ~~~Q ~~~~~r~t~~~
                                                                                  invoice ~~ I;~J"~~f~3~~



                                                                                                                   150:00          7511.00
~91!'l912~14                            5 JV        Trial Technology Consulting: Phase 111:(Round 1~
                  G~~1-TR1AL-                       desgr~afion issues {Bamfield, Bodek, Beirne,
                  SER                               8ucknall, Cross,. Nuch, Laferrier, Lynch. O't7onne1l,
                                                    Robertson, Smi#h)

                                                   'Continued ft~ work ot~ all assigned depr~ bindles and          150.x(3        2,fl62.50
1'!/1912fl74 '                       X3.75 CDT
                  CO~i-TR1A~- '                     began qualify control check,created a courtroom
                  SCR         ~                     mock drawing for Anadarko new consultant, backed up
                                                    case database and copied at1 changes to basic up
                                                    exfernal hard drive.

                                                    Resumed converting and importing                               150.(10        3,037.~fl
91139f2~14                           2.25 ~ A~
                  CC?N-i"R1AL-                      counter-designations into Trial director fior the ft~flowing
                  SER                               deponents: Robertson, Mike; Rase, Marshall;
                                                    Saucier, Michael; Smith, Brian; Strife, Stuar#;Sut#(es,
                                                    Douglas;Taylor, E1~iott; Utsier, Mike; Wardlaw, Kirk;
                                          1         Watson, James;Watson, Nick; Wilson, ~. Duane
                                                    Confirmed each counter-designa#iota was 9mparted
                                                    correctly in #riot direr#or. Began creating respective
                                                    folders fior each deponent. lmpo~#ed excel ar~d pdf files
                                                    into each. Also ,exported designation rspo~s for the
                                 ~                  deponents above.

                                                     Exported out word documents of each dement                     75fl.00        1,725.fl0
 '!112~12t314                    ~    '!'I.5 BEH
                   CAN-TR9A;L-                       containing the designations, formatked v+rord files and
                   SER                               added.page numbers, created new word flies of just
                                                     the designa#ions, car~verte~3 word files to PbF's,
                                                     t~rganized files by deponent, addad load flee and table
                                                     in#o folder con#aining designation entire and
                                                     designation pdfi, saved work to external drive.

                                         3 JV        Trial Technology Consulting: Phase 1l1: {Rocand 9)             350.Ofl          450:00
 '! 1/2a12fl'14
                   CON-TR#AL-                        Replacement files> i~C corrections {Barn~isld, 8odek,
                   SER        ~                      Bsirne, 8ucknali, Crass, Hoch, l~afen-sr, lynch,
                                                     O'Dor~neii, Robertson, Smith)

                                                     Continued to run quality coniral check on assigned             150.00          9,687.50
  1112fl12(314                        1125 ~ COT
                   GON-TRIAL-                        bundles, received bundles including counter
                   SER                               designations from consultants and uploaded to
                                                     sharefile s9te in p~eparatan of second quali#y control
                                              ~      check by produc#ion department.

                                                    ~ Exported cou~tsr-tlssignation reports for #fie following ~     15fl:fl0 ~     2,475:~a
  '!'~12fl/2~94 (            ~         9&.5 ~ AT
                                            I       i ~teponer~ts: Rainey, t~avid; Meir~hart, Paul James;      ~              ,
                ( CON-TRIAL- ,




                                                                                                            Exemplification_184
                                                                                     186 ofe248
                                                                                  t~rt~~c
                    Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page


                                                                                                  ~~te ~ ~~~or~o~~
                                                                                               Invoice # 1NV934


                    SER                                       Quitzau, Robert; t,',r:rte~, Ar~iy ;Mic~ted, ~a~queline;
                                                              Miie~, Mark; orrisc~~, Richard; ~'Uc~r~nel, A11an.
                                                              Ensured forrna#~ing was consis#ent with sacf~ report.
                                                              QC'd once more to confirmed na designation were
                                                              missing in report.


                                           1fl.75 8~H       Continued to sxpo~f wofd documen#s foam                   ~         '15t~.00 ~        'f,6'~2.~0
11J21J2~314
                    CON-TRIAL-                              Trialt3irector issue codes, createii ~evv spt'eadshee# to ~

                    SER                                   ~ Beep track of changes, crea#sd new folder for current
                                                          ~ word documents,fofmafited documen#s to ma#ch
                                                            transcript and added page numbers, QC'd work so far,
                                                              saved to exfernal drive.
                                                I

                                             'ifl CNG         QC Phase 111 Round 2 Bundles                                      150.fl0           1,5fl0:00
'f 1I21/2fl14
                    CflN-TRIAL-
                    SER

                                              4 JV            Trim ~'echno9ogy Consulting: Phase ili: ~Rour~d 1)                15fl:00             6f~0.fl0
11I21~2~314
                    COt~-TRlAi.-                              Replacement files, QG corrections (Bamfieid, 8odek,
                    SCR                                       Berne, 8ucknall, Cross, Much, Laferf er, lynch,
                                                                  U'Donnell, Robet~tson, Smi#hj

                                            925 CDT             Faund errors in round Z depo bundtes, contacted        ~         'i50.00           1,387.x(3
11l21l2~134                                                                                                            l
                    CC3N-TRIAL-                               t parties for cla~fication, received correc#ions and
                    SER                                         applied corrections #o cc~c~-esponding depo bur~dies,  !
                                                                                                                       I
                                                                uploaded new designa#ion reports #a sharefls s9te ar~d
                                                                worked wi#h production de~ar~ment team on deadlines
                                                                  and processing rflund 2 bundles.

                                               2 AT               Confirmed E~cce1 designations Files and Tables sen# by         15fl.00             300.fl0
 11129J2(314
                    CON-TRIAD.-                                   the c9ient for round 1 and PDF version are identical in
                    SER                                           regards to line! page numbers.

                                               9 SAN              continued work on Bundles, added new issue codes ~              1.50.00           1,35fl.00
'1112212014
                        Cflt~-TRIAD-                              to trialdirector, added new word documents to each
                        SER                                       deponent, changed file r~arraes to match structure,
                                                                  created new PDF documents of issue codes, saved all
                                                                  changes to external drive.

                                               5 CNG              QC Phase Iti Round 2 Bundles                                    150.00              75fl.t30
    '!'i/22l2fl14
                        C£~N-TRIAL-             ~                                                                           I
                        SER                                                                                                 ~


                            ~                  5(CHG              QC Phase !I! Round 2 bundle designations                  ~     35{3.(30 ~          75 :00
  3 9123I2l314 .
                                                ~             ~                                                             s              ~                     j
~              ~ CAN-TRIAL- ~
                                                    f         #
                                                              ~                                                                              ;s
                    1                  ~            ~
                                                                                                                                             t                   4
                                       ~            i         s
                    i
                    P                  #            I   ____!___--___—~__--__~..___.___ ._..___.._._~_ ._                   ~ ~____~~._                   ~_._J
I
                                                                                                                         Exemplification_185
                                                                               ~~'1VtJ1+CE'.
     ~          Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 187     of 248
                                                                                    '!3 cif 17                                 9'age
                      ~          +s
                                                                                                gate 11/3(312014
                                                                                            Invoice # tNV934


                ~~~


                                                                                                                        15fl.fl0           1,50fl.~i3
~ 9/2312014                                 10 BEH         Cc3n~i~ued work on bundles, created new files, created.
                CflN-TRiA~- ~                              new spreadshee#, worked on QC ch+~t~clis~, created
                SER                                        back up ofi fciaidirector database, campac#ed
                                                           database, messed ifie database tables and
                                                                                                                   i                                    `
                                ~                        ~ compressed fables, created new folders for QC
                                                           process, creat~ci iss files for G2C, saved to external
                                                          drive.

                                                                                                                        150.00               450.00
3112312fl'14                                  3 JV        Triat Teci~aology Consulting: Phase 11i:{Round 2)
                 GIN-TRIAL- ~                             exhibit list merge, desig issue {8eirnej
                 SE~t

                                                                                                                         15(3.fl0             225,flQ
11123t2fl14                                 1.~ COT       Received error report from production d~pa~rnenf,
                 CON-TRIAL-                               made corrections to depo and rs-sent new designation
                 SER                                      repor#s #o production team.

                                                                                                                         150.fl0            1,725.£0
111241214                           I       11.5 ~ CHG    QC Phase 111 Raund 2 bundle designations
                 CflN-TRIAL-
                 SER

                                                                                                                         150.0              1,312.50
 91124/2fl14 ~                              8.75 BEH      ~ Qc'd bundles and checked for accuracY an
                 CON-TRIAD-                               ~ designations, crea#ed all word documents and added
                 SER                                        page numbers, updated spreadsheet, continued fo 4C
                                                            bandies,.received new bundles to QC,sawed to
                                                           eternal drive.

                                                                                                                          150:{30              60fl.00
 1'1t24/2t~94                                  4 JV        Trial Techr~c~lagy Consulting; Phase 1!!: {Round 2)
                     CflN-TRIAL-                           Replacemsrrt files, QC corrections (Beirne)
                     SER

                                                                                                                          ~15fl.fl0          1,087.5fJ
 'I 112412014                     ~         7.25 CDC      'Continued to warlc with production departmen# on
                     Ct)N-TRIAD.- ~                        quality control check,. re~aived concerns from parties
                     SEFt                        ~         regarding timeline aid process and at#empted to
                                                           arrange a meeting time #or all interesfed io discuss
                                                               challenges ar~d soiu#ions.

                                                                                                                           15fl.00            1,3 0.00
  1912512t}14                   I              9 SEH      ~ Created new ~Iders for comple#ed bundles, continued ~
                     CON-TRIAL- ~                           to QC ail designations and fles, created script to run
                     SER        ~                           fot QC,forma~#ed word_ files in preparation of
                 ~                      ~                   et~nve~ting to PDF, added page numbers.#a
                                                            documents, con#inued to.QC documents, saved to
                                        3            i
                                                               external drive.
                                                                                                                                      ~I                    i

                                                                                                                                                            i
                 {                                         ~
                                        '            ~     ~
                                                                                                                               ~ _
                                                                                                                              ~~                            ~
                                        t            ~     ~

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                                                                                  n~c~~~e
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                                                                                                                             Page '14 cif 17

                                                                                        t}ate 19130IZC3'!4
                                                                                    Invoice # INV934


1Zl2512Qf4                              '!2 ~ CHG   ~ QC P1~ase 111 -round 2 bundle designa#ions
                   C{3t~-~'RIAL-
                   SER

11/25{2(114                              3 JV       ~ Tria! Technaiogy Consulting: Round 2: Comparing                '150.4fl i       450.00
                   COQ!-TRIAL-                        designation, QC Tria! air desig files
                                                                                                                                i
                   SER

19125/214                              13.75 CDT     Received all parties rebut#a1 designations {Round 3)            i50.(lfl        2,fl62,5(3
                   CL3N-TF2IAL-                      and uploaded them to sharefiie for consultants, began
                   S~R                               integrating round 3 designations into assigned depo
                                                     bundles.


1 '1 J2~12t114                         92.25 8EH     Downloaded Ri~und 3 Designations, created new                   '!50.00 ~       `1,837.50
                   Ct~,N-TR(AL-                      fioidets and cases within #rialdirector, crsa#ed new
                   S~f~                              folder structure, cxeated iss fles for designations,
                                                     QG'd iss files and compared to excel -excerpt load fle,
                                                     backed up database, cflrnpacted database, saved #o
                                                     eternal drive.

                                        11.5 CHG     QC phase lil round 2 bundle designations                         150.00 ~       1,725.~fl
11l26/2fl'i4
                   CC3N-Tf~IAL-
                   SER

                                          9 JV        Trial Techr~fllogy Consulting: Round ?J3~ Comparing             150.00          9,350_fl0
    1:3~261~i194
                   CON-Tft#AL-                        designation, QC T~ia1 Dir desig files, exhibit lis# treat+on
                   SER
                                                                                                                      ~'~,~„"'

                                          6 P,M       Tria1 Technology Consulting Round 213: Comparing                75fl.00 ~         90fl.Ofl
    'i 1126/2014
                    CON-TRIAL-                        designation, QG Trial Uir desig flies, exhibit list creation
                    SEft

                                        12.5 CDT      Con#inusd its created repc~r~s for round 3 depo bundles         150.00 ~        1,875.00
    `1112612fl34
                    CQN-TRfA~-                        and work wi#h consultants to speed up quality control
                    SER                               process due to short turn around time.

                                       '17.75 AT      Received rebuttal designations from pasties. lmpa~ted            15fl.(3(3 ~    2,662.50
    ~'~/26J2~14
                    CQN-VIAL-                         designations for the #ollowing deponents info Trig(
                    SER                               flirec#or: Wilson, Warcilaw, Uts(er, Robertson,
                                                      Qu~#zau, Morrison, Michel, Watson,(v3iller, Taylor,
                                                      Rose, Marten. Double-checked 1ir~elpage numbers
                                   s
                                                      designation ware imported coirectly. Expo~#ed and
                                                      formatted reports. Created €alders #or each deponent.
s                                  I                 ~ QC'd names, and formatting were consistent.
                                            i        ~ Submitted reports to Chad T.for #u~kher Quali#y




                                                                                                               Exemplification_187
                  Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 189 of'# 248
                                                                                                                                          Page 'I5flf 7

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                                                                                          lttvc~ce ~ lNV934
                                f                                            t
                                    -

                                                          (,~1G'G~Clfl~_



                                                                                                                                  1.50.(30            9U0.00
3 9127/2014                                  6 ' JV       ~T'rial Techr~olo~y Consulting: Round ?J3;Comparing
                  C()N-TRlAL-                             designation, QC Triat t3ir desig files, exhibit lis#creation
                  SER

                                                                                                                                  150.00             2,175.fl(l
1 ~127lZfl't~4                              X4:5 CDT      Completed depo bundles for assigned depos, and rats
                  CflN-TR#AL-                             quality control check,. received bundles fram
                  SER                                     consultants acrd uploaded all rebut#ai depo bundles to
                                                                                                                                             ~
                                                          sharefle.for download by production team, backed up
                                                          case database and copied. a1# data changes to
                                                           eternal hard drive.

                                                                                                                                  150.00             1,605.()0
1112~124'i4                                 1Q.7 ' CHG     QC phase i(1 round 2 bundle designations
                  CON-3"RiAL-
                  SER

                                                                                                                                   'I54.tli~          9,20(?AO
31J2812fl14                                   8 ~ JV       Trial Technology Cflnsul~ing; Round 2I3: Comparing
                  C{JP~-TRIAL-                             designation, C2C Trial fir desig files, exhibit #ist creation
                  SER

                                                                                                                          ~        350:0(3              375.flfl
 '~ 7/2812014                                2.5 AM         Trial Technology Consulting Round 213: Comparing
                                                            designation, QC Tria! Dir ciesig files, exhibit list creation
                   CON-TRIAD-
                   SER

                                                                                                                                    95(l.{l0            975.00
 9'l128/2~14                                 6.5 CDT        Received error repor# from production department,
                   CAN-TRlA,L-                              incorporated correcfio~s into depo bundles ar~d sent
                   SER                                      raew files to production, worked with prflduction on a
                                                            streamline process €or crea#ing a list of all depo bundle
                                                            exhibit list.

                                                                                                                                    150.fl0            1,425.00
 '1'if2912(3'14                              9.~ CNG        QC phase ill round 2 bundfe designafio~s
                       CtJN-TRIAL-
                       SER         ~

                                                                                                                                     150.0l~           i,275.fl0
  1'l/29/2fl94                                $.5 ~ BEH      Created new iss files and e~oried from Tria1[3irecto~
                       Ct~N-TRIAL-                           added new excel files to folders, crea#ed QC #ist,
                       SER                                   compared new iss files rto excel files given by parties,
                                        r
                                        {                    compacted database on all depo witnesses, saved
                   ~                                         work to external drive.
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  i 1/29/2{ 94                                 8 JV          Taal T~chnofogy Consulting: Round 213: Comparing
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                Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 190 of 248
                               .~                                                 date 11/30/2Q74
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9112912fl14                           'f CflT   Received cor~ectetl ~.~,ndles ~ror~i consultant and           1~o p~ 1      150.iT0
               COfi~-TRfAL-                     caploaded the new files #a the sharefile site and notified
               SER                              production.


9 112912014                           1 { AT    Updated counter- designations report.for Mieh~l,              150.0 1       1~i~.00
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               CON-TRIAL-                       agains# or~gina party designations, added r~evd pdf
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            Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 191 of 248
                                                                          Page 17 at 17
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                                                                                  as permi#~ed by state law.
~1rnc~u~ts pas# dine r~vill be subjec# to finances charges of 9.5°~a per mt~nth




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     Amoun# Paid




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 Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 192 of 248


                           IT1~+I'~'EI3 STATES DISTRICT C()I~~T
                           EASTERN DISTRICT QF L4i1L~►IANA

I~ re: {Jit Spill by the fliI Rig                          MDL NC1.2179
      "Deepwater ~ +~rizc~n" in tl~e Gulf
      of Mexico,can April.2fl, 2ff10                       SECTION J

Applies to. 1~-4536                                        JUDGE BARBI~R
                                                           MAGISTRATE JUDGE SHUSHA.1~7

                                              ORllER

                               [Re: i'e~ialty Phase inData Cosis~

       On flctaber 30; ZOi4, here was a tetepho~ie status conferec~ce. The U.S. raised the issue

off' the sharing of the costs of inData for ~3~ Per~aliy Phase far Lhe preparation of depc~sitiox~

bandies for submission lfl Judge Barbier. The U.S. requested that the inData costs be shared

ec~ualiy g ang Anadar~Co, BI'XP and the U.S. The defendants contend that the U.S. should pay

fifty percent of the inData costs and fihe rerziaining fifty percent shfluld be paid by Anadarko and

~PXP as they determine.

        After ccjnsideration of tl~e parties' arguments,

        IT IS ORDERED that the United States shall pay fifty ~erce~~t of the in~ata costs and. tie

defendants, BPXP and. Anadarko, shall pay fifty percent of the costs.

        The deadli~~e for any appeal of this _order is F

        I~te~v Qrieans, Louisiana, this 30~' day of Oc#




                                                              aJ13Ll~ Z .7i1iJ~Jill~1~1

                                                              ~lnited States Magistrate Judge




                                                                              Exemplification_191
         Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 193 of 248
                                                                                                                 invoice
             ~c~                                                                                                   Page 3 of 3

                                                                        Date 5/29/201v
                                                                    Invoice # INV9482


             Grou p




                                                                                                 Subto#al           29,392.36
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Amounts past due will be subject to finances charges of 1.5% per mon#h as permitted by state law.




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inData Corporation                                                                                                               ~,~
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      Customer CU14981:PRJ0001 8P fl...

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    Amount Due $14,696.18
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   Amount Paid                                         ~    ~ iR~ata Corporation     ~~.~,~~                            .~~.~~
                                                            ~ 225 E. Germann Road
                                                              Suite 310
                                                            ~ Gilbert AZ 85297




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                   Case 2:10-md-02179-CJB-DPC~, Document 15835-18 Filed 02/08/16
                                                                            _    Page 194 of 248
                                                                      `~                                                                        Invoice
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                           --~-       ~~                                                         due [late 5f29/2015
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           G1~~ ;Fi"~i i ~.:s~ir                                                           David 1131 :.:;;~~~,
           U.S ~J~art~ n ~ of Justi.e - Ef.'D                                              U.S. DeparT ~~rent of Justice - Ef.Rfl
           P.t~. Bo`~c 76                                                                  P.O. Bax 7611
           Ban. Franklin tation                                                            Ben Franklin Sta#ion.
           V~lashington DC 2QQ4476'i 1                                                     Washing#on DC 20044-7611




                                                                    Contact: David Mcllwain

                                                                    RE: BP Deepwater Horizon, MDL-2179 Phase 3

                                                                    inData Corporation Tax ID #:XX-XXXXXXX
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                                                                    Invoice Dates -April 1, 2015 -May 29, 2015
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            Case 2:10-md-02179-CJB-DPC
                        —~             Document 15835-18 Filed 02/08/16 Page 195 of 248
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                    CON-TRIAL_                         E Bundles, admitted exhibits by #.                         f
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                    CON-TRIAL-                           Penalty Phase New Exhibits, Phase 1 TREX
                    SER                                ~ annotated.
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    5/10/2415                    ~    8 5 i CDT        ~ Continued copying data from Sharefile site, Phase        ~    150.00 `       1,275.00
                    CON-TRIAL-            I              Media Bundles, Phase 2 bundles, Phase 2 bundles
                    SER                                  submitted to judge Barbiec                                             s
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               CAN-TRIAL-                               bundles and Penalty Phase media bundles.
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                    CON-TRIAL-                           completed drives to ensure everything was included
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    5/14/2015                         7.5 CDT          ~ Continued to make copies €or 3 parties involved in       I    150.00 "       1,125.00
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    5f15I2015 ~            ~          5.5 CDT          ~ Copied all data onto hard drive in preparation for       4    150.00           825.00 j
              ~ CON-TRIAL- ~             ',              shipping to Penalty Phase clients.                       ~                            I
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                                                                       Page 196 of 248
                                                                  age 1 cif 1




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                            EASTERN'DISTRICT OF LUUIS~, A

In re;(71 Spi~i by the C31 Rig                           I~~DL lY(4.21?9
      °~e~pwa~er Harizc~n"' in the Gulf
      of Mexico,o~ April 2fl, 201t!                      SECTi4 .T

Applies to; 1Q-4~3b                                       II1!~`i~
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                               [R.e: Penahy Ph~e inDafa Costs]

       On October 30, 2014, there was a tei~phone status cc~r~ference. 1't2e U.S, raised. the issue

~f the sharing of the eons of nData fir the Penalty Phase for the preparation of deposition

bundles for submission. to Judge Barbier. The U.S. requested that the inData costs be shared.

equally among Anadarko,. BPXP' and the U.S. The defendants contend ghat the U,S. should PaY

fifty percent of the inData costs and the remaining fifty percent should t>e paid by Anadarko and

BPXP as they determine.

       After consideration ofthe parties' arguments,

       IT IS OR:TJ~ERED that the United Sates shalt pay fifty percent of the nUata casts and the

defendants, BP~P and.Anadarko, shall pay fifty percent ofthe costs.

       The deadline for any appeal of#his order

       I~Iew gleans, Lauisiana, finis 3fl~' day of




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                                                                              Exemplification_195
          Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 197 of 248
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                                                                                                   ~J,~,
                                                                                                             Date 3/31120?5
                                                                                                         invoice # INV130




                                                                                                                                        Subto#at                                   14,669.95
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Amounts past due will be subject to finances charges of 1.5% per month as permitted' by sta#e law.




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         Invoice # 1NV13fl9

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   Amount Paid                                                                                  inData Corporation
                                                                                                225 E. Germane Road
                                                                                                Suite 310
                                                                                                Giibett AZ 8297




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            Case 2:10-md-02179-CJB-DPC
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                                       Document 15835-18 Filed 02/08/16 Page 198 of 248
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          225 E. Germann Road            , , , , . ~'r'                  ~_                          date 3/31/20 5
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          Gilbert AZ 85297                 ~~'~ ~~~                       ~: ~~            2~;~
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    U.S. ~e r artment of Jus#ice - EtdRD                                       6       U.S. ~spartmer,t of Jus[ice - ENF:D                             j
    P.O. Box 7631                                                                      P.O. Sox 7611
    Ben Franklin Station                                                               Ben Franklin S#anon
    Washington DC 2fl044-7611                                                        ~ Washington DC 2fl444-7611 ~                        ~~




                                                               Contact: David Mcllwain

                                                               RE: BP' Deepwafer Horizon, MDL-2179
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                                                               Phase 3



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                                                            invoice Da#es -March 1, 20'15 -March 31, 2015'
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    3/7f2015                                  AT           'Supplies -Billable: Anti-Staff r Bubble wrap to protect                            32.97
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                                                            hard drives when shipping; labels
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    3/7/2095    f                             AT           ~ Supplies - Billable: 3x Hard I~riwes for parties                               221.24
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    3/26/2015   €                             CDT              Supplies -Billable: Hard Driues for final Evidence and                       697.28
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    3/6/215     ,              ~~~I~1                          Reviewed parties requested edits of final trial evidence        150.00 I     337.50
                ~ CON-TRIAL- s                                 and deposition bundle hard drive. Coordinated with J.


                                                                                                                Exemplification_197
            Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 199 of 248
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                                                                                         Date 3/39!2015
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                     SER                               Vindi~la!-:i~,;ta Employee)to pracess fur#her
                 ~                          ~        ~ password protected documsntslexhib'rts requested' by
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     3/7/2015                    ~ 10A... ~ AT       ' Went to Cosfco and Staples to purchase supplies                150.4           1,512.50
                     ~CJN-TRIAL- ~                     Hard Drives,. bubble wrap, and labels). Arrived home
                     SEft                            ~ and reformatted hard drives. Began applying parties
                                                                                                                               i
                                                       edit requests to master hard drive. Confrmed
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                                                       password protected documents were in working order
                                                       and opens when called.
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     3!8/2015                     ~    13.5 ; A~`    ~ Corttir~ued mirroring master final trial evidence and          15(1.00 =       2,025.04
                 { CON-TRIAL                         ;deposition hard drive to 7 hard drives and local
                 f 5ER            ~         ~        ~ machine.
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     3/9/2fl15   ~            ~ 14.25 AT             ~ Final quality check ofi hard drives fo confirm proper fife 6   150.00          2,137.50
r                ~ CQN-TRIAL- (      ~               ~ structure and parties requirements are met. Created
                   SER        ~      €               P labels for hard drives being shipped to the Court and
',               ~            (      4               ~ parties. Went to Fedex to print out labels for shipmen#s
f                                    ~                 and hard drives. E-mailed parties with tracking
                                                       information
                 i
     3/25/2015                         2.75 ~ CDl"   ~ Received request for Huch and O'Donnell depo               ~   150A0             4'i 2.50
                     CON-TRIAL.-            I        ~ bundles to be submitted, downloaded depo bundles                        i
                     SER         r          ~        ;and prepared far copy to all parties and court.
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'. 3/26/2015                           5.75 CDT      ~ Go# Clarification that parties and court need new hard         150.00 ~          862.5fl I
                     CON-T121AL- ~                   ~ drives with all data including supplemental depo       ~
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                     CON-TRIAL- ~           ~          and parties for Monday arrival,
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Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 200 of 248
     Case 2:1..0-md-02 .79-C~      -SS Document 13580 ~~led 10/3011-. Page 1 of 1




                           ITNITED STATES DISTRICT ~4URT
                           EASTERN DT TRIC'I'OF LOUISIANA

In re: mil Spr~l by the Oil Rig                             DL IYU,2179
      a~eepw~t~r I~c~r~c►n~ in #be Gulf
      of Meg ce►, on April 2Q,2010                        SECTION J

Applies to: 10-453G
                                                          ~~~~f' ~ ~C7 ,J Ili 11              :t   .a~

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                               [Re: Penal#y Phase inl3ata Costs

       4n Octaher 3U, 2(114, there was a ~lephane stains conference. `~"he U.S. raised the issue

cif the sharing of the casts of ini~ata for the Penalty Phase for the preparation of deposition

bundles for sub~r~nasson to Judge Barber. The U.S. requested that the inI~ata costs. he shared.

equally among Anadarko, BPXP aid the U.S. The defendants contend that the U.S. should pay

~ft~ percent of the inData costs and the remaining fifty percent. shoald be paid by Anadarko and

BP~P as they determine.

       After consideration flf the parties' arguznen#s,

       IT IS ORDERED that the ITnited States shall pay fifty percent of the nData c~s#s and the

defendants, BPXP and Anadarko, shall pay fifty percent ofthe costs.

       The deadline far any appeal ofthis order

       New gleans, Louisiana, this 3{~~' dad of




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                                                            Un#ed States Magistrate.Tudge




                                                                                    Exemplification_199
        Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 201 of 248
                                                                                                                I •

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                                                                                    _ ~~ _"~~--~               Page 17 of 37


                                                                    Invoice # 'dV1~:';Z




                                                                                               Subtotal          187,:432.$2
                                                                      Discoun# Item {DISC-Cl~NSt1LTtNG)          -93,716.41

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                                                               Credit Card #:
                                                               Expiration Date:    Month        Year
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      Cus#omer CU14981: PRJ0001 BP d...
       Invoice # INV1032

    Amount Due $93,716.41                                       Make Chec4cs Payable To:
   Amours# Raid                                               i inData
                                                                225 E. Gerrnann Road
                                                                Suite 310
                                                                Gilbert AZ 85297




                                                                                       Exemplification_200
             Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 202 of 248

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        J225 E.~ermann Road                            `.
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         Suite 310                                     "  ~y
                                                        q{}   ~                                     ,                Invoice # INV1032
         Gilbert AZ 85297                              LU~~~U~                        1;i
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                                                                                                ~':
                                                                                                                        Terms
         {4$0} 4~7-8596
                                                                                                                     due Date 12131!2014
           F'cmi=l ~-' ~~~~
                                                                                                                       Project CU14981:PRJ0001 BP Deepwater Hori...
                                                                                                                           Pfl



   Davis Mc~i.vain                                                                                       6 L/QVYI~} IY~4'~IYMQ.~

   U.S. Departmer ~t of Justice - ENRD                                                          (        g U.S. DepG~ trnent of Jusfice - ENRD
's f?Q. Sflx 7617                                                                                            {~.(J. gflX 7~i"~'~
   Ben Franklin Sts#ion                                                                                      Ben Frankl€n Station
   Washington DC 20f~44-76T 1                                                                                Washington DC 20044-7611
                                                                                                         l


                                        i     __
                                                                   Contact: David Mcl!~~aairo
                                        t
                                                                   RE:BP t~eepwafer Horizon, MIL-2178 Phase 3                                               ~                  f


'.                                      €                          inDafa Corporation Tax !D #:XX-XXXXXXX                                                   Stp
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                                                                        ~y-

                                                                   Inva~ce Dates: C3ecember 1, 2014 -December 31, 2014

                  CON-TRIAL-                  64                   Trial Technology Consulting                                                                         150.00 ~      9,60fl.00
                 ~SER
                 6                                                 Tammie Erickson
                 f                                                                                                                                                               k


                  CON-TRIAL-                43.25                  Trial Technology Gonsu1#ing                                                                         150.00 ~      6,487.50
                 USER                                                                                                                                        t
                                                                   Crystal Graham
                                    I
                                    '€,
                         CON-TRIAL- j         12                  ~ Tra( Technology Consulting                                                                         150A0         1,800.OQ
                         SER        f
                                                                       C.Thompson -Sept Hearing
                                                                                                                                                                              I
                         Subcontracto              1                   C.Thompson -Sept Hearing                                                             !          588.61 ~        588.61
                         r - Cadging
                 S


                 3 Subcontracto                    1                   C.Thompson -Sept Hearing                                                                        113.91 '         113.91
                   r -Meals

                   Subcontracto                    1                   C. Thompson -Sept Hsaring                                                                      1,369.40        1,369.40
                 i
                 °r-
                   Transportatio

                     I                                                                                                                        e                   f

                         Billable                                      Sifiable lfems                                ~~ ;~~ :,u
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     12/612414                                 32                      J Andrade - Triet Consulting,.                              . ~ ..~ =.~ ~"~'i,~~U {{            150.00         4,800.Ofl €
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                                                                                                                                                  Exemplification_201
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        Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 203 of 248
                  ~
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     ~~..                                                                                  Date 17J31}2014
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                                                                                       invoice ~ INV': ~~32

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                  ~'ubcontracfc~
                  r Time - Tre                                                                                                                      6
                  Consultan#s                i                                                                                                      i
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 ~2{J/2fl14                             59              J Andrade -Trial Consulting                                    150.00           St V~V.~V f
                  8ubcantcacto                                                                                  fI
                                                                                                                                 I
                  r Time -Trial
                  Consultants
                                                                                                                i
                                                                                                                                                    I
 J23/Z014          Equipment            1j              Courtroom Equipment 12/15/14 -1115/16                         7,990.02          7,99Q.02 ~
                  Retlt8l                    j                                                                                                      i

                   End of                               Total Billable Items                                                           21,64Q 02
                  Group

                                             Epp
                  Billable                   E
                                                        Billable Expenses
                  Group                      r
                                             i

12/28/2014                                         JR   Meal -Billable: Dinner with G Helt                                                 72:OQ
                                                                                                                 i

12/28/2014                                              Transportation -Billable: Home to airport                                          $Q.00
                                                                                                                 i,                                 z
                                             ~~~
12/30/2014                                              Transportation - Bil1'able: Airport to Home                                        80.00


12/30/2Q14#                                             Transportation -Billable: Airfare                                               1,154.20
          i
                                                                                                                                 6
12/30/2014 j                                            Meal - 8ifable: Lunch                                                                9.42
              i

12/29!2014 E                                 ~JR        Meal - Blfabls: Lunch with C Helt                                                  35.52
                                                                                                                                 b
                                             k
              i

32/28/2fl14                                  RJR        Meal -Billable: Dessert                                                            14A0

1212$/2(114                                        JR   Transpor#ation - Billable: Cab from airport to hotel                               40.00
                                                                                                                                 {
12128/20'14                                        JR   Meal -Billable: Breakfast                                                            8.98


12/29/2014                                              Mea!- BiYlable: Breafcfast                                               C         25.00
              6                                                                                                                  I                  }

12!30/2014                                         JR   Transportation - Billable: Taxi from hotel to airport                              40A0

              i
42/12/2Q14                                         AT   ~'ransporta#ion -Bitable: Airfare To/From New                                     626.47
                                             i
                                                        Orieans,LA

1211'2/2014                                        AT   Transportation -Billable: Cab Fare from A.Termonfils                                23.6$;
                                             t          residence to J~K Airport
              9




                                                                                                          Exemplification_202
                   Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 204 of 248
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                        D..~.                                                                                              Page 3 of 47

                                                                                                t1at~ 92i'",2Q1~#
                                                                                            Invoice # iiv':'1a32
                                                                      ,.

                        i

     12/72/2~ I4 I                                  ~`T       Transportation - Bi"able: Gab Fare Born MSY Airport                35.00
                                            s

                                    1                         to Hate(
                        i

         121'# 712414                               AT        Mea!-Billable: hunch for A.Termonfils                              3'1.34


' 12/37/2014                                        AT        Transportation - Billable: Transportation from                     40.00
                        i
                                                              Homewood Suites Hotel to Airport
                                                          P


         1217/2014                                  AT        Trar~sportafion -Billable:Transportation from JFK                  24.22
's
                                                              Airport to A.Termonfils residence
a

         12!14/2014                                 AT        Meal -Billable: Breakfast for A.Termonfiis              `          12.69
                        s
                                    E
~ 1 2/1412014                       I               AT        Meal -Billable: Dinner for A.Termonfils                            24.42
                                                          i
         12/15/2414                                 AT        Meal -Billable: Lunch for B. Harper and A.Termonfiis               49.61
                                                                                                                      i
         1 2/1 612014                               AT        Meal -Billable: Luneh for B. Harper and A.Termonfils               48.49
                                    {
         12f16/2fl14                                AT        Meal -Billable: Dinner #or A.Termonfls                              15.35
                            g
                                    f                     I
         12/14/2014 y                               AT      Transporta#ion - Billable: Transportation back to Hotel                $.~J~ '
                                                          i
                                            j               from Breakfast
                                                          i
                                    i
         12!15/2014                                 BEH       Mea! -Billable: Breakfast                                            4.47
                            s

         12114/2014                                 BEH       Meal - Billable: Water                                               2.73
                            Fp
                            1
                                        t

         12!77/2014                                 BEH       Transportation -Billable: Round trip Fligh#                      1,131.20
                                                i
         12/17/2014                                 BEH        Mileage -Billable: From SLC Airport                                51.52


     ~ 12/14/2014                                   SEF        Mileage -Billable: to SLC Airprot                                  51.52

                            I           E
         12/14/2014 !                               BEH        Meal -Billable: Breakfast                                           4.1(l
     s
                            E
         ~ziz~~za~4                                 BEH        Lodging - Billable: Motel 12/14-12/21                           2,30521
                            2
     s                                  F

     E '{ ~/"~ 7~Za'~4 f                            BEH       Transportation -Billable; Airport Parking                           54.00
                                1

         12117/2Q14                                 BEH        deal -Billable: Dinner                                             10.80


          12/37!2014                                BEH       I Meal -Billable: lunch                                              9.45
     i
     E




     i                                                                                                         Exemplification_203
               Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 205 of 248
                                                                                                                                           I rtv4'tce
                    ~.                                                                                                                             Page 4 of 17

                                                                                                    Date 12/31.'20"4
                                                                                                invoice ~ iN`.' 1 132


    121'1.'/20 14                              ~ ~LN             T:~nsportaton -Billable: Rey <,'~ ;ruck                  j              ;              336.23
                                               I
    1211712fl14                                        BEH       Transportation - Billable: FueP for rental ear                                          13.32

                                               ~             [
    12116(2f}14 1                                      BEH   ~ Meal - 8illab+e: Dinner                                                                   43..43
t                                                                                                                         E



~ 4.211512014                                          BEN       Meal - Billable: Dinner                                                                 19.33

                                                                                                                                           f
    12/14/2014                                         BEH   ~ Meaf -Billable: Lunch                                      f                              15.71

                                                                                                                          I
    3212312014                                         CDT       Lodging - Billable: Hotel in NOLA                                                     2,305.21

                                                                                                                          t
    12f30f2~14 4                                                 Meal -Billable: Breakfas#                                                               23.Oa
                                                       ~~
                                                                                                                          ~                s
    12J29/2014                                 ~CH           i Meal - Billable: Dinner                                                                   43.OG
s                                              t
    12/2812014                                                   Tfansportation -Billable: Airline Ticket                 ~                F            638.20
                                                       ~~
{ 12/29/2014                                           BEH       Supplies - Silla6le: Exhibit Hard drives                                               224.9f


                            ..                                   Total Billable Expenses                                                               9,785.$£
                                               ff
                    I Group

                         Billable                                Billable Time                                                                 I
                         Group         ~
                                                                                                                      €                        ~
    10/16/2014                         ~ 12.75 JR            ~ Trial Technology Consulting -purchase hard  drives.    ~           150.00               1,912.5t
                    ~ GON-TRIAL-                             j Retrieve da#a and download to ofher drives. distribute
                                                                                                                      4
                         s~R                                 i to consultants.
                    k                                        j

    1 0124/2014                            7.25 ~ JR         ~ Trial 7echnalogy Consulting -copy transcripts and data (           150.00               1,087.51
                         CON-TRIAL-                            to new hard drives and begin loading da#a #ar bundles.
                         SER                                 I
                    }t                                       i
                                                I
    1211!201..4 {                           9.5 y BEH            Created new case for deponents, added new                 ~      150.00               1,425.0(
                         CON-TRlAL-                              transcripts to case, created new ss files, saved files to
                         SER                                     new folders for deponents and round 3, QC'd iss files
                                                   I             againsf designations from parties, compacted the
                    s                                            database, created back up of database, finished
                                                                 creating cases for abou# half of deponents and saved
                                                                 to externaf drive.
                                                                                                                           i
                                                                                                                              i
    12/1/2014                              6.25 CDT              iNorked with production team to get depos qua4ity       f        'l5Q.OQ ~              937.5!
                         CC)N-TRIAL-                             control check done by deadline, arranged conference                               i
                         SER                                     cal#with parfies regarding inData duties during Penalty                           r
                                                                                                                                                   r




                                                                                                                  Exemplification_204
                Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 206 of 248
                                     ~~'                                                                                                                       I nvc~ice
                     ~'.~                                                                                                                                          Page 5 of 1'7

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                                                                                                          [Invoice ~ #NV1 _~,32
         ,_                                                                                                                                              _—
                                                                               r'l;ase a€ tria..
                                          E

    12f1f2014 I                      ~                  5 ~ JV        ~ BP Phase l(I-Round 2/Rflund3: Comparing                      ~                150.0                      750.00
                          CON-TRIAL- s                                f designation, QC Trial fir desig files, exhibit list crew#ion                                                       a
                          SER        ~                    ~           ~
                                                          I           f
                                                                                                                                         ~                     ~                           '<



                                                        9 ~ FF        j BP Phase 1!I-Round 21FZound3: Comparing                          ~            150.00 ~                  1,35Q.00
    12!1/2014 k
                          GQN-TRIAL                                   I designation, G2C Trial Dir desig files, exhibit list                                   ~
                                                                      ~
                          SER                              €            creation (QC)                                                                                                      ~
                                                                                                                                         i
                                          E
                                                                                                                                         $                     ~
                                                                      ~
                     f

~ 12/2/2g14                                           1125 BEN        ~ Continued to create new cases for deponents round 3, r                        150A0                     1,687.50
                       CQN-i'RlAL-                        ~           ~ created new iss files, created new excel spreadsheet, ~                                k                            C
                     ~ SER                                ~           ~ Qc'd new iss files against designations by parties,   ~                                F
                                                                      ;compacted new case databases, added new folders
                                                                      :for the created cases, saved to external drives, saved
                     ~                                                  back up of case.                                                                                                        E
                     a                        ~                                                                                                                                                 I
                                                                      s                                                                   ~                    ~
~                    `t                       3            ~
                                                                                                                                                                                 787.50
        12/2/2014 ~                           ~       5.25 ~ CDT      ~ Received exhibit list from production, went through list j                    150.00
                             CON-TRIAL-                    ~          ~ to ensure it was aceura#e, sent list to parfies and
                             SER                                      ~ received info from parties regarding exhibits not        ~                                 ~
                                                                        included, explained process for designating exhibits     ~                                                              E

j                                             ~               ~         not men#ioned by name in fhe depos.


        '12/2/2014                                       8 JV               BP Phase H!-Round 2/Round3: Comparing                         ~           150.00                    1,200.00
                         ~ CON-TRIAD- ~                                   ~ designation, QC Trial Dir desig files, exhibit list creation.
                           SER        f                        ~          ~                                                               4
                                                                                                                                             E
                                                                                                                                                                   i

        12/2/2014                   '                  9.5 PF             t BP Phase III-Round 2/Round3: Comparing                           ~        15fl.00 j                 1,425.00
                           CON-TRIAL ~                                      designation, QC Tria! Dir desig files, exhibit list
                         i SER       €                         g          ~ creation(QC)                                                     f                                                      s

                                                                                                                                              g                                                     t
                                                               I          ~~
    i                (
        12/3/214 ~                       ~              10 ~ BEH          ~ Added tjct files to new eases for round 3 deponen#s,                      150.Q0                    1,500.00
    ~                         CON-TRIAL- ~                 ~              j created new back up folders, checked all transcripts of ~                                  ~                            s
                              SER                          ~                new eases against tact files to ensure accuracy,.
                                                  f        ~              ~ reformatted some of the text files so that page
                                                                          #numbers and #ext would show up correc#ly in pd#           g
                         i                                 ~
                                                                            documents,    saved  work to back  up and external drive q
                         ~                                        ~       ~                                                                                                                         i
    t
                                                                                                                                              j                        k                            ~
    4                                             ~               F

        1213/2fl14 ~                   ~               4.75 ~ CDT         ~ Continued to receive requests from parties regarding              1        15fl.00 ~                  X12.50 f
                            CON-TRIAL- ~                                  ~ additional exhibits #o be linked to the completed depo
                            SER        ~                          ~         bundles, worked with production io get Chase exhibits
                          g            ~                          ~         and ensure accuracy in where they are attached,
                          ~                                                 backed up case database and copied changes to
                                                                                exter~a( hard drive.


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    s
                          r                                                                                                                       s
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                                                                                                                                  Exemplification_205
        Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 207 of 248
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                                                                                        Invoice #~ l~v`i10~~
                 ~               ;: ;;.          .~

~I"`~~, 14                  ~             6~U'~~        ~r~'ia~~~1'i         ;'r.texP~iri:~&€~~~~~<~reference                15G0=?           900.Q4
  L.`v     ~ CC3P1-'TR1~;L-                 ~         (v~ I n #r~~~scripttext, :ink to associated
             SER                                       files/designated area. Upd'afed missing exhibit files.
                                            {

2/3/20'!4 ~                          8.71... ~ PF       8P Phase I1!-Round' 2/Raund3: Ct~rnpa~ng                             150.fl0 ~       1,307.5{
                 COt~-TRIAL-                          ~ designation, QC Trial t~ir desig f+[es, exhibit list
                 SER         ~              j           creation (QC)


12/4/2fl14                   q 13.25 BEH              ~ Loaded eac#~ deponent case and rr~ported %ss #ife,          ~        150.O0          7,987.50
               CON-TRIAL-                             ~ checked issue codes in TrialDirector and compared to
             [ SER        ~                  ~        ~ designs#icon C%sfs, Qe'd each designation for each
             j            ~                  ~          deponent, created new word documents for the first
                                                        3rd of deponents, saved is e~erna{ drive and creafed        °
                                                          back ups.

C2f4/2~14                              3.25 ~ CQT     ~ Received info on BP highlighted exhibits sent but not                ~50A0            487.50
                 CON-TF2IAL-                ~           designated, continued to work. with parties on process
                 SER         ~                          for designating exhibits that are discussed. but not
                                                        designated, worked wi#h production an getting this
                                             E        ;done accurately and timely.
                                                                                                                    E
12/412014                                 10 ~ JV     z BP Phase lil: Highlight exhibits &errata reference          g        150.4 i,        1,500.00
                 CON-TRIAL- ~                s        ~ within transcr"spf tex#, fink to associated
                 SER        ~                ~        ~ filesldesignated area
                                             ~        ~
12!4/2014                                  9 ~ PF       BP Phase ti: Highiigh# exhbi#s &errata reference                     150.fl0 ~       't,350.fl0
                                                      ~                                                             ~
                 CON-TF2IAL-                            within #ranscrpt text, link to associated
                 SER         ~               1        ~ files/designated area                                       '
             f                               ~        Y



121512034 ~                 ~ 12.75 CDT               ~ Received objections and summaries from al'i parties                  150.00 #        1,912.50
                 CON-TRIAL- ~                         ~ and began going through them to add to each depo                ',
                                                                                                                                         s
                 SEF2              s                  ~ bund3'e, up#oaded ail depo bundles to Sharefile site,
                                                        ebgan working on adding
                                                                                                                                         }
12f5/2014                                  4 ~ BEH    ~ Crea#ed new folders and compressed files for round 2                 150.00            600.fl0
                CON-TRIAD- ~                 ~        ~ bundles, created new Tr aiDirectar eases for depo
              ~ SER                          ~        ~ witnesses, created new iss files, finished the round 2
              ~                             (         ~ depos and began to work an the round 3 designs#ions,
                                                        saved to externs! drive.
          i
12/5/2014 ~                               8.5 CHG         QC round 3 bundle depositions                                      154.0 (         1,275.00 1
                                                                                                                                         F                j
              CON-TRIAL-
             'SER

1'2/512014                       ~         7 JV        ~ B~' Phase ifl: all parfiy objection XIS f1e merge                   150.00          1,050.00 ',
                                 1
                                 t
                                 6
                                                                                                               Exemplification_206
        Case 2:10-md-02179-CJB-DPC
                  ~~:.             Document 15835-18 Filed 02/08/16 Page 208 of 248
                                                                                                                                Invoice
                                                                                                                                    Page 7 of 17

                                                                                          Date 32/3"'2fl14
                                                                                      invoice# 1PJ~'~Ci~?_
                                                                                                                                                   }
                 CC~iL-TRIAL-
                 SER

12J5f2~14                             7.$8... PF    ~ BP Phase 111: Highlight exhibits &errata reference         (    150,00 ~         1,18Z.5~~
                 CON-TRIAL-                           within transcript text, link to assacia#ed                 j
                 SER                                  files/designated area
                                                                                                                  ~          t
12/6/2014                        ~      9.75 CDT        Continued to work an adding                               €   35Q.OU j         1,462.50
                 CC7f~1-TRIAL-
                 SER                                                                                                            E
             i
1216/2Q14 §~                     fs     $.2~J BEH   ~ Continued work on Bundles, recreated some database              750.00           1,237.50
                 CON-TRIAL-                           files after error was found, seni error !is# fo team, fixed
                                            i                                                                     j
                 S~~                                  line numbering on text files and exported out new
                                             E        documen#s, added new documents to compressed
                                 i           I        folders, saved to e~ernai drives.                           ~
             i                   E

12/6/2fl14                                 9~ CHG       QC round 3 bundle depositions                                 150.00           1,350A0
                CON-TRIAL-                          t
             '. SER        ~                        E

                                             i                                                                    i
             t

12/6/2014                               10.5 ~ JV   ~ BP Phase iIl: alI party abjection XLS file merge                150A0            1,575.00
                                                    i
              GON-`FRlA~-                    i
             ISER
                                                                                                                  i
                                             i                                                                    i
12/7/2014                               5.25 CDT        Finished making edits #o                                      150.fl0            787.50
                 CON-TRIAL-
                 SER                                                                                              i             I
                                 1
                                 j
12/7/2014                                 12 BEH        Created new folders for Round 3 Depos, created new            150.00           1,800.Ofl
              CON-TRIAL-                    i           iss files from Designations folders, created new ward
             ~SER                                       documents from Tria~I~Director, downloaded load fiiPes
                                                        from sharsfile site, saved #o external drive.

12/7/2014                             ~i[~~el CHG (QG round 3 bundle designations                                     150.00           7,545.00
               CON-TRIAL- 3
             s SER
                          j
                                                    I
12/712fl14                                11 JV         BP Phase Ilt: all party objection XLS file merge              750.00           1,85fl.00
              CON-~'RiAL-                           i
                                                    1
             ~SER

1218(2014                         i     7.75 CDT      Finished going through final depo bundles to be added              ~ ~~           1,162.50
                 CON-TRIAL                          ~ to the sharefile site, received uploaded depo bundles
                 SER                                  and notified parties, began gathering information on



                                                                                                        Exemplification_207
                Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 209 of 248
                                                                                                                                                invoice
             ~~                                                                                                                                     Page 8 of 17

                                                                                                         Date 12131/2'14
                                                                                                     invoice# INV~(732
                                                           ,,;~ ;                                                                               i

~                                                                    n:..diu bundles #o~ be cre~- ect a'FeF ar court !ten ,'~es                 ~
                                                                     are ~;~a1, received communica#ion from parties
                                                                     regarding redactions and additianal trial confidential
                    `                                                designations, backed up case database.
                    f

    121812 14                          ~         11.5 BEH           ~ Contsnued to create bundles for round 3, added text    €         150.00 #        1,725.00
                            CON-TRIAL- ~                              €files to remaining. cases, added new word dacumen#s   '                                     f
                            SER                                       to folders, created new pdf fifes from word documents,
                                                                      backed up da#abase, saved to ex#ernai drive.
                                                                                                                                                I

E 12/8/2014              ~                        6.5 JR             Cantinas working on court bundtes. find and make              j   150.00            975.00
i           v            ~                                                                                                         ~
j           'CQh1-TRIAD-                             ~               changes.
             a SER

    r 12/8/2014 ~                               8.73.,.(CHG         ~ QG round 3 bundle designations                               ~   150.00          1,310.00 ~
                s
                     CON-TRIAD-
                    ~SER

        12/8/2014                                  32~JV             BP Phase Ili: all party objection XLS file merge,       ~         150.00 ~         1,800.00
                            CAN-TRIAL- j                             add/organize alt party abjection, general objection and f
                            SER                                      summary files {Anadarko, BP, and USDOJ}


        12/8/2014                                    9~PB            BP Phase lII: Highlight and link all party objections flies €     15C3A0           1,350.00
                     CON-~'RIAL-
                    ISER

        12/8f2014                               9.81... ~ PF         BP Phase lll: Highlight and link ap party objections              150.00           1,472.50
                            CUN-TRIAL-                               files, attached annotated sxhbi#s to PDF files
                                                       I
                            SER        f
                        &                  E
        12/8/2014                                 8.85 ' AM          BP Phase Ill: Highlight and fink all party objections files       ~j[if/~ilil      1,327.50
                         CON-TRIAL-
                        =SER
                                           6

        12/9!2014 r                               9.25 CDT           Worked wi#h production team on getting depo bundles               750.00           '!,387.50
                                                                                                                               1
                            GON-TRIA~-
                                       i                             final to post to Sharefile, warkad with parties to ensure 1
                        ESER                                         we had all info needed and to assist in their QC check,
                                                       E
                                                                     downloaded final depo bundles to have local copy of
                                                                     #hem for review and updates,. backed up case               ',
    s                                      q                         database.
    f                                      3

        1219!2014                                12.25 BEH           Exported out entire designations report and entire                    1 {1         1,837.50
                            CON-TRIAL-                               transcript firom TriafDirector, €ormatted documents and
                            SER        iE                            converted to PDF's, created compressed files,
                                                                     changed file names, saved' af! changes.
                                           Is


                                                                                                                          Exemplification_208
             Case 2:10-md-02179-CJB-DPC Document 15835-18 Filed 02/08/16 Page 210 of 248
                                                                                                                                 ~~"iVt7iCE
                         ~.~                                                                 Date 1213? ~?~14
                                                                                                                                     Page 9 ofi 17


                                                                                         invai~e # 11JV1(~32



    12I9J2014                           7.25 4 JR         Continue working on court bundles. Find and make           ~   1~fl.~0 ~      1,087.50
                   CON-TRIAL-                             changes.
                  ~SER

    12/9/2014 E                        8.41,.. CNG    ~ QC round 3 bundle desig€~atio~ts                             ~   15C1.Q0 '      1,262.5Q
                      CON-TRIAD-
                      SER        i
                                              j
                                   i


    1 21912014                     i      12 JV         BF Phass fll: all party objection XLS file merge,       ~        15D.00 ~       1,800.OQ
                      CON-TRIAL- E                      add/organize a!I party objection, general objection and
                      SEFZ       6                      summary files (Anadarko, BP, and USDOJ). Convert
                                              ~       ~ PDF highlights as static image, ZIP and post bundle
                                   P
                                                      t ~~~~


                                                                                                                                 3
'.12/9/2014                                 9 PB      ~ BP Phase IIl: Highlight-and link all party objections files ~    150A0 ~        1,350.00
                                                                                                                    s
                    CON-TRIAL- !,                                                                                                              •
                                              ~       ~
                  i SER        j              $                                                                                  3


                  i                                                                                                  f


    12(9/2414                          8.21... ~ PF       BP Phase III: Nighl'ight and link all party objections     ~   450.00 ~        7,232.50
                  `CON-TRIAL-                             files, attached annotated exhibits to PDF files
                                              s
                   SER                        f
                                              {
                                                      a
                                                      [


                                                      e                                                              f           ~

    32/9/2014                            8.05 AM      ~ BP Phase Ill: Hgh(igh# and link alf party objecfions files       150.00 f        1,27.50
                                                                                                                                t
                      CON-TRfAL-
                      SER

                                   I          i
    ~~i~o~zo~a                         11.75 `CDT     ~ Received changes to depo bundles and worked with             ~   150.00 ~        1,762.50
                   GON-TRIAL                            parties and production team to execute changes,.
                  USER       I                €       ~ uploaded replacement bundles, backed up al[ data to
                                                        externa# hard drive.
                                                                                                                     f           E
    12/10/2014 ~                   ~       13 ~ BEH   ' . Finished created compressed files and changing            ~    150A0           1,95fl.04
                      CON-TRIAL-                          names, uploaded   to shaeefile, began the QC  process
i                     SER        E            (       ~ for aN bundles by checking each parties designations F                   i
                  f                                       agains# crew#ed designations fist, exported out iss fifes              j
                                                          and compared to parties designations, saved to
                                                          external drive.

    121'1012014               4             8 JR      ~ Continue working on court bundles. Find and make             ~   150.OQ j        1,200.Ofl
                   CON-TRIAL- j                         changes.                                                                 E
                  ~SER                                                                                               s           ;


    42F1O12d1#                   ~        9.5 ~ CHG       QC round 3 bundle designa#ions                                 150.00 j        1,425.fl0
                      CON-TRIAL- f




                                                                                                            Exemplification_209
             Case 2:10-md-02179-CJB-DPC
                       ~~.              Document 15835-18 Filed 02/08/16 Page 211 of 248
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                 ~~..~                                                                                                              Page 30 of 17

                                                                                             Date 12131f2`~14
                                                                                        InvoicE: # }?x'1'::)32


                    SER
                                             1
    12110/2014 ~                  ~       12 ~ JV        BP Phase lil: ail party objection XL5 file merge,       ~         16fl.Q~ =    1,800A0
                    CQN-TRIAD-                           add/organize ali party objection, genera! objection and
                    SEfR                                 summary files (Anadarko, SP, and USDQJ); additional
                                                         bundled added to phase: Dupree. Convert PDF
                                                         highlights as sta#ic image, ZIP and post bundle data    i

    12J9012414 ~                           9 + PB        BP Phase HI: Highlight and link all party objections files        150.Q0!      1,35fl.0(}
               G CON-TRIAL-
                 SER

` 12J10/2~14                          9.98... ' PF       E3P Phase III. Mghiight and }ink all party objections         {   150.00 ~     1,497.54
                    CQN-TF2IAL-                          files, create and insert bundle cover pages, updated          1
                    SER                        4         bundles revisions.
n                                 ~            ~     ~
~ 12110/2014 '           ~             9.35 ~ AM         BP Phase III: Highlight and link aIR party objections files       150.00       1,402.54
I            tCON-TRIAL-
n            3 SER
                                  S
    12/11/2014 `                        12.5 CDT       Continued to work with parties and produc#ion team                  15.00 ~      1,875.0
F                   CON-TRIAL-              ~        1 on updating depa bundles arranged with court for an
                    SER                                electronic transfer of final depo bundles, copied al!
                                                       new information #o back up hard drive.

    12/11/2014 ~                  i       14             Continued the QC process,. exported out reports,                  150.00       2,1fl0.00
                    CON-TRIAD-                           updated spreadsheet, formatted documents with
                    SER                                  correct jusfifications, compressed database, created
                                                         new back up file, sawed bundle drives to sharefile,
                                                         saved to external drive.
                                                                                                                                  a
    12/9112014                        12.75 ~ JF2        Continue working on court bundles. Find and make                  15Q.00 ~     'l,912.5fl
                                                                                                                                  s
                    CON-TRIAL- j                         changes.                                                                 f
                    SER

    12111'12014 j                        12JV            BP Phase II1: BP Phase NI: all party objection XLS file           150.00 ~     1,$0.00
                   CON-TRIAL- j                          merge; add/organize all party objection, general
                 1 SER        ~                          objection and summary flies(Anadarko, BP, end                              i
                                                                                                                                    i
                                                         USD0.1. Updated' all party objection Cast with USDOJ
                                                         objections to bundles: Laferrier, Landry, Luton,                           i
                                                         McCleary, McNulty, Merten, Miller, Rose, Utsler, and
                                                         Robertson. Convert PDF highlights as static image,
                                                         ZIP and post bundle data

    12!11/2014 I                  !        9 d P$        BP Phase Itl: High}igh# and link all party objections files       150.04 !     1,350.E1fl




                                                                                                           Exemplification_210
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                      ~~
                                                                                                               date 12131f2Q14
                                                                                                           Invoice# ~~J'I1Q3^
                                                                 ,~_

                          CuC~~-T~=:Irk                 ~
                          SER

~ 12f1112014 ~                                    8.13... PF             BP Phase lil: Highlight and link all party objections           ~       150.~fl            1,220.Q(3
                          CON-TRIAD-                                     files, create and insert bundle cover pages, updated
                          S~R                                          ~ bundles revisions.
                                                                                                                                                           3



        1 211 9/241~€ ~                   ~         8.9 AM                 BP Phase ill: Highfigh# and link al! party objections files ~         15fl.00            1,335.00
                          CON-TRIAL-
                          SER        I
                                                                               :~                                                        ~                 4~                ~
                                                                                                                                                                             '
i
~ 1 211 2/2014                                      10.5 CDT               Finalized depo bundles, received addi#ional changes                   ?50.n0 ~           1,575.00
                          CON-TRIAL-                                       to bundles from parties, worked. with production team
                          SER                                              #o get depos cornp[ete and ready to submit, uploaded
                                                                           fnal bundles to Share#ile site nad notified court That a~i                                           ~
e                                                                                                                                                                               j
                                                                           bundle are ready for download, backed up case
i                                                                          database and copied afi1 final bundles onto e~ernai                                                  ~
                                                                       3   hard drive.                                                                                          j
P                                                                                                                                                                               i

        12J12/20'!4                                   7         ~~~    {   Prepared equipment and shipment to New Orleans for                    150.00             1,Q50.Q0
                          CON-TRIAL-                                       Mondays set up, varrfied with court room set up time,
                          SER                                              created shipment tracking, sen# email to teams.


1 12/12/2Q14                                        9.25 JR               Continue working on court bundles. Create hard                 !       150.00             1,387.54 j
                          CON-TRIAL-                                   I, drives and mail to parties.                                                                        ~'.
i
e
                          SER                                          !
                                              I
                                              d
    ~ 12/12/2fl14                                   14.5 JV                  BP Phase Ifl: Updated Highlight exhibits, errata      ~             150.fl0 p          1,.575.00
    i                     CON-TFZIAL- €                                    ~ references, exhibit folders, exhibi# attachments,. aU
    i                     SER                                                par#y objections, cover page info, and link formals   ~                            E
                                      t                                      (QC}, Convert PDF hgfialights as stafc image, Z!P and                                                  ~
                                                                            post bundle data
    4                                         {

        'f 2/12/2014 ~                                 8 ' PB              i BF' Phase II1: Highlight and link all party objections files [      150.00 ~           1,200.00
                           C~i~!-TRIAL-
                          ~SER

         12/12/2014 ~                         c      7.7 PF                 BP Phase lll: Nighligh#and link alf par#y obYections             j    150.Q0 ~           1,955.00
                            CON-TRIAL-                                      files, crea#e and insert bundle cover pages, upda#ed
                          i SER                                             bundles revisions,
                                                            F                                                                                1

         1 211 2/2014                                                       BP Phase 11(: Nighiig~t aid Zink all parfy objections Files j         15(1.40            1,055.00
                           CON-TRIAL-
                           SER
                                              i



                                                                                                                               Exemplification_211
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               ~~.                                                                        Date 1Z/3'"2~J14
                                                                                     11t~oice # I `,#V1'.332


 . ~'[312C~'4 z                          6~ BEH       -:~ceived final B~;nci' r drives,. saved to e~ern<:' drives, 3   150._'?            90fl.~0
                   CON'-TRfAL-                      ` created new folders and file s#rueture for upcoming                                            l
                   SER                                trial, saved all work to external drive.

12114J2014                               5 BEN      } Spo#ce tQ techs regarding setup and timing., prepared            150.00             750.00
                   C~I~-TRIAL-                      ~ drive fc~r run through, loaded equipment for next days
                   SER         Q                        set up.
                                                    t

12/1'5/2014                            $.75 CDT     ~ Worked with team an the ground an se# up of                      154.0             1,312.5a ~
                CON-TRIAL-                          'cour#room, arranged for packages to be delivered for
                                                                                                                                                     z3
               ~SER                        1          Wednesday run through, worked with court on
                                                      download of depo bundles from the inData Sharefile
               s                                        site.
               f                 's


 3 2/15/2014                     F      10 BEH        loaded equipment into truck and transported to                   150.00            1,5fl0.OQ
                   COt~-TRIAL-                      ~ cour#room, spent day setting up equipment, taping       ~
                                                                                                                                 }
                   SER                                down wires and testing system, installed' sound
                                                                                                                                 i
                                                      system and tested, moved empty boxes and cleaned
                                                      up courtroom., dropped off bundle hard drive with court ~
                                                      and with US, met with US and APG on set up, sent
                                                      ema fs explaining set up, set up war room and made      ~
                                                        keys,
                                                                                                                                 3
 1 2115/2014                                   AT   ~ Picked up AudioNideo equipment from Note( and                    150.00 ~          1,200.Ofl ~
              CON-TRfA~-                              brought to couthouse. Installed equipment, ran #est to                     i
            { SER         ~                           confirm reliability and proper installation                                i
                                                                                                                   i
            f             ~
 12115f2014 ~             ~              2 JV           BP Phase I1: Update revisions, review file names,              150.Ofl             300.00
              CON-TRIAL.- ~                             links and cover page info {QC)
              SER         ~

 12116/2014°                     1
                                       3.75 ~ CDT       Worked with KOLA team on #ems needed for set up.               15Q.00 E            562.50
                GQN-TRIAL- I
               iSER                                                                                                              i



 12I16I2014 ~                     ~,     9~BEH       ~ Arrived at war room and set up equipment, received              `150.00           1,350.00
                   CON-TRIAL-                          exhibit spreadsheets from parties, combined
                   SER                                 spreadsheets,. began to structure hard drive and folder
                                                       structure, copied to an external drive.

 12/16/2014                              2€AT           Tested war room wfr #o confirm reliability. Organized          150.00              300A0
                   CON-TRIAL-              I            deponent bundles folder on hard drive                                                             3
                   SER

i1 12116/2Q14 j                          2,JV           BP Phase Ill: Update revisions, review file names,             150.00 r            300.fl0
                                                                                                                              i

                                                                                                                                 }
               i

                                                                                                         Exemplification_212
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                                                                                                          Invoice # !hJ 11'Q32


                    ;~~N-TRA~-                                            links and cover page info(QC)                                                      I
                                                                                                                                                                                t
                   1c                                                                                                                                        6
                                                                                                                                                                                E

                                                                                                                                           E
                                                                                                                                                             {
E


  921~612~14 '            ~                          3 PF                 BP Phase ili: Update revisions, review file names,                       150.00 ~           450.00
f            ` CON-TRIAD-                                                 links and cover page info {QC)                                                                        i
g                        SEA               (          s

  12/17!2014 ~           ~                         5,25 CDT         Worked with NOLA team on courtroom run through                                 150.00'            787.54
~           ! CON-TRIAL-                                            with techs from each party,. ran support for courtroom
             E
               5ER                                                I set up issues and next courtroom walk through.
                                                                                                                                           i
                                                                  E
E 12/17/2014 ~                             (       7.75 BEH               Arrived at courtroom and set up preview monitors,                        T 50.00           1,162.50
                             CON-TF2IAL-                                  added e~ension outlets to tech tables, spent day
                             SER                                          doing run through with techs for the parties,
                                                                          traubleshoo#ed screen resobution issues,. added new
                                                                          resolu#ion to laptops, tested system, worked with
                    }                                                     court on udeo system, added new folders #o hard
                                                                          drive for parties, saved to eternal drive.


        12J17I2014 R,                              6.75 AT        ~ Picked up monitors fram Hotel. Headed to courthouse                            150.00E           1,012.50
                     CC7N-TRIAL- '                     ~          1 and installed, tested monitors. Conducted a dry run                                   i
                                                                  i
                    €SER                               ~            with respective parties from MDL-2179 case.
                                                                                                                                                            I
                                                          I       I                                                                            s            I
    ` 12/17!2014 ~            ~                      Z JV           BP Phase III: Update revisions, reuiew file names,                             'i 50.00 ~          300.00
    z            ~ CON-TRIAL-                                       links and cover page info(QC)
                                                                  i
                   SER                                                                                                                         i
                              t                                       i                                                                        I

        12/17/2014 '                       (         3 PF                 BP Phase ill: Update revisions, review file names,                       150.fl0 I          450.00
                             CON-TRIAL-                                   links and cover page info {QC}
                                                                                                                                                                 i
    ~                        SER                                                                                                                                 I

        12/19/2014 ~                    ~           10 BEH                  Worked on combining the exhibit lists for the parties,                 150.00            1,500.00..
                             CAN-TRIAL- i                                   worked on finding all duplicates so tha# I can identify
                             SER                                            them faster when fhe files arrive, created depo exhibit
                                                                            list and combined Ist, formatted hard drive, saved
                    g                      I                                bundles to external drive and organized the files from
                                                                            previous phases for this trial, downloaded APC
                                                                            exhibits, downloaded APC depo exhibits, saved to
                                                                            hard drive, opened files and made sure they all
                        F
                                                                          i downloaded correctly, saved a!I data to external drive.
    }                   ~                      F

                        `(
                                               E
                                               F


      12/19!2014 ~          ~                      4.75 CDT                 Began receiving TREX exhibits from pasties, began                       150.00             712.50
    f           !CON-TRIAL-                                               ~ download of Anadarko exhibi#s and setup sharefile
                   SER      ~                                 I             lirsfic to get exhibts to Bryan who wi11 be creating Ehe T[7
                                                              E            database.
    ~                                          f
    z                                          {


                                                                                                                               Exemplification_213
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                                                                            g~
                                                                            ~P
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                                                                                                                                                            Date 121?~/2014

                                            _                                                   -,
             -~,:

a                             s                                                                                                                                                                                             f

                          ~                                                        3.75 ~ AT                 j Received T~ a! Exhibit lis#s from each party for Phase                          150.f30           562.50
~ 12/2G/2014 ~
             P CON-TRIAL- ~                                                                                  ~ 3- Penalty, Analyzed and created a report addressing
               SER                                                                                           i duplicates among each respective list.                             ~                      f

                    ~                                                  ~                ~                    I                                                                                                              s
        12/22124'!4 ~                                                                 3 ~ BEH                i Received ftp information for anadarko's exhbi#s,                   ~            150.00             450.0(}
                                        CON-TRfA~-                                                             downloaded exhibits onfo local machine and saved to                ~
                                        SER                                             j                              external drive.                                            ~

                                                                        i                                     j
      'f 2/22/2014 ~                                                               3.25 CDT                   ~ F2eceved exhibit hard drives from BP and US, went                              150.Ofl [          487.50
    ~              ;CON-TR}AL- '                                                       ~                      1 through. drives to deter# any initial issues.
                                                                                                                                                                                                                            I
                  [SER

        12/23/2014 ~            ~                                                   3.5 ~ CDT                   Prepped drives for Bryan to begin creating TD                                  150.00 ~           525.00
                   ~ CON-TRIAL- ~                                                       ~                     { database.                                                                                                   '
                                                                                                                                                                                                         I
                     SER
                                                                                                               i

        '12/24f2014 +I                             G                                3.5 8EH                          Received hard drives from BP and tJ.5., opened files                      150.0(? ~          ~25.(}fl j
                                        CON-TRIAL- ~                                   j                             to test drive, worked on opening BP encrypted drive,.
                                                                                                                  i
                                        SER        E                                   ~                          i. downloaded decrypt tool.
                                                                                                                                                                                                                                I
    ¢                             ~                                        €            i
            12/26/2014 ~                                                           11.5 f BEH                        Received parties hard drives, dowNoaded aU sxhibiis                       950.QO ~          1,725.00
                                        GON-TRIAL-                                                                   to local machine, saved. into new folders,. saved new            j
                                        SER                                                                          folders onto back up eternal drive, created fiolder
                                                                                                                  i; system for exhibit hard drive, compressed triaidirector

                                  `s,                                                   q
                                                                                                                     database, created new tables for database,. ga#hared
                                                                                        ~                          A a!I data levels and mapped documents.                            j
    ~

                 {           ~                                                          ~                          ~                                                                           15fl.00           1,125.Q0
      12/26/2014 ~           ~                                                      7.5 ~ CDT                              Worked with Bryan on getting exhibits organized and
                 €CON-TRlA~-                                                                                               copied correctly and get database prepped and ready
    ~            ~ SER                                                                                                     for impor# of exhibits.
                                                                                                                                                                                      i
                                                                                            f
            12/27!2014                                                             1.25 AT                                 Downloaded deposition exhibits from Anadarko FTP                    '!54AQ q            187.50
                                   CON-TRIAL- ~                                        E                                   site. Renamed the deposition exhibits #o TREX exhibits. i                         i
                                  ~SER

             12/27/2014 ~            ~                                               8.5 ~ CDT                             Continued to work with. Bryan on database creation                   150.40 ~         1,275.00
                        t CAN-TRIAL- ~                                                   {                                 and began assisting Bryan and production dept on                                  i
                        USER                                                                                               s#amping afTREX exhibi# numbers.
                                                       ~     E
             12/27/2014 ~                              ~ 1225 BEH                                                        Continued to created folder structure and da#abase               ',    1~0.~0           1,837.50
                                                                                                                                                                                                             i
                                            GON-TRIAL- i                                                               j tables, created test trialdirector database, tested
        I                               ~ SER                                                                            adding docurnen#s, tested documents and case,                                       E

                                                                                                                         compressed some of the larger exhibit files, uploaded                               i
                                                                               f            4
                                                                                                                         a compressed folder of anadarko depo exhibits to be
                                                                               j
                                                                               o



                                                                                                                                                                          Exemplification_214
                                        ~                                      ~            f                          I
                                                                                                     ..,...»,.~.~..
        ~.           .,._..             ~       ....   .. _ ~.~......_,....5                    ~
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                                                                                                   Invoice # (N.,, 1 !".32
                     ~i:     _                                              ~.                                                       ;:

                                                                   stagy ,~ ~ d, saved work to exte ~ ~I drive

     12l2$J2fl94                                6.75 JR            Work an compiling exhibits for main trial database.       ~            150.00 ~       1,092.5fl j
                    CON-TF2IAL-
                   ~SER         ~                     ~                                                                      ~                                      ~

     12128/2014 ~                                12.5 ~ BEH        Created spreadsheet of duplicate exhibits from parties j               150.(10 ~      1,875.00
                     CON-TRIAL-                                    designation spreadsheets, created master               ~                          ~              I
                   I SER        ~                     ~            spreadsheet, began to compare spreadsheet with the
                                                                   exhibits that we received.

     12/28/2014 I                      E:~F'~ CD'               Continued to work on stamping of TREX exhibits and                        950A4 f        1,332.50
                     CON-TRIAL-                               i exporting for Bryan #a include in TD database and            ~
                                                                                                                                                     6
                     8ER                                           exhibit hard drives going to client.

     12I29I2014 ~                               14.75 [ JR         Continued working on hard drive for par#ies. Stamped                   9 50.00 ~      1,762.50
                     CON-TRIAL-                                    exhibits and added to database. Continues setting up
                     SER                              I            war room.
                                                               I                                                                                     I
     12/29/2014 's .         ~                     13~ BEFi    i Compared all exhibits submitted by party to the exhibit ~                150.(10        1,950.00
                  CAN-TRIAL- ~:                                  lists, created error spreadsheet, copied files from hard                            S
                  SER        i                        I          drive to secondary drive, contacted parties regarding
                                                                 missing exhibits, saved aA work to back up.
                                       I              1
     12/2912E314 i                                9.5 CDT          Continued. to stamp TREX exhibits and export to           ~            150.00         1,425.00
                     CON-TRIAL-                                    Bryan far hard drive going to parties, backed up local
                     SER                             '             hard drive and updated TD database.

     12/29/2014 ',                                  7~ CH          Working on trial database.                                    i        150.00 ~ i[i~~ililil
                      Subcor~tracto
ik                    r Time - Tria!
                      Consultants

     1213Q/2Q94                                    14 '. fI~C~ Continued to check all exhibits to make sure par#ies                       7 5(3.00       2,144.00
                      CON-TRIAL-                               produced correct exhibits, stamped exhibits wi#h
                      SER                                      missing stamps, downloaded apc missing exhibits,
                                                               contacted US regarding questions on exhibits, created
                                                               master drive, opened and compared all duplicate
                                                               exhibits, sent errors to parties, created 7riaiDireetor
                                                               database, loaded alt exhibits into Tr alDirector, saved
                                                               a!1 work to ex#emal drive.

     12I30I2014 ~           ~ 10.15 ~ CL?T                         Continued to work with Bryan on database creation                      150.00         1,522.5fl ~
                jCON-TRIAL-                                        and TREX stamping for exhibit hard drives, worked an
                  SEf2                                             duplicate exhibi#s and ensuring tha# correct version




                                                                                                                     Exemplification_215
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           ~,                                                                    ~i1V01Ct'
                                         9                                                                                                 Page 16 of 9~

                                                                                                  Date 12131/2t~1
                                                                                             1 nvoiee # I ~ J':`~i J32
       s                                 -                    ,•                                                             __.,_
                                             -                   _. ~ ~ ~            _                                                            '
~                  ~                 #            !           was loaded into ~ ~~~ da`~t,ase.                           ~
                                                  j

    'i2/3012(394                                 6 CN         iNorking on trial database.                                        15fl.00         90.00
                    Subccantraeto                 j
?                  (r Time - Triai                        {
~                  (Consutan#s                                                                                           ~

    12/31/2fl14 ~                             9.5 ~ BEH    ~ Performed QC of hard drive and i'riald rector         ~             150.00        1,425.40
                       CON-TRIAL- ~               ~        ~ database, spen#day coping the parties master exhibit {d
                       SER        ~                        ~ drives, packaged and sent exhibit hard drives to      I
                                                             parties, sent tracking numbers to parties.            ~

    1?J31f2014 ~                             7.75 [s1s~~ Made final prepera#ions for Tfl database and exhibit                    150.Qt~ ~     1,162.50
                       CON-TRIAL-                        Frard drives going to clienf, worked w~#h Bryan to make ',
                       SER                               sure every#hing was correct and accurate before         ',
                                                         shipping,. backed up case database and updated local ',
                                                         hard drives with ail correct info.

                        End of                                To#ai Siilable Time                                                            136,047.5Q
                       Group




                                                                                                                 Exemplification_216
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                                                                                                                       Page 1 of 22

       225 E. Germann Road                                                       Date    1/31/2015
       Suite 310
       Gilbert AZ 85297                                                      Invoice #   INV1181
       (480) 497-8595                                                           Terms
                                                                             Due Date    1/31/2015
                                                                               Project   CU14981: PRJ0001 BP Deepwater Hori...
                                                                                 PO #


Bill To                                                                Ship To
David McIlwain                                                         David McIlwain
U.S. Department of Justice - ENRD                                      U.S. Department of Justice - ENRD
P.O. Box 7611                                                          P.O. Box 7611
Ben Franklin Station                                                   Ben Franklin Station
Washington DC 20044-7611                                               Washington DC 20044-7611


Date        Item             Qty        Emp.   Description                                             Rate            Amount
                                               Contact: David McIlwain


                                               RE: BP Deepwater Horizon, MDL-2179
                                               Phase 3


                                               inData Corporation Tax ID #XX-XXXXXXX


                                               Invoice Dates - January 1, 2015 - January 31, 2015


            Equipment               1          Courtroom Equipment                                          7,990.02      7,990.02
            Rental                             1/15 - Completion of Phase 3


            Equipment               1          ShareFile Site                                              10,190.00     10,190.00
            Rental                             12/1/14 - 1/31/15


            Billable                           Billable Items
            Group


1/31/2015                          51          J Andrade Trial Consulting                                    150.00       7,650.00
            Subcontracto
            r Time - Trial
            Consultants


             End of                            Total Billable Items                                                       7,650.00
            Group


            Billable                           Billable Expenses
            Group


1/4/2015                                CHG    Transportation - Billable: ATW-Msy                                           253.60


1/4/2015                                CDT    Meal - Billable: Dinner with Bryan                                            47.36


1/4/2015                                CDT    Transportation - Billable: Taxi to PHX                                        80.00



                                                                                             Exemplification_217
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                                                                    Date 1/31/2015
                                                                Invoice # INV1181
Date        Item    Qty   Emp.   Description                                             Rate   Amount
1/4/2015                  CDT    Transportation - Billable: Flight                                 1,154.20


1/4/2015                  CDT    Lodging - Billable: Hotel                                         3,585.43


1/4/2015                  CDT    Supplies - Billable: Supplies for war room and hotel                514.86


1/4/2015                  BEH    Mileage - Billable: To SLC Airport                                   52.90


1/4/2015                  BEH    Meal - Billable: Breakfast                                            4.75


1/4/2015                  BEH    Meal - Billable: Lunch                                               39.31


1/4/2015                  BEH    Lodging - Billable: Hotel                                         3,585.43


1/4/2015                  BEH    Supplies - Billable: War room and trial Supplies                     65.88


1/4/2015                  BEH    Transportation - Billable: Flight to MSY                            585.60


1/17/2015                 CDT    Meal - Billable: Dinner                                              22.24


1/18/2015                 CDT    Supplies - Billable: Costco (Hard Drives)                         1,110.70


1/17/2015                 CDT    Supplies - Billable: Costco (Hard Drives and war room               964.25
                                 supplies)


1/16/2015                 CDT    Transportation - Billable: Taxi to PHX                               80.00


1/15/2015                 CDT    Supplies - Billable: Costco (Hard Drives)                           770.28


1/14/2015                 CDT    Transportation - Billable: Flight to NOLA                           567.10


1/9/2015                  CDT    Transportation - Billable: Taxi from PHX                             80.00


1/18/2015                 CDT    Lodging - Billable: Hotel                                         4,041.94


1/5/2015                  CDT    Meal - Billable: Dinner with Bryan                                   19.36


1/8/2015                  CHG    Meal - Billable: Breakfast                                            9.68


1/11/2015                 CHG    Meal - Billable: Dinner                                              37.82


1/10/2015                 CHG    Meal - Billable: Dinner                                               8.69


1/8/2015                  CHG    Meal - Billable: Dinner                                              24.75




                                                                               Exemplification_218
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                                                                      Date 1/31/2015
                                                                  Invoice # INV1181
Date        Item    Qty   Emp.   Description                                           Rate   Amount
1/8/2015                  CHG    Meal - Billable: Lunch                                              9.42


1/7/2015                  CHG    Meal - Billable: Lunch                                             12.76


1/6/2015                  CHG    Meal - Billable: Dinner                                           102.47


1/6/2015                  CHG    Supplies - Billable: Supplies                                      59.39


1/10/2015                 CHG    Supplies - Billable: Supplies                                     137.02


1/7/2015                  CHG    Transportation - Billable: MSY-ATW                                684.20


1/9/2015                  CHG    Meal - Billable: Dinner                                            20.56


1/16/2015                 CH     Meal - Billable: Breakfast                                          5.50


1/14/2015                 CH     Transportation - Billable: Cab Fare                                39.60


1/14/2015                 CH     Transportation - Billable: Cab Fare                                20.08


1/14/2015                 CH     Meal - Billable: Breakfast                                          6.70


1/14/2015                 CH     Transportation - Billable: Airplane Ticket                        484.60


1/17/2015                 CH     Transportation - Billable: Airplane Ticket                        402.70


1/18/2015                 CH     Meal - Billable: Groceries                                         20.16


1/18/2015                 CH     Transportation - Billable: Cab Fare - Lost Receipt                 40.00


1/15/2015                 CH     Meal - Billable: Breakfast                                         10.50


1/12/2015                 CHG    Meal - Billable: Lunch                                              7.44


1/13/2015                 CHG    Meal - Billable: Lunch                                             10.89


1/15/2015                 CHG    Transportation - Billable: Cab                                     39.52


1/17/2015                 CHG    Transportation - Billable: cab                                     12.75


1/16/2015                 CHG    Meal - Billable: Breakfast team                                    77.00


1/18/2015                 CHG    Transportation - Billable: Cab                                     14.00


1/17/2015                 CHG    Meal - Billable: Breakfast                                         26.98



                                                                               Exemplification_219
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                                                                                               Invoice
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                                                                   Date 1/31/2015
                                                               Invoice # INV1181
Date        Item    Qty   Emp.   Description                                            Rate    Amount


1/15/2015                 CHG    Meal - Billable: Lunch                                               23.65


1/13/2015                 CHG    Meal - Billable: Dinner                                              30.23


1/18/2015                 CHG    Meal - Billable: Lunch & Dinner                                     102.96


1/16/2015                 CHG    Meal - Billable: Dinner                                              78.56


1/14/2015                 CHG    Meal - Billable: Lunch                                               10.72


1/15/2015                 CHG    Meal - Billable: Dinner                                             101.58


1/17/2015                 BEH    Lodging - Billable: Hotel 01/03 to 01/17                          4,041.94


1/8/2015                  BEH    Mileage - Billable: SLC airport to home roundtrip                   105.80


1/7/2015                  BEH    Meal - Billable: Breakfast                                           10.49


1/7/2015                  BEH    Supplies - Billable: Courtroom and overflow supplies                131.67


1/7/2015                  BEH    Meal - Billable: Dinner                                              74.64


1/8/2015                  BEH    Meal - Billable: Dinner                                              14.01


1/8/2015                  BEH    Transportation - Billable: Roundtrip flight MSY-SLC               1,131.20


1/8/2015                  BEH    Transportation - Billable: Fuel for Rental Car                       20.85


1/8/2015                  BEH    Meal - Billable: Lunch PHX airport layover                           17.04


1/8/2015                  BEH    Transportation - Billable: Airport Parking                           87.50


1/8/2015                  BEH    Transportation - Billable: Rental Car                               328.76


1/7/2015                  BEH    Supplies - Billable: War room Supplies and courtroom                114.13
                                 supplies


1/22/2015                 CH     Meal - Billable: Breakfast                                           12.27


1/20/2015                 CH     Meal - Billable: Dinner                                              40.00


1/16/2015                 CH     Transportation - Billable: Cab Fare                                  40.00


1/25/2015                 CH     Meal - Billable: Dinner                                              64.00



                                                                                  Exemplification_220
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                                                                       Date 1/31/2015
                                                                   Invoice # INV1181
Date        Item    Qty   Emp.   Description                                            Rate   Amount


1/22/2015                 CH     Meal - Billable: inData Crew                                        15.28


1/22/2015                 CDT    Supplies - Billable: Supplies for war room                          43.52


1/22/2015                 CDT    Meal - Billable: Dinner with team                                   82.06


1/23/2015                 CDT    Transportation - Billable: Gas for rental car                       15.09


1/23/2015                 CDT    Transportation - Billable: Rental Car                              449.90


1/23/2015                 CDT    Transportation - Billable: Taxi from PHX                            80.00


1/21/2015                 CDT    Transportation - Billable: Flight to PHX                           567.10


1/22/2015                 CDT    Meal - Billable: Lunch with team                                    80.43


1/19/2015                 CDT    Meal - Billable: dinner with team                                   67.25


1/21/2015                 CDT    Meal - Billable: Lunch for Christina                                  5.87


1/31/2015                 CDT    Lodging - Billable: Hotel                                        3,752.30


1/21/2015                 CDT    Meal - Billable: Lunch for Chris                                      6.69


1/21/2015                 JR     Meal - Billable: Breakfast                                            8.98


1/21/2015                 JR     Meal - Billable: Lunch                                                6.49


1/21/2015                 JR     Transportation - Billable: Taxi                                     40.00


1/22/2015                 JR     Supplies - Billable: Supplies                                       12.30


1/23/2015                 JR     Meal - Billable: Breakfast                                          25.00


1/23/2015                 JR     Meal - Billable: Lunch                                              28.11


1/23/2015                 JR     Meal - Billable: Snack                                                7.45


1/24/2015                 JR     Transportation - Billable: Airfare                                 567.10


1/21/2015                 JR     Transportation - Billable: Airfare                                 567.10


                          JR     Transportation - Billable: Taxi                                    160.00




                                                                                 Exemplification_221
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                                                                      Date 1/31/2015
                                                                  Invoice # INV1181
Date        Item    Qty   Emp.   Description                                               Rate   Amount
1/24/2015                 JR     Meal - Billable: Lunch                                                 23.71


1/24/2015                 JR     Meal - Billable: Snack                                                 22.41


2/4/2015                  JR     Lodging - Billable: J Ray Hotel                                    16,272.19


2/4/2015                  JR     Lodging - Billable: C Gillespie Hotel                              16,307.30


2/3/2015                  JR     Supplies - Billable: Supplies and hard drives                       1,044.94


1/24/2015                 JR     Meal - Billable: breakfast with inData team                            64.16


1/22/2015                 CHG    Meal - Billable: Lunch                                                  9.64


1/21/2015                 CHG    Meal - Billable: Breakfast                                              4.49


1/19/2015                 CHG    Supplies - Billable: Supplies                                          32.13


1/15/2015                 CHG    Meal - Billable: food                                                  24.54


1/21/2015                 CHG    Meal - Billable: Dinner                                               122.09


1/20/2015                 CHG    Meal - Billable: Lunch                                                  9.94


1/24/2015                 CHG    Meal - Billable: Food                                                  66.08


1/18/2015                 CHG    Transportation - Billable: Cab                                         40.00


1/23/2015                 CHG    Transportation - Billable: Cab                                          8.75


1/19/2015                 CHG    Meal - Billable: lunch                                                 14.12


2/1/2015                  AT     Meal - Billable: Dinner for B. Harper and A. Termonfils                52.02


1/23/2015                 AT     Transportation - Billable: Airfare To New Orleans,LA                  461.48


1/24/2015                 AT     Transportation - Billable: Cab from Residence to JFK                   23.48
                                 airport


1/24/2015                 AT     Transportation - Billable: Cab from MSY Airport to                     40.00
                                 Homewood suites hotel


1/24/2015                 AT     Supplies - Billable: Laundry Detergent                                  3.59


1/24/2015                 AT     Meal - Billable: Breakfast for A. Termonfils                           17.76



                                                                                 Exemplification_222
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                                                                     Date 1/31/2015
                                                                 Invoice # INV1181
Date        Item    Qty   Emp.   Description                                                 Rate   Amount


1/25/2015                 AT     Meal - Billable: Lunch for C. Helt and A. Termonfils                     24.46


1/25/2015                 AT     Meal - Billable: Dinner                                                  51.90


1/26/2015                 AT     Meal - Billable: Dinner for B. Harper and A. Termonfils                  40.83


1/26/2015                 AT     Supplies - Billable: Supplies                                            10.28


1/27/2015                 AT     Meal - Billable: Lunch for A. Termonfils                                  4.35


1/27/2015                 AT     Meal - Billable: Lunch Smoothie for A. Termonfils                         5.22


1/27/2015                 AT     Meal - Billable: Dinner for A. Termonfils                                20.53


1/28/2015                 AT     Meal - Billable: Lunch for A. Termonfils                                  8.37


1/28/2015                 AT     Meal - Billable: Dinner for B. Harper, C. Helt , C.                      83.82
                                 Gillespie, and A. Termonfils


1/29/2015                 AT     Meal - Billable: Breakfast for C. Helt, B. Harper, and A.                35.87
                                 Termonfils


1/29/2015                 AT     Meal - Billable: Lunch for A. Termonfils                                 11.95


1/29/2015                 AT     Meal - Billable: Smoothie for A. Termonfils                               5.22


1/29/2015                 AT     Meal - Billable: Dinner for B. Harper and A. Termonfils                  63.12


1/30/2015                 AT     Meal - Billable: Breakfast for A. Termonfils                              5.45


1/30/2015                 AT     Meal - Billable: Dinner for A. Termonfils                                22.77


1/31/2015                 AT     Meal - Billable: Breakfast for A. Termonfils                             19.63


1/31/2015                 BEH    Lodging - Billable: Hotel 1-18-1-31                                   3,752.30


1/30/2015                 BEH    Meal - Billable: Dinner                                                  13.39


1/25/2015                 BEH    Meal - Billable: Dinner                                                  29.42


1/30/2015                 BEH    Meal - Billable: Lunch                                                    8.19


1/27/2015                 BEH    Meal - Billable: Breakfast                                                7.14




                                                                                 Exemplification_223
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                                                                      Date 1/31/2015
                                                                  Invoice # INV1181
Date        Item    Qty   Emp.   Description                                               Rate   Amount
1/26/2015                 BEH    Meal - Billable: Lunch Bryan and Christina                             27.75


1/26/2015                 BEH    Meal - Billable: Breakfast                                              5.21


1/31/2015                 BEH    Meal - Billable: Dinner Ashley and Bryan                               70.42


1/31/2015                 BEH    Supplies - Billable: Supplies for hard drives                          16.83


2/1/2015                  BEH    Meal - Billable: Breakfast Bryan and Ashley                            33.92


1/21/2015                 BEH    Meal - Billable: Breakfast                                              8.79


1/21/2015                 BEH    Transportation - Billable: Cab                                         43.00


1/21/2015                 BEH    Meal - Billable: Lunch                                                  9.72


1/21/2015                 BEH    Meal - Billable: Water and Snack                                        7.49


1/22/2015                 BEH    Meal - Billable: Lunch                                                  5.25


1/24/2015                 BEH    Supplies - Billable: Hotel room supplies for Christina,                23.93
                                 Ashley and Bryan


1/24/2015                 BEH    Meal - Billable: Dinner Bryan, Christina and Jordan                   123.78


1/23/2015                 BEH    Meal - Billable: Lunch Bryan and Jordan                                37.72


1/24/2015                 BEH    Meal - Billable: Dinner Bryan, Chris, Ashley and                       65.76
                                 Christina


1/24/2015                 BEH    Meal - Billable: Lunch Bryan and Christina                             14.53


1/27/2015                 BEH    Meal - Billable: Soda                                                   1.85


1/27/2015                 BEH    Meal - Billable: Lunch Bryan and Christina                             51.79


1/28/2015                 BEH    Meal - Billable: Breakfast                                              7.05


1/29/2015                 BEH    Meal - Billable: Lunch                                                 12.30


1/30/2015                 BEH    Meal - Billable: Breakfast                                              8.63


1/26/2015                 BEH    Meal - Billable: Soda                                                   1.85


1/29/2015                 CH     Transportation - Billable: Airline Ticket                             466.60



                                                                                 Exemplification_224
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                                                                             Date 1/31/2015
                                                                         Invoice # INV1181
Date        Item         Qty     Emp.   Description                                            Rate        Amount


1/26/2015                        CH     Meal - Billable: Lunch for Ashley Termonfils & Chris                     16.02
                                        Gillespie


1/28/2015                        CH     Meal - Billable: Lunch with Bryan Harper                                 27.30


1/27/2015                        CH     Meal - Billable: Dinner with Bryan Harper & Chris                        78.00
                                        Gillespie


1/27/2015                        CH     Meal - Billable: Lunch for Chris Gillespie                               13.20


1/29/2015                        CH     Lodging - Billable: Hotel                                             2,698.93


1/25/2015                        CHG    Meal - Billable: Dinner                                                  75.30


1/26/2015                        CHG    Meal - Billable: Dinner                                                   8.57


1/26/2015                        CHG    Meal - Billable: Dinner                                                  33.96


2/1/2015                         CHG    Transportation - Billable: Cab                                           37.95


2/1/2015                         CHG    Meal - Billable: Dinner                                                  27.04


2/1/2015                         CHG    Transportation - Billable: Gogo                                           9.95


1/29/2015                        CHG    Transportation - Billable: Gogo                                           7.95


1/28/2015                        CHG    Transportation - Billable: MSY-ATW                                      685.20


1/28/2015                        CHG    Supplies - Billable: Supplies                                           111.69


1/28/2015                        CHG    Meal - Billable: lunch                                                    8.62


             End of                     Total Billable Expenses                                              76,893.27
            Group


            Billable                    Billable Time
            Group


1/1/2015                       10 BEH   Arrived at war room, updated bundle drives for U.S.       150.00      1,500.00
            CON-TRIAL-                  Bundles with the general objection file from BP,
            SER                         created folders and bundles for APC’s bundle drives,
                                        answered emails regarding bundles, worked on exhibit
                                        list and compared to what callouts we have received,
                                        added new files to database, updated teams drives,



                                                                                      Exemplification_225
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                                                                          Date 1/31/2015
                                                                      Invoice # INV1181
Date       Item         Qty     Emp.   Description                                              Rate         Amount
                                       backed up to external drive.


1/4/2015                  6.25 CDT     Arrived in NOLA, began war room set up, got supplies        150.00         937.50
           CON-TRIAL-                  for hotel and war room, began prepping hard drive for
           SER                         court.


1/4/2015                      7 BEH    Copied extra exhibit hard drives, created new               150.00       1,050.00
           CON-TRIAL-                  database, added shortcuts to database, copied folder
           SER                         structure to back up machine, got supplies and set up
                                       equipment, added characters to tables, saved to
                                       external drive.


1/5/2015                      10 CDT   In war room, prepping hard drive for trial, creating        150.00       1,500.00
           CON-TRIAL-                  shortcuts in TrialDirector and linking exhibits for
           SER                         display in court.


1/5/2015                  10.5 BEH     Spent day setting up war room and supplies, emailed         150.00       1,575.00
           CON-TRIAL-                  new database tables to team, created new drive of
           SER                         prior phases as backup, networked computers and the
                                       war room, created back up share file.


1/6/2015                 11.75 CDT     continued to prep TrialDirector hard drive, got             150.00       1,762.50
           CON-TRIAL-                  additional supplies for war room and court, copied all
           SER                         data to back up external hard drive for other
                                       consultants coming into NOLA for trial prep.


1/6/2015                      11 BEH   Bought equipment for courtroom set up, setup time for       150.00       1,650.00
           CON-TRIAL-                  run through with parties, met with court regarding
           SER                         issue with screen resolution, added new documents to
                                       trialdirector database, created new excel spreadsheet
                                       for trial, continued with trial prep work, saved to
                                       external drive.


1/6/2015                      10 CHG   Trial Technology Consulting. Worked in War room and         150.00       1,500.00
           CON-TRIAL-                  assisted parties as needed.
           SER


1/7/2015                 10.25 CDT     Continued to prep trial hard drive for trial display.       150.00       1,537.50
           CON-TRIAL-                  continued to copy hard drives for incoming
           SER                         consultants, went to court to fascilitate a tech run
                                       through, got supplis for court overflow set up, set up
                                       overflow courtroom.


1/7/2015                  10.2 CHG     Trial Technology Consulting. Worked in War room and         150.00       1,530.00
           CON-TRIAL-                  assisted parties as needed.



                                                                                      Exemplification_226
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                                                                          Date 1/31/2015
                                                                      Invoice # INV1181
Date        Item         Qty      Emp.   Description                                               Rate         Amount
            SER


1/7/2015                   11.5 BEH      Arrived at war room, copied drives from local machine,       150.00       1,725.00
            CON-TRIAL-                   set up protocol for checking drives and data, set up
            SER                          overflow courtroom, tested overflow courtroom
                                         equipment, worked on cleanup from set up, added
                                         documents to drives, saved work to back up drives.


1/8/2015                   10.3 CHG      Trial Technology Consulting. Worked in War room and          150.00       1,545.00
            CON-TRIAL-                   assisted parties as needed.
            SER


1/8/2015                   8.75 BEH      Created new dataline for database, tested TrialDirector      150.00       1,312.50
            CON-TRIAL-                   and documents from case, created new shortcuts for
            SER                          documents, added changes to spreadsheet, emailed
                                         about missing documents and stamps, created list of
                                         missing stamps, added new exhibits to case.


1/8/2015                  11.25 CDT      Continued to work on prepping drives and getting all         150.00       1,687.50
            CON-TRIAL-                   drives set up for use during trial, contacted teams
            SER                          regarding courtroom set up and worked with Court to
                                         finish setting up overflow areas.


1/9/2015                       10 CHG    Trial Technology Consulting. Worked in War room and          150.00       1,500.00
            CON-TRIAL-                   assisted parties as needed.
            SER


1/9/2015                       8.5 BEH   Continued to load documents into new trialdirector           150.00       1,275.00
            CON-TRIAL-                   database, tested loaded documents to make sure file
            SER                          paths were correct, created new error spreadsheet,
                                         answered emails, sent out update of database to team.


1/9/2015                   8.75 CDT      Went through court drives and TD database to                 150.00       1,312.50
            CON-TRIAL-                   continue to assign shortcut names to exhibits for ease
            SER                          of use in court, backed up case database.


1/10/2015                  10.4 CHG      Trial Technology Consulting. Worked in War room and          150.00       1,560.00
            CON-TRIAL-                   assisted parties as needed.
            SER


1/10/2015                 10.25 BEH      Continued to add documents to trialdirector database,        150.00       1,537.50
            CON-TRIAL-                   maintained error list and created new case, tested
            SER                          documents and file paths, copied over files to hard
                                         drive, updated new hard drive, saved work to back up
                                         drive.



                                                                                      Exemplification_227
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                                                                               Date 1/31/2015
                                                                           Invoice # INV1181
Date        Item             Qty      Emp.   Description                                                Rate         Amount


1/10/2015                      7.25 CDT      Continued to assign shortcuts to TD database,                 150.00       1,087.50
            CON-TRIAL-                       uploaded latest case to Sharefile site for other
            SER                              consultants to download and update their local drives.


1/11/2015                      10.2 CHG      Trial Technology Consulting Worked in ar room and             150.00       1,530.00
            CON-TRIAL-                       provided assistance to the parties as requested.
            SER


1/12/2015                      10.3 CHG      Trial Technology Consulting Worked in ar room and             150.00       1,545.00
            CON-TRIAL-                       provided assistance to the parties as requested.
            SER


1/12/2015                          4.5 BEH   Ran QC in database and performed tests in                     150.00         675.00
            CON-TRIAL-                       TrialDirector, added new items to performance tracker,
            SER                              saved work to external drive.


1/12/2015                     10.75 CDT      Received new Hard Drive from US containing update             150.00       1,612.50
            CON-TRIAL-                       to exhibits, updated Trial Drives and began updating
            SER                              TD database, continued to assign shortcuts to existing
                                             and new exhibits in case database.


1/13/2015                      10.5 CHG      Trial Technology Consulting Worked in ar room and             150.00       1,575.00
            CON-TRIAL-                       provided assistance to the parties as requested.
            SER


1/13/2015                      8.25 BEH      Received questions from parties regarding exhibits in         150.00       1,237.50
            CON-TRIAL-                       previous trial and new hard drive, created sharefile for
            SER                              new exhibits, created new direct links, spent day
                                             testing and tracking errors in database, created new
                                             file paths and used global path editor to find missing
                                             files.


1/13/2015                      11.5 CDT      Continued to load new and updated exhibits from US            150.00       1,725.00
            CON-TRIAL-                       into TrialDirector database, continued to assign
            SER                              shortcuts to TD database, began prep of new data to
                                             copy to hard drives to send to parties.


1/14/2015                           5 CH     Worked in war room and on call for parties.                   150.00         750.00
            Subcontracto
            r Time - Trial
            Consultants


1/14/2015                          10 CHG    Trial Technology Consulting Worked in ar room and             150.00       1,500.00
            CON-TRIAL-                       provided assistance to the parties as requested.



                                                                                            Exemplification_228
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                                                                             Date 1/31/2015
                                                                         Invoice # INV1181
Date        Item             Qty     Emp.   Description                                               Rate         Amount
            SER


1/14/2015                      6.25 BEH     Went through trial database and trialdirector, created       150.00         937.50
            CON-TRIAL-                      new shortcuts for quicker access in trial, removed
            SER                             unnecessary characters in database, saved work to
                                            external drive.


1/14/2015                      9.25 CDT     Continued to prep for new data to go onto new party          150.00       1,387.50
            CON-TRIAL-                      hard drives, received confirmation that each party
            SER                             wanted new hard drives, continued to manipulate
                                            TrialDirector database for ease of use in court.


1/15/2015                          10 CH    Worked in war room and on call for parties.                  150.00       1,500.00
            Subcontracto
            r Time - Trial
            Consultants


1/15/2015                      10.3 CHG     Trial Technology Consulting Worked in ar room and            150.00       1,545.00
            CON-TRIAL-                      provided assistance to the parties as requested.
            SER


1/15/2015                     12.75 CDT     Purchased new hard drives for updated exhibit and            150.00       1,912.50
            CON-TRIAL-                      TrialDirector database info for parties, began copying
            SER                             info to new hard drives, continued to work on updating
                                            TD database with shortcuts.


1/16/2015                     10.25 CH      Working in War Room and on call for parties.                 150.00       1,537.50
            Subcontracto
            r Time - Trial
            Consultants


1/16/2015                     10.25 CDT     Continued to copy new hard drives for parties, arrived       150.00       1,537.50
            CON-TRIAL-                      in NOLA and made preparations to deliver new hard
            SER                             drives to parties following day, ran errands for war
                                            room supplies and to get ready for first day of court.


1/16/2015                      10.5 CHG     Trial Technology Consulting. Worked in war room.             150.00       1,575.00
            CON-TRIAL-                      Provided assistance to parties as needed
            SER


1/17/2015                      17.5 CDT     Delivered hard drives to all parties, continued to work      150.00       2,625.00
            CON-TRIAL-                      with TD database to add shortcuts, worked with NOLA
            SER                             team to update all trial hard drives to sync data,
                                            uploaded all new US and APC data to Sharefile site
                                            for all inData and party trial techs.



                                                                                           Exemplification_229
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                                                                                Date 1/31/2015
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Date        Item             Qty      Emp.   Description                                                   Rate         Amount


1/17/2015                      10.3 CHG      Worked in war room and provided support to parties               150.00       1,545.00
            CON-TRIAL-                       as requested.
            SER


1/18/2015                     16.75 CDT      Continued to upload new data to Sharefile site for               150.00       2,512.50
            CON-TRIAL-                       ease of access for all trial techs, continued to add
            SER                              shortcuts to new data in TrialDirector for ease of use in
                                             court, worked with team to get up to speed on
                                             database use in court and went through procedures
                                             for getting AM and PM exhibits to court and parties,
                                             backed up case database.


1/18/2015                      10.2 CHG      Trial Technology Consulting. Day 3 of phase III trial.           150.00       1,530.00
            CON-TRIAL-                       Control technology in courtroom and assist parties as
            SER                              needed.


1/19/2015                     10.25 CH       Working in the war room and on call for parties.                 150.00       1,537.50
            Subcontracto
            r Time - Trial
            Consultants


1/19/2015                          8.5 CHG   Trial Technology Consulting. Update drive for trial.             150.00       1,275.00
            CON-TRIAL-                       Review trial database.
            SER


1/19/2015                     12.25 CDT      Arrived at war room and worked on Depo bundles                   150.00       1,837.50
            CON-TRIAL-                       after receiving list of final depos to go to the court from
            SER                              the US, worked on prepping case for first day of court
                                             and making sure that all parties and inData
                                             consultants had all evidence to display in court.


1/19/2015                           4 JV     BP Phase III-Media Bundles: Organize data set for                150.00         600.00
            CON-TRIAL-                       media creation
            SER


1/20/2015                     12.25 CH       Court                                                            150.00       1,837.50
            Subcontracto
            r Time - Trial
            Consultants


1/20/2015                      12.6 CHG      Trial Technology Consulting. Day one of MDL2179                  150.00       1,890.00
            CON-TRIAL-                       Phase III trial. Provided technology support in
            SER                              courtroom during trial.




                                                                                              Exemplification_230
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                                                                               Date 1/31/2015
                                                                           Invoice # INV1181
Date        Item             Qty      Emp.   Description                                                Rate         Amount
1/20/2015                          5.5 BEH   Copied all external drive to laptop in preparation to go      150.00         825.00
            CON-TRIAL-                       to trial, added case to TrialDirector and made sure all
            SER                              database files where on machine, familiarized myself
                                             with case and exhibits.


1/20/2015                      13.5 CDT      Arrived at war room and made ready to travel to court,        150.00       2,025.00
            CON-TRIAL-                       arrived at court, assisted getting the court
            SER                              presentation equipment up and running, ran
                                             presentation in court and tracked exhibits, returned to
                                             war room and gathered information to send tracking
                                             list to parties, backed up case database.


1/20/2015                    7.48... PF      BP Phase III-Media Bundles: QC PDF files - removal            150.00       1,122.50
            CON-TRIAL-                       annotated exhibits
            SER


1/20/2015                           8 JV     BP Phase III-Media Bundles: Remove annotated                  150.00       1,200.00
            CON-TRIAL-                       exhibits from PDF files
            SER


1/21/2015                      12.6 CHG      Trial Technology Consulting. Day one of MDL2179               150.00       1,890.00
            CON-TRIAL-                       Phase III trial. Provided technology support in
            SER                              courtroom during trial.


1/21/2015                          13 CH     Court                                                         150.00       1,950.00
            Subcontracto
            r Time - Trial
            Consultants


1/21/2015                           7 BEH    Arrived at war room, copied over new exhibits to my           150.00       1,050.00
            CON-TRIAL-                       drive, went through trial procedures and met with
            SER                              team, saved to external drive.


1/21/2015                     14.75 CDT      Arrived at war room and ran support for court room            150.00       2,212.50
            CON-TRIAL-                       team, received list of trial confidential designations
            SER                              from BP and began assisting production team on
                                             redacting depos and getting media bundles ready,
                                             backed up case databases.


1/21/2015                    8.23... PF      BP Phase III-Media Bundles: QC PDF files - removal            150.00       1,235.00
            CON-TRIAL-                       annotated exhibits
            SER


1/21/2015                           8 JV     BP Phase III-Media Bundles: Remove annotated                  150.00       1,200.00
            CON-TRIAL-                       exhibits from PDF files, remove summaries, redaction



                                                                                             Exemplification_231
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                                                                              Date 1/31/2015
                                                                          Invoice # INV1181
Date        Item             Qty     Emp.   Description                                                Rate         Amount
            SER                             creation - BP’s trial confidential designations


1/22/2015                     12.25 CH      Managing database & working in the war room.                  150.00       1,837.50
            Subcontracto
            r Time - Trial
            Consultants


1/22/2015                      13.2 CHG     Trial Technology Consulting. Day 3 of phase III trial.        150.00       1,980.00
            CON-TRIAL-                      Control technology in courtroom and assist parties as
            SER                             needed.


1/22/2015                     13.25 BEH     arrived at courtroom early to set up, spent day tracking      150.00       1,987.50
            CON-TRIAL-                      exhibits and pulling documents for parties daily am
            SER                             and pm drives, created spreadsheet and tacked all
                                            exhibits, saved to hard drive, pulled up documents via
                                            TrailDirector, added new exhibits to case, saved all
                                            work to external drive.


1/22/2015                      13.5 CDT     Ran war room support for trial team, received                 150.00       2,025.00
            CON-TRIAL-                      demonstratives from parties from previous days
            SER                             witnesses, continued to work with production team on
                                            media bundles and redacting depo transcripts and
                                            exhibits.


1/22/2015                    6.56... PF     BP Phase III-Media Bundles: search transcript for             150.00         985.00
            CON-TRIAL-                      redaction content, QC Reddaction creation - BP’s trial
            SER                             confidential designations


1/22/2015                          8 JV     BP Phase III-Media Bundles: Redaction creation -              150.00       1,200.00
            CON-TRIAL-                      BP’s trial confidential designations
            SER


1/23/2015                          12 CH    Court & working in the war room.                              150.00       1,800.00
            Subcontracto
            r Time - Trial
            Consultants


1/23/2015                      12.4 CHG     Trial Technology Consulting. Day 3 of phase III trial.        150.00       1,860.00
            CON-TRIAL-                      Control technology in courtroom and assist parties as
            SER                             needed.


1/23/2015                     12.25 BEH     Arrived at war room, spent day as support to trial            150.00       1,837.50
            CON-TRIAL-                      team, tracked missing exhibits and contacted parties
            SER                             about those exhibits, checked spreadsheet and sent to
                                            parties, answered parties questions regarding exhibits,



                                                                                              Exemplification_232
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                                                                              Date 1/31/2015
                                                                          Invoice # INV1181
Date        Item             Qty     Emp.   Description                                               Rate         Amount
                                            saved work to database and external drive.


1/23/2015                     13.75 CDT     ran support for trial team and continued to work on          150.00       2,062.50
            CON-TRIAL-                      media bundles, backed up case databases and copied
            SER                             all depo files to back up hard drive.


1/23/2015                    8.73... PF     BP Phase III-Media Bundles: search transcript for            150.00       1,310.00
            CON-TRIAL-                      redaction content, QC Redaction creation-BP’s trial
            SER                             confidential designations


1/23/2015                          8 JV     BP Phase III-Media Bundles: Redaction creation -             150.00       1,200.00
            CON-TRIAL-                      BP’s trial confidential designations
            SER


1/24/2015                      10.3 CHG     Trial Technology Consulting. Day 3 of phase III trial.       150.00       1,545.00
            CON-TRIAL-                      Control technology in courtroom and assist parties as
            SER                             needed.


1/24/2015                     10.35 CH      Working in war room, database maintenance,                   150.00       1,552.50
            Subcontracto                    organize exhibits, review spreadsheets.
            r Time - Trial
            Consultants


1/24/2015                      10.5 BEH     arrived at war room and helped Chris with database           150.00       1,575.00
            CON-TRIAL-                      for TrialDirector, qc’d all exhibits and maintained the
            SER                             tables for exhibits, received new exhibits from 12/19
                                            from BP, added all exhibits to hard drive, renamed for
                                            database configuration, saved work to external drive.


1/24/2015                      5.75 CDT     Worked with production team on media bundles,                150.00         862.50
            CON-TRIAL-                      worked with parties to receive new exhibits,
            SER                             downloaded new exhibits from US myFX site, sent list
                                            of exhibits from all bundles for all bundle phases to
                                            parties, backed up case database and external hard
                                            drive.


1/24/2015                      10.5 AT      Trial Technology Consulting                                  150.00       1,575.00
            CON-TRIAL-
            SER


1/25/2015                      10.2 CHG     Trial Technology Consulting. Worked in war room and          150.00       1,530.00
            CON-TRIAL-                      provided assistance to the parties as requested.
            SER                             Updated drives and edited database.


1/25/2015                     10.15 CH      Working in war room, database maintenance,                   150.00       1,522.50



                                                                                           Exemplification_233
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                                                                              Date 1/31/2015
                                                                          Invoice # INV1181
Date        Item             Qty     Emp.   Description                                                 Rate         Amount
            Subcontracto                    organize exhibits, review spreadsheets, compare with
            r Time - Trial                  exhibits parties used.
            Consultants


1/25/2015                          13 BEH   Spent day going through new database for trialdirector         150.00       1,950.00
            CON-TRIAL-                      to make sure all exhibits were accounted for and
            SER                             ready, received new callouts and exhibits from the US
                                            and APC, downloaded exhibits and added to database
                                            and harddrives, copied entire drive to new hard drive
                                            for Ashley to use in court, saved work to external drive.


1/25/2015                      6.25 CDT     Worked with production team on media bundles,                  150.00         937.50
            CON-TRIAL-                      received and organized incoming exhibit lists and
            SER                             demonstrative and callouts from witnesses from
                                            previous week, backed up external hard drive.


1/25/2015                    9.83... AT     Copied over primary phase three hard drive to backup           150.00       1,475.00
            CON-TRIAL-                      drive. Confirmed proper redundancy. Went through
            SER                             exhibit log to confirm session days match


1/26/2015                     14.25 BEH     Arrived at war room and began to organize bundles for          150.00       2,137.50
            CON-TRIAL-                      coping to parties drives, supported courtroom team by
            SER                             finding missing exhibits and tracking new exhibits,
                                            organized all materials and spreadsheets.


1/26/2015                      12.6 CHG     Trial Technology Consulting. Provide technology                150.00       1,890.00
            CON-TRIAL-                      support in courtroom. Display exhibits for parties as
            SER                             needed.


1/26/2015                      5.25 CDT     Ran support from trial team and worked with                    150.00         787.50
            CON-TRIAL-                      production team on media bundles, backed up case
            SER                             database and made preparations for submission of
                                            court and media bundles to parties and court.


1/26/2015                      12.5 CH      Working in War Room & Court, database upkeep,                  150.00       1,875.00
            Subcontracto                    bundles
            r Time - Trial
            Consultants


1/26/2015                     11.75 AT      Tracked exhibits shown during trial. Updated thumb             150.00       1,762.50
            CON-TRIAL-                      drives with morning and afternoon session exhibits,
            SER                             submitted to parties. Reviewed exhibit log.


1/26/2015                      8.65 PF      BP Phase III-Media Bundles: QC Redaction creation -            150.00       1,297.50
            CON-TRIAL-                      BP’s and Anadarko trial confidential designations,



                                                                                           Exemplification_234
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                                                                               Date 1/31/2015
                                                                           Invoice # INV1181
Date        Item             Qty      Emp.   Description                                               Rate         Amount
            SER                              replace/relink to redacted exhibits - QC


1/26/2015                          12 JV     BP Phase III-Media Bundles: Redaction creation -             150.00       1,800.00
            CON-TRIAL-                       BP’s and Anadarko trial confidential designations,
            SER                              replace/relink to redacted exhibits


1/27/2015                      12.4 CHG      Trial Technology Consulting. Provide technology              150.00       1,860.00
            CON-TRIAL-                       support in courtroom. Display exhibits for parties as
            SER                              needed.


1/27/2015                          7.5 CDT   Ran support for in court trial team, worked with             150.00       1,125.00
            CON-TRIAL-                       production on media bundles, received new list of trial
            SER                              confidential designations and began application to
                                             media bundles, organized all bundle info in
                                             preparation of submission next day, backed up case
                                             database and external hard drive.


1/27/2015                     12.25 CH       Working in War Room & Court, database upkeep,                150.00       1,837.50
            Subcontracto                     bundles
            r Time - Trial
            Consultants


1/27/2015                      12.5 BEH      Arrived at war room, spent day tracking exhibits from        150.00       1,875.00
            CON-TRIAL-                       previous days trial, spent day as back up and resource
            SER                              for courtroom team, answered emails about exhibits
                                             from parties, managed database and saved to
                                             external drives, backed up systems to drives, send out
                                             exhibit spreadsheet to parties, added daily exhibits to
                                             master drive, began to work on U.S. bundles, received
                                             instructions from parties.


1/27/2015                     11.25 AT       Tracked exhibits shown during trial. Updated thumb           150.00       1,687.50
            CON-TRIAL-                       drives with morning and afternoon session exhibits,
            SER                              submitted to parties. Reviewed exhibit log.


1/27/2015                          7.8 PF    BP Phase III-Media Bundles: Redaction creation,              150.00       1,170.00
            CON-TRIAL-                       remove trial conf exhibits from bundles - QC
            SER


1/27/2015                          12 JV     BP Phase III-Media Bundles: Redaction creation,              150.00       1,800.00
            CON-TRIAL-                       remove trial conf exhibits from bundles (remove link,
            SER                              exhibit PDF, and reprint/insert unhighlighted page
                                             within bundle)


1/28/2015                      12.1 CH       Working in War Room & Court, database upkeep,                150.00       1,815.00



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                                                                           Invoice # INV1181
Date        Item             Qty      Emp.   Description                                                 Rate         Amount
            Subcontracto                     bundles
            r Time - Trial
            Consultants


1/28/2015                     13.75 BEH      Trial Technology Consulting                                    150.00       2,062.50
            CON-TRIAL-
            SER


1/28/2015                      11.5 AT       Tracked exhibits shown during trial. Updated thumb             150.00       1,725.00
            CON-TRIAL-                       drives, submitted to parties. Reviewed exhibit log.
            SER


1/28/2015                      6.25 CDT      Trial team support, assist production team and NOLA            150.00         937.50
            CON-TRIAL-                       team in media bundles.
            SER


1/28/2015                    8.48... PF      BP Phase III-Media Bundles: Reprocess bundles                  150.00       1,272.50
            CON-TRIAL-                       Banfield, Bodek, Bray, Bucknall, Morrison, Robertson
            SER                              & Smith using new redacted designation list,
                                             compress & upload bundles to Sharelife


1/28/2015                          12 JV     BP Phase III-Media Bundles: Reprocess bundles                  150.00       1,800.00
            CON-TRIAL-                       Banfield, Bodek, Bray, Bucknall, Morrison, Robertson
            SER                              and Smith using new redacted designation list, create
                                             updated exhibit lists (court/media), compress and
                                             upload bundles to Sharefile


1/28/2015                      13.2 CHG      Trial Technology Consulting. Present exhibits as               150.00       1,980.00
            CON-TRIAL-                       requested in court. Provide technology support in
            SER                              court.


1/29/2015                      11.5 BEH      arrived at war room, received emails about bundles,            150.00       1,725.00
            CON-TRIAL-                       checked for exhibits that parties referred to, compiled
            SER                              exhibit list, worked on general objection document for
                                             Quitzau bundle, added document to bundle, reviewed
                                             designations and redacted documents, compared
                                             exhibits in bundles to list provided by APC and sent list
                                             to parties, spoke with court regarding updating exhibit
                                             drives, saved work to external drive.


1/29/2015                     10.25 AT       Reviewed media bundle drive to confirm correct                 150.00       1,537.50
            CON-TRIAL-                       redaction exhibits are present.
            SER


1/29/2015                      8.25 CH       Working on Bundles.                                            150.00       1,237.50



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                                                                                Date 1/31/2015
                                                                            Invoice # INV1181
Date        Item             Qty      Emp.   Description                                                  Rate         Amount
            Subcontracto
            r Time - Trial
            Consultants


1/29/2015                      7.25 CDT      Support NOLA trial team and work with production                150.00       1,087.50
            CON-TRIAL-                       team on media bundles, worked with parties for list of
            SER                              upcoming bundles submissions.


1/29/2015                    7.28... PF      BP Phase III-Media Bundles: QC final media bundle               150.00       1,092.50
            CON-TRIAL-                       format
            SER


1/29/2015                           1 JV     BP Phase III-Media Bundles: confirm redacted exhibits           150.00         150.00
            CON-TRIAL-                       list, Quitzau 2011/2012 general objections
            SER


1/30/2015                     11.25 BEH      Arrived at war room, copied over general objection file         150.00       1,687.50
            CON-TRIAL-                       from BP to U.S. bundle drives, created APC’s bundle
            SER                              folders and added bundles, received emails, began to
                                             compare exhibit list to received call outs from parties
                                             in preparation of final drive, saved work to external
                                             drive.


1/30/2015                          5.5 CDT   Worked with production team on media bundles for                150.00         825.00
            CON-TRIAL-                       new APC and BP submissions, backed up trial drives
            SER                              and coordinated with NOLA team on upcoming
                                             submissions.


1/30/2015                      9.75 AT       Assisted in checking proper file structure of each hard         150.00       1,462.50
            CON-TRIAL-                       drive given to parties for bundles. Went over exhibit list
            SER                              log and confirmed what witnesses were examined
                                             during trial and exhibits used.


1/31/2015                      9.75 BEH      Received more bundles, created new folders for APC              150.00       1,462.50
            CON-TRIAL-                       and BP, created database tables and qc’d database,
            SER                              created new master hard drive for bundles, answered
                                             emails, opened and tested trialdirector, created new
                                             spreadsheet, saved to external hard drive.


1/31/2015                      3.25 CDT      Worked with NOLA team on preparing drives to go to              150.00         487.50
            CON-TRIAL-                       parties with latest bundles drives (court and media).
            SER


1/31/2015                     10.25 AT       Updated and Backup external hard drive. Quality                 150.00       1,537.50
            CON-TRIAL-                       checked Trial Director Database to confirm proper



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                                                                              Date 1/31/2015
                                                                          Invoice # INV1181
Date        Item            Qty      Emp.    Description                                              Rate          Amount
            SER                              short keys were used for each exhibit.


             End of                          Total Billable Time                                                     168,467.50
            Group




                                                                                                   Subtotal          271,190.79
                                                                           Discount Item (DISC-CONSULTING)          -135,595.40
                                                                                                      Total         $135,595.39
                                                                                                Amount Paid          135,595.39




Amounts past due will be subject to finances charges of 1.5% per month as permitted by state law.




inData Corporation
                                                                    Please Enter Your Credit Card Information
Remittance Slip                                                     Type: ____Discover ____Master Card ____VISA ____American Expr...
                                                                    Credit Card #: ________________________
                                                                    Expiration Date: _____Month _____Year
                                                                    Signature: ___________________________

       Customer   CU14981: PRJ0001 BP D...

       Invoice # INV1181

   Amount Due $0.00
                                                                    Make Checks Payable To:
   Amount Paid _______________                                      inData Corporation
                                                                    225 E. Germann Road
                                                                    Suite 310
                                                                    Gilbert AZ 85297




                                                                                          Exemplification_238
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       225 E. Germann Road                                                    Date     2/28/2015
       Suite 310
       Gilbert AZ 85297                                                   Invoice #    INV1269
       (480) 497-8595                                                        Terms     Due on receipt
                                                                          Due Date     2/28/2015
                                                                            Project    CU14981: PRJ0001 BP Deepwater Hori...
                                                                              PO #


Bill To                                                             Ship To
David McIlwain                                                      David McIlwain
U.S. Department of Justice - ENRD                                   U.S. Department of Justice - ENRD
P.O. Box 7611                                                       P.O. Box 7611
Ben Franklin Station                                                Ben Franklin Station
Washington DC 20044-7611                                            Washington DC 20044-7611


Date        Item           Qty       Emp.   Description                                                 Rate         Amount
                                            Contact: David McIlwain


                                            RE: BP Deepwater Horizon, MDL-2179
                                            Phase 3


                                            inData Corporation Tax ID #XX-XXXXXXX


                                            Invoice Dates - February 1, 2015 - February 28, 2015


            Billable                        Billable Items
            Group


2/10/2015    Equipment           1          ShareFile Site 2/1/15 - 2/28/15                               5,095.00      5,095.00
            Rental


             End of                         Total Billable Items                                                        5,095.00
            Group


            Billable                        Billable Expenses
            Group


2/3/2015                             AT     Transportation - Billable: Cab Ride from Airport (JFK)                         43.00
                                            to A. Termonfils residence


2/2/2015                             AT     Transportation - Billable: Flight from New Orleans                            506.48
                                            (MSY) to New York (JFK) - 2/3/15


2/2/2015                             AT     Meal - Billable: Breakfast for A. Termonfils                                   28.48


2/3/2015                             AT     Meal - Billable: Lunch for A. Termonfils                                       40.71


2/3/2015                             AT     Transportation - Billable: Cab RIde from Hotel to                              40.00
                                            Airport (MSY)


2/2/2015                             AT     Meal - Billable: Dinner for B. Harper, C. Gilliespie, and                      95.61


                                                                                            Exemplification_239
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                                                                      Date 2/28/2015
                                                                  Invoice # INV1269
Date        Item    Qty   Emp.   Description                                            Rate    Amount
                                 A. Termonfils


2/3/2015                  CHG    Transportation - Billable: MSY-ATW                                  312.60


2/3/2015                  CHG    Meal - Billable: Dinner                                              25.14


2/3/2015                  CHG    Transportation - Billable: Cab                                       42.90


2/3/2015                  BEH    Transportation - Billable: Flight MSY to SLC                        565.60


2/3/2015                  BEH    Meal - Billable: Dinner                                              15.44


2/3/2015                  BEH    Meal - Billable: advil                                                 4.65


2/3/2015                  BEH    Transportation - Billable: Fuel for rental car                       20.37


2/3/2015                  BEH    Meal - Billable: Lunch                                               11.12


2/3/2015                  BEH    Transportation - Billable: Airport Parking                          189.00


2/3/2015                  BEH    Transportation - Billable: Rental Car                             1,068.98


2/2/2015                  BEH    Meal - Billable: Breakfast                                             6.98


2/2/2015                  BEH    Meal - Billable: Lunch for team                                      33.73


2/6/2015                  BEH    Lodging - Billable: Hotel                                         1,507.10


2/2/2015                  BEH    Meal - Billable: Drink                                                 1.85


2/12/2015                        Shipment of backup equipment                                        141.49


2/6/2015                  CDT    Lodging - Billable: Hotel in NOLA                                 1,507.10


2/22/2015                 CHG    Meal - Billable: food                                                19.06


2/21/2015                 CHG    Transportation - Billable: cab                                       39.60


2/21/2015                 CHG    Transportation - Billable: Cab to ATW                                30.00


2/21/2015                 CHG    Meal - Billable: Dinner                                              27.82


2/23/2015                 CHG    Transportation - Billable: cab                                         9.00


2/24/2015                 CHG    Transportation - Billable: Cab                                       39.60



                                                                                  Exemplification_240
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                                                                     Date 2/28/2015
                                                                 Invoice # INV1269
Date         Item   Qty   Emp.   Description                                               Rate   Amount


2/18/2015                 CHG    Transportation - Billable: ATW-MSY                                    631.20


2/21/2015                 CHG    Meal - Billable: Lunch                                                 23.06


2/24/2015                 CHG    Meal - Billable: Dinner                                                14.96


1/5/2015                  JR     Supplies - Billable: War Room Week 4                                1,773.00


1/12/2015                 JR     Supplies - Billable: War Room Week 5                                1,773.00


1/19/2015                 JR     Supplies - Billable: War Room Week 6                                1,773.00


1/26/2015                 JR     Supplies - Billable: War Room Week 7                                1,773.00


2/24/2015                 JR     Lodging - Billable: C Gillespie Hotel                               1,176.62


12/15/2014                JR     Supplies - Billable: War Room Week 1                                1,773.00


12/29/2014                JR     Supplies - Billable: War Room Week 3                                1,773.00


12/22/2014                JR     Supplies - Billable: War Room Week 2                                1,773.00


2/28/2015                 CDT    Lodging - Billable: Hotel in NOLA for Ashley                        2,538.09


2/19/2015                 CDT    Supplies - Billable: Hard Drives to ship to NOLA for                1,416.78
                                 final court and part submissions


2/21/2015                 AT     Supplies - Billable: Supplies                                          12.00


2/21/2015                 AT     Meal - Billable: Dinner For A. Termonfils                              24.26


2/21/2015                 AT     Meal - Billable: Lunch for A. Termonfils                               18.12


2/21/2015                 AT     Meal - Billable: Breakfast for A. Termonfils                           14.43


2/21/2015                 AT     Transportation - Billable: Cab ride from MSY airport to                40.00
                                 Hotel


2/21/2015                 AT     Transportation - Billable: Cab ride from residence to                  23.21
                                 JFK Airport


2/18/2015                 AT     Transportation - Billable: Airfare JFK(NY) to MSY(LA)                 468.10
                                 -2/21




                                                                                Exemplification_241
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                                                                          Date 2/28/2015
                                                                      Invoice # INV1269
Date        Item         Qty   Emp.   Description                                                  Rate        Amount
2/23/2015                      AT     Meal - Billable: Dinner for A. Termonfils                                      27.77


2/23/2015                      AT     Meal - Billable: Lunch for C. Gillespie and A. Termonfils                      60.34


2/22/2015                      AT     Meal - Billable: Dinner for A. Termonfils and C. Gillespie                     46.61


2/22/2015                      AT     Meal - Billable: Breakfast for A. Termonfils and C.                            37.28
                                      Gillespie


2/25/2015                      AT     Supplies - Billable: Supplies                                                   4.97


2/25/2015                      AT     Meal - Billable: Lunch for A. Termonfils                                       47.92


2/25/2015                      AT     Transportation - Billable: Transportation back to Hotel                        20.00


2/25/2015                      AT     Transportation - Billable: Transportation to restaurant                        20.00
                                      for Lunch


2/21/2015                      AT     Meal - Billable: Snack for A. Termonfils                                        7.66


2/24/2015                      AT     Meal - Billable: Lunch/Dinner for A. Termonfils                                27.74


             End of                   Total Billable Expenses                                                    25,485.53
            Group


            Billable                  Billable Time
            Group


1/21/2015                 10.25 JR    Trial Technology Consulting - Worked on bundles. Trial          150.00      1,537.50
            CON-TRIAL-                support.
            SER


1/22/2015                 11.75 JR    Trial Technology Consulting - Worked on bundles. Trial          150.00      1,762.50
            CON-TRIAL-                support.
            SER


1/23/2015                  7.75 JR    Trial Technology Consulting - Worked on bundles. Trial          150.00      1,162.50
            CON-TRIAL-                support.
            SER


1/24/2015                  2.25 JR    Trial Technology Consulting - Worked on bundles. Trial          150.00        337.50
            CON-TRIAL-                support.
            SER


2/1/2015                  11.75 BEH   emailed parties regarding bundles, checked new                  150.00      1,762.50



                                                                                     Exemplification_242
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                                                                           Date 2/28/2015
                                                                       Invoice # INV1269
Date       Item         Qty      Emp.   Description                                                  Rate        Amount
           CON-TRIAL-                   bundle submissions, spoke with parties regarding
           SER                          bundles, received emails and created drives for bundle
                                        submission, copied drives for all parties, created list of
                                        submissions, removed depos from BP submission,
                                        delivered drives to parties, saved to external drive.


2/1/2015                  9.75 AT       Copied Media bundles to flash drives, assisted in               150.00      1,462.50
           CON-TRIAL-                   creating labels . Confirmed proper file structure on
           SER                          each respective drive. Delivered bundle to USDOJ
                                        office.


2/1/2015                  4.75 CDT      Worked with NOLA team on finalizing drives APC and              150.00        712.50
           CON-TRIAL-                   BP media and court drives for delivery to clients to
           SER                          review before submission to court.


2/2/2015                  12.5 AT       Arrived at courthouse . COnfirmed proper redunacy               150.00      1,875.00
           CON-TRIAL-                   and referening on primary hard drive. Tracked exhibits
           SER                          for trial. Downloaded admitted exhibits to a flash drive
                                        for each party ( USDOJ, BP , APC) and court.
                                        Brokedown equipment used in courtroom and war
                                        room. Packed into proper packaging.


2/2/2015                      12 BEH    Arrived at war room, finalized bundle drives, brought           150.00      1,800.00
           CON-TRIAL-                   drives to courtroom, spent morning at courtroom,
           SER                          copied entire drive to master drive, created duplicate
                                        copies of drives, packed up war room, sent items back
                                        to indata, saved trialdirector database.


2/3/2015                  0.25 AT       Called FedEx to arrange a pickup and ship of                    150.00         37.50
           CON-TRIAL-                   equipment used for trial
           SER


2/3/2015                       6 BEH    Tore down courtroom equipment and boxed up for                  150.00        900.00
           CON-TRIAL-                   shipment, finished cleaning out war room, copied
           SER                          drives for team, checked final spreadsheets, added all
                                        trial items to one drive, saved to external back up.


2/4/2015                  5.25 CDT      Assisted in organizing all submitted depo bundles for           150.00        787.50
           CON-TRIAL-                   upload to inData Sharefile site.
           SER


2/5/2015                      5.5 BEH   Received emails about phase three submitted                     150.00        825.00
           CON-TRIAL-                   bundles, compressed all bundles and began upload to
           SER                          sharefile site, copied all submitted bundles to
                                        compressed file and began to upload to sharefile site.



                                                                                        Exemplification_243
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Date        Item         Qty      Emp.   Description                                                Rate        Amount


2/6/2015                   7.25 CDT      Downloaded latest depo bundles uploaded to inData             150.00      1,087.50
            CON-TRIAL-                   Sharefile site. Added depo bundles to final hard drive
            SER                          and backed up external hard drive.


2/6/2015                   6.75 BEH      Worked on upload process of bundles and submitted             150.00      1,012.50
            CON-TRIAL-                   bundles, once completed checked for errors and
            SER                          downloaded compressed files to check for accuaracy,
                                         saved all work, found xls spreadsheet for bundle
                                         contents, emailed Andrew about the completed upload.


2/10/2015                      2.5 JV    BP Phase III: Exh Designation Party List Creation             150.00        375.00
            CON-TRIAL-
            SER


2/10/2015                       1 PF     BP Phase III: Exh Designation Party List Creation             150.00        150.00
            CON-TRIAL-
            SER


2/11/2015                      3.5 CDT   Began organizing data for production department               150.00        525.00
            CON-TRIAL-                   project regarding depo exhibits and admitting parties
            SER


2/11/2015                      8.5 JV    BP Phase III: Exh Designation Party List Creation             150.00      1,275.00
            CON-TRIAL-
            SER


2/11/2015                8.38... PF      BP Phase III: Exh Designation Party List Creation             150.00      1,257.50
            CON-TRIAL-
            SER


2/12/2015                       4 CDT    Worked with Production on Depo exhibit list for parties.      150.00        600.00
            CON-TRIAL-
            SER


2/12/2015                      8.5 JV    BP Phase III: Exh Designation Party List Creation             150.00      1,275.00
            CON-TRIAL-
            SER


2/12/2015                7.76... PF      BP Phase III: Exh Designation Party List Creation             150.00      1,165.00
            CON-TRIAL-
            SER


2/13/2015                      2.5 CDT   Worked with production dept. on depo exhibit list             150.00        375.00
            CON-TRIAL-                   project.



                                                                                       Exemplification_244
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                                                                             Date 2/28/2015
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Date        Item         Qty      Emp.   Description                                                  Rate        Amount
            SER


2/13/2015                       8 JV     BP Phase III: Exh Designation Party List Creation               150.00      1,200.00
            CON-TRIAL-
            SER


2/13/2015                  7.15 PF       BP Phase III: Exh Designation Party List Creation               150.00      1,072.50
            CON-TRIAL-
            SER


2/14/2015                       4 JV     BP Phase III: Exh Designation Party List Creation               150.00        600.00
            CON-TRIAL-
            SER


2/19/2015                      3.5 BEH   Uploaded bundles to sharefile site for copy of final            150.00        525.00
            CON-TRIAL-                   hard drives, added new folders, sent emails to morgan
            SER                          lewis regarding bundles, searched for depos from
                                         phase I.


2/20/2015                      2.5 CDT   Assisted in getting final trial drive ready for marshaling      150.00        375.00
            CON-TRIAL-                   conference.
            SER


2/21/2015                       5 CHG    Trial Technology Consulting. Provide support to parties         150.00        750.00
            CON-TRIAL-                   as requested to create final drive for Phase III
            SER


2/21/2015                       3 CDT    Assisted in preparation of final trial drive.                   150.00        450.00
            CON-TRIAL-
            SER


2/21/2015                  5.25 AT       Received bundle and final exhibit hard drive.                   150.00        787.50
            CON-TRIAL-                   Confirmed hard drive is in working order. Copied
            SER                          contents to main laptop.


2/22/2015                      10 CHG    Trial Technology Consulting. Provide assistance to              150.00      1,500.00
            CON-TRIAL-                   parties as requested to create Phase III final drive,
            SER


2/22/2015                      3.5 CDT   Assisted NOLA team in preparing final trial drive.              150.00        525.00
            CON-TRIAL-
            SER


2/22/2015                  10.5 AT       Updated Phase 3 Bundle and Exhibits final hard                  150.00      1,575.00
            CON-TRIAL-                   drives per parties instructions. Mirrored master drive to



                                                                                         Exemplification_245
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                                                                           Date 2/28/2015
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Date        Item         Qty      Emp.   Description                                                Rate        Amount
            SER                          secondary hard drives.


2/23/2015                      15 CHG    Trial Technology Consulting. Provide assistance to            150.00      2,250.00
            CON-TRIAL-                   parties as requested to create Phase III final drive,
            SER


2/23/2015                       2 CDT    Assisted NOLA team in preparing final trial drive.            150.00        300.00
            CON-TRIAL-
            SER


2/23/2015                 14.75 AT       Updated Phase 3 Bundle and Exhibits final hard                150.00      2,212.50
            CON-TRIAL-                   drives per parties instructions. Ran search for existing
            SER                          exhibits on hard drives and confirmed proper folder
                                         replacement.


2/24/2015                      10 CHG    Trial Technology Consulting. Provide assistance to            150.00      1,500.00
            CON-TRIAL-                   parties as requested to create Phase III final drive,
            SER


2/24/2015                      2.5 CDT   Assisted NOLA team in preparation of final trial drive.       150.00        375.00
            CON-TRIAL-
            SER


2/24/2015                  10.5 AT       Updated Phase 3 Bundle and Exhibits final hard                150.00      1,575.00
            CON-TRIAL-                   drives per parties instructions. Ensured proper file
            SER                          structure of each hard drive. Went to courthouse to
                                         deliver Hard Drive and exhibit list. Sent


2/25/2015                       6 AT     Copied bundle and exhibit data on two external hard           150.00        900.00
            CON-TRIAL-                   drives. Quality checked hard drives to confirm
            SER                          reliability and proper file structure. Contacted FedEx
                                         and inquired status of sent packages ( Bundle Hard
                                         drives)


             End of                      Total Billable Time                                                      42,532.50
            Group




                                                                                        Exemplification_246
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Date        Item            Qty      Emp.    Description                                        Rate          Amount




                                                                                              Subtotal          73,113.03
                                                                      Discount Item (DISC-CONSULTING)          -36,556.52
                                                                                                 Total         $36,556.51
                                                                                           Amount Paid          36,556.51




Amounts past due will be subject to finances charges of 1.5% per month as permitted by state law.




inData Corporation
                                                              Please Enter Your Credit Card Information
Remittance Slip                                               Type: ____Discover ____Master Card ____VISA ____American Expr...
                                                              Credit Card #: ________________________
                                                              Expiration Date: _____Month _____Year
                                                              Signature: ___________________________

       Customer   CU14981: PRJ0001 BP D...

       Invoice # INV1269

   Amount Due $0.00
                                                              Make Checks Payable To:
   Amount Paid _______________                                inData Corporation
                                                              225 E. Germann Road
                                                              Suite 310
                                                              Gilbert AZ 85297




                                                                                    Exemplification_247
